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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
  Central
 ____________________              California
                      District of _________________
                                       (State)
                                                            7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         /

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Youth Policy Institute, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             5 ___
                                           ___ 2 – ___
                                                    1 ___
                                                       2 ___
                                                          7 ___
                                                              8 ___
                                                                 3 ___
                                                                    3 ___
                                                                       9
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            6464 Sunset Blvd., Suite 650
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Los Angeles                CA       90028
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Los Angeles
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.ypi.org
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                                              nonprofit corporation
                                           ✔ Other. Specify: __________________________________________________________________
                                           


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Debtor           Youth Policy Institute, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         ✔ None of the above
                                         

                                         B. Check all that apply:
                                         ✔ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.naics.com/search/ .
                                            ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
                                         ✔ Chapter 7
                                         
      debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,,5 (amount subject to adjustment on
                                                             4/01/ and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes ofcreditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases             ✔ No
                                         
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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Debtor         Youth Policy Institute, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name




11. Why is the case filed in this       Check all that apply:
   district?                            ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have         ✔ No
                                        
   possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                 Other _______________________________________________________________________________


                                                Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______     ________________
                                                                           City                                            State       ZIP Code


                                                Is the property insured?
                                                 No
                                                 Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




          Statistical and administrative information



13. Debtor’s estimation of              Check one:
   available funds                      ✔ Funds will be available for distribution to unsecured creditors.
                                        
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                           ✔ 1,000-5,000
                                                                                                                   25,001-50,000
14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
   creditors
                                         100-199                         10,001-25,000                            More than 100,000
                                         200-999

                                         $0-$50,000                     ✔ $1,000,001-$10 million
                                                                                                                   $500,000,001-$1 billion
15. Estimated assets
                                         $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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Debtor        Youth Policy Institute, Inc.                                                      Case number
              Name


                                        U $0450,000                              $1,000,001-$10 million                   U $500,000,00141 billion
16. Estimated liabilities               U $50,0014100,000                        $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                           $100,001-$500,000                     $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                           $500,001-$1 million                   $100,000,001-$500 million                U More than $50 billion



            Request for Relief, Declaration, and Signatures


WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor

                                        n    I have been authorized to file this petition on behalf of the debtor.

                                        a    I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                            Execuhtt             11/0112019
                                                            MM       OD / YYYY

                                                                                                        Daniel Grunfeld
                                            Signature of authorized representative      or              Printed name

                                            Title interim CEO




is. Signature of attorney
                                                                                                        Date              11/01/2019
                                             Signature of attorney for debtor                                        MM / DD / YYYY



                                             Kevin D. Meek
                                            Printed name
                                            Robins Kaplan LLP
                                            FIrrn name
                                             2049 Century Park East, Suite 3400
                                            Number          Street
                                            Los Angeles                                                              CA       90067
                                            City                                                             State           ZIP Code

                                             310-552-0130                                                     irmeekgrobinskaplan.com
                                            Contact phone                                                    Email address



                                             280562                                                                  CA
                                            Bar number                                                       State




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                  RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                          YOUTH POLICY INSTITUTE, INC.
                     (a District of Columbia nonprofit Corporation)

                                        November 4, 2019



        The Board of Directors (the “Board”) of Youth Policy Institute, Inc., a District of
Columbia nonprofit corporation (“YPI”), acting in accordance with the authority of Article XIV
of the Amended and Restated Bylaws (the “Bylaws”), adopts the following resolutions based on
the facts and allegations set forth below, effective as of the date first set forth above:

       WHEREAS, YPI has been dedicated to eradicating poverty by providing critical
education, housing and job training services throughout Los Angeles’s highest-need
communities;

       WHEREAS, YPI operated after-school and extra-curricular programs at nearly 100 sites
across Los Angeles, serving tens of thousands of youths and adults;

       WHEREAS, YPI was funded primarily through government grants, including from the
United States Department of Education (“DOE”), the California Department of Education
(“CDE”), and the United States Department of Labor (“DOL,” and collectively with the DOE
and CDE, the “Government Agencies”), in addition to contributions from private donors;

      WHEREAS, YPI engaged in an annual independent audit to report its financials to the
Government Agencies, and to prepare and file its annual IRS Form 990’s;

       WHEREAS, in February 2018, after seven consecutive clean audits, the Board, all of
whom served as volunteers except for its then-CEO, Dixon Slingerland (“Mr. Slingerland”),
determined to rotate the auditor for the 2017-2018 audit because, among other things, over the
years YPI grew and the governmental grant process became more complicated;

      WHEREAS, the Board conducted a Request for Proposal process and selected Armanino
LLP (“Armanino”) as YPI’s auditor for the 2017-2018 fiscal year (the “Audit”) because of
Armanino’s expertise;

        WHEREAS, on April 10, 2019, Armanino raised concerns to the Chairs of the Board
and the Audit Committee (the “Chairs”) regarding (a) expenses incurred by and reimbursed to
YPI’s then-CEO, Mr. Slingerland, and (b) the accounting and reporting practices related to a
grant funded by the DOE and administered by the CDE;

       WHEREAS, the issues identified by Armanino in connection with the Audit had not
been identified or reported to the Chairs, the Board or any other directors by YPI’s prior auditor;
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       WHEREAS, on April 11, 2019, the Chairs invited Armanino to report its concerns
regarding the Audit to the entire Board during a meeting in executive session (the “April 11
Meeting”);

        WHEREAS, the Board responded in the April 11 Meeting by forming a Special
Committee (the “Special Committee”), and invested it with broad authority to investigate the
issues raised by Armanino, as well as any related matters;

        WHEREAS, on April 12, 2019, the Special Committee began contacting leading law
firms to discuss their potential engagement in assisting the Special Committee in examining the
issues raised by Armanino;

        WHEREAS, on April 15, 2019, the Special Committee retained the international law
firm of Covington & Burling LLP (“Covington”);

       WHEREAS, Covington agreed to serve as pro bono counsel to the Special Committee,
with an experienced former federal prosecutor leading the engagement, along with a team of
government contracts and internal investigation specialists;

      WHEREAS, the Special Committee began holding weekly meetings to discuss the
examination of the issues raised by Armanino and to monitor YPI’s cash flow;

      WHEREAS, in early May 2019, Covington retained Grobstein Teeple, LLP
(“Grobstein”) to conduct a forensic accounting review of Mr. Slingerland’s expenses (the
“Review”);

        WHEREAS, Grobstein partner Benjamin Howard (“Mr. Howard”) agreed to serve as the
lead forensic accountant of the Review;

        WHEREAS, the Special Committee’s review of Mr. Slingerland’s expenses began with
a look at his expenses and reimbursements (the “One-Year Expenses”) during the period of July
1, 2017 to July 31, 2018 (the “One-Year Period”).

       WHEREAS, in connection with the Special Committee’s review of the One-Year
Expenses (the “One-Year Review”), YPI produced internal reimbursement reports that Mr.
Slingerland submitted, the checks YPI paid to Mr. Slingerland, and all of the credit card
statements for YPI’s American Express cards;

        WHEREAS, the Special Committee, through its counsel, directed Mr. Slingerland to
provide documentation to support the expenses he had incurred purportedly on behalf of YPI
during the One-Year Period;

        WHEREAS, the Special Committee determined that the information Mr. Slingerland
provided in response to YPI’s directive to provide documentation was often incomplete,
insufficient, and delayed;
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      WHEREAS, after reviewing the expense records covering the One-Year Period,
Covington and Mr. Howard conducted an initial interview of Mr. Slingerland on July 2, 2019;

       WHEREAS, based on the One-Year Review, the Special Committee had concerns
regarding Mr. Slingerland’s expenses, consistent with those raised previously by Armanino;

       WHEREAS, two members of the Special Committee then met with Mr. Slingerland to,
among other things, instruct him to cease charging certain expenses to YPI and to direct him to
suspend his use of the YPI American Express card for any personal expenses;

      WHEREAS, in light of the issues identified in the One-Year Review, the Special
Committee expanded its review to include five years of Mr. Slingerland’s expenses (the “Five-
Year Review”);

       WHEREAS, in connection with the Five Year Review, YPI provided internal records of
reimbursement reports that Mr. Slingerland submitted, the checks YPI paid to Mr. Slingerland,
and the statements for YPI’s American Express card, during the period of 2014 to 2019 (the
“Five-Year Period”);

        WHEREAS, on July 9, 2019, counsel for the Special Committee asked Mr. Slingerland
to provide additional back-up documentation and support for a sample of expenses and
transactions identified in the Five-Year Review;

       WHEREAS, on August 26, 2019, after multiple follow-up requests, Mr. Slingerland
began providing Covington with the requested documentation, purportedly in support of his
expenses;

         WHEREAS, Covington and Mr. Howard reviewed the documentation and then
interviewed Mr. Slingerland on September 5, 2019, and Covington and Mr. Howard reported
their findings to the Special Committee and the full Board on September 16, 2019;

        WHEREAS, following the Five-Year Review, the Special Committee concluded that
Mr. Slingerland had been misusing YPI’s funds for his personal use over an extended period of
time, and at least since 2014;

      WHEREAS, among other things, the Special Committee’s findings from the Five-Year
Review concluded that:

           a. Mr. Slingerland used YPI’s funds for unauthorized and personal expenditures,
              including but not limited to:
                   i. Unreported employee benefits, including contributions to his wife’s
                      pension, expenses for furniture for his home office, and all out-of-pocket
                      medical costs and premiums for medical insurance, none of which was
                      reported on YPI’s Internal Revenue Service (“IRS”) Form 990’s;
                  ii. Partisan political contributions to federal committees that are not exempt
                      under Internal Revenue Code § 501(c)(4);
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                  iii. Purported charitable donations that were made in Mr. Slingerland’s name
                       rather than YPI’s and that were not aligned with the mission and financial
                       needs of YPI;
                  iv. Lavish dining, events, travel and entertainment, without adequate
                       documentation to support a legitimate business purpose;
                   v. Personal expenses that had not been repaid to YPI, including property
                       taxes on his house and private tutoring for his children.

           b. Mr. Slingerland, despite having ample opportunity to submit documentation in
              support of his expenses, failed to provide the Special Committee or its advisors
              with contemporaneous written evidence that expenses were either approved by
              YPI or that they had a clear business purpose.

           c. Following the Special Committee’s review of the Five Year Expenses, the Special
              Committee concluded that there was a significant amount of improper
              expenditures attributable to Mr. Slingerland. Subsequently, YPI sent Mr.
              Slingerland a letter demanding repayment in excess of $1.7 million.

       WHEREAS, Armanino, in addition to the concerns it raised regarding Mr. Slingerland’s
expenditures, also raised concerns regarding the accounting and reporting related to a
government grant from the 21st Century Community Learning Centers Program (the “21st
Century Program”), which is funded by the DOE and administered by the CDE (the “21st
Century Grant”);

      WHEREAS, the 21st Century Grant was a significant source of funding for YPI,
amounting to over $15 million in fiscal year 2017-2018;

        WHEREAS, the 21st Century Program required recipients, including YPI, to submit four
quarterly expenditure reports each year that require information about the expenses for the
programs incurred in the prior reporting period;

        WHEREAS, the amount of the 21st Century Grant funds awarded by the CDE in future
years is based in part upon the figures identified in the quarterly reports;

        WHEREAS, during the course of the Special Committee’s review of Mr. Slingerland’s
expenses, the Special Committee discovered evidence indicating that Mr. Slingerland had
directed that YPI overstate its expenses on the quarterly reports to CDE;

        WHEREAS, the submissions to CDE related to the 21st Century Grant reported the
budgeted program expenses (i.e., what YPI had projected in applying for the grant) rather than
the actual expenses incurred by the programs;

        WHEREAS, when Armanino completed the Audit, it reported that $960,000 in expenses
attributed to the grant were not actual, allowable expenses attributable to the 21st Century Grant;
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        WHEREAS, during the course of the Special Committee’s investigation of Mr.
Slingerland’s expenses, the Special Committee discovered evidence that Mr. Slingerland had
directed two disbursements of funds from a grant administered by the DOL—the two
disbursements from the DOL totaled over $600,000, and although the funds had been granted for
an employment re-entry program, that program had not incurred any expenses;

        WHEREAS, in June 2019, the Special Committee began taking remedial steps to address
the serious issues that had become apparent through its investigation of Mr. Slingerland’s
expenses and the manner in which information regarding grants was reported to Government
Agencies (the “Remediation Process”);

       WHEREAS, in June 2019, the Special Committee began a search for an executive to
oversee the Remediation Process on a day-to-day basis and interviewed several well-qualified
candidates;

        WHEREAS, shortly after the Special Committee completed the One-Year Review of
Mr. Slingerland’s expenses in early July 2019, the Board began the process of recruiting an
independent financial consultant to assist YPI’s finance team, enhance controls, and improve the
financial operations of YPI;

        WHEREAS, in mid-July, the Board determined that YPI should hire an Executive Chair
of the Board, to whom all senior management, including Mr. Slingerland, would report;

       WHEREAS, on July 24, 2019, the Special Committee recommended, and the Board
unanimously approved, hiring Daniel Grunfeld (“Mr. Grunfeld”) as the Executive Chair of the
Board;

        WHEREAS, Mr. Grunfeld was selected for his significant nonprofit governance
experience, including serving as President and CEO of Public Counsel, the largest pro bono law
firm in the United States;

       WHEREAS, Mr. Grunfeld began working for YPI on July 29, 2019;

       WHEREAS, on August 2, 2019, in consultation with Armanino, Mr. Howard, and the
Board, Mr. Grunfeld enacted new financial controls for YPI, including new procedures
governing the expense review process and new thresholds for approval of purchases and
expenditures;

        WHEREAS, Mr. Grunfeld led YPI’s efforts to interview and hire an outside accounting
consultant to assist the organization, and, on August 12, 2019, Mr. Howard was asked to perform
these functions, and he has since worked almost exclusively from YPI’s headquarters;

        WHEREAS, Mr. Howard recommended and YPI implemented new internal controls and
oversight directives to improve financial and administrative procedures and the hiring and
training of personnel;
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       WHEREAS, the new controls implemented by YPI at Mr. Howard’s recommendation
address purchasing approval, documentation and endorsement of expenses, vendor approval,
periodic compliance with new debt requirements related to reporting and disclosures, and the
information flow into YPI’s accounting system;

       WHEREAS, throughout late July, August, and September 2019, Mr. Grunfeld, Mr.
Howard, and YPI’s finance team worked to provide Armanino with the necessary information
and documentation required to complete the Audit;

        WHEREAS, during that time, the Special Committee met with its advisors regularly to
provide updates and receive advice; in addition, three previously unscheduled special meetings
of the full Board took place in July, August, and September 2019;

       WHEREAS, on September 16, 2019, the Board voted to terminate Mr. Slingerland as
YPI’s Chief Executive Officer;

       WHEREAS, on September 20, 2019, YPI’s Chief Financial Officer resigned;

      WHEREAS, on September 23, 2019, YPI terminated Mr. Slingerland and appointed
Mr. Grunfeld as its interim CEO;

       WHEREAS, on September 26, 2019, YPI notified the Government Agencies of
Mr. Slingerland’s improper expenditures and potential compliance issues with record-keeping
and cost-accounting related to the government grants;

       WHEREAS, on October 3, 2019, YPI filed a voluntary disclosure to the Federal Election
Commission regarding Mr. Slingerland’s use of YPI’s funds to make political contributions in
his name;

        WHEREAS, in response to YPI’s self-reporting to the Government Agencies and the
release of Armanino’s audit report, multiple public and private funders initiated site visits,
requested additional financial information and/or indicated that funds due under the grants would
not be immediately paid pending further investigation;

       WHEREAS, the Board and YPI’s management cooperated with these investigations and
requests for information by public and private funders;

       WHEREAS, on October 11, 2019, in view of the dire financial situation illuminated by
the nearly-finished independent Audit, YPI laid off 26 employees;

      WHEREAS, on October 17, 2019, Armanino completed and released its Audit of YPI’s
2017-2018 fiscal year;

       WHEREAS, the audit concluded, among other things, that: (i) YPI incurred a net loss of
$1,326,803 for the fiscal year ended June 30, 2018; (ii) YPI’s current liabilities exceed its current
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assets by $3,724,192; (iii) the losses incurred by YPI and the noncompliance with grant
conditions created “substantial doubt” about YPI’s ability to continue as a going concern;

       WHEREAS, to alleviate the financial difficulties and ensure survival of YPI’s programs,
YPI sought funding from private sources and attempted to obtain past-due grant payments from
government entities that had withheld funds pending completion of the Audit;

       WHEREAS, YPI was ultimately unable to generate sufficient funds to continue its
operations;

       WHEREAS, the Board and Mr. Grunfeld, recognizing the dire situation, focused
exclusively on saving the programs;

       WHEREAS, as a result of the Board and Mr. Grunfeld’s efforts, YPI was able to
successfully transition its after-school programs funded by the 21st Century Grant (the “After-
School Programs”) to ThinkTogether, another non-profit organization;

       WHEREAS, as a result of the transition of the After-School Programs, YPI and
ThinkTogether were able to minimize the disruption to the educational needs of thousands of
students, and they were able to ensure that hundreds of YPI’s former employees maintained
continuous employment;

      WHEREAS, on October 25, 2019, YPI closed its doors and transferred the After-School
Programs, ceasing its operations;

        WHEREAS, the Board, at a special meeting held on October 30, 2019, with input from
YPI’s financial and legal professionals, determined that, based upon the circumstances set forth
above, it is in the best interest of YPI, its creditors, employees and other interested parties for
YPI to cease further operations and file a voluntary petition for relief under chapter 7 of title 11
of the United States Code (the “Bankruptcy Code”) and that it would be advisable to liquidate
YPI for the benefit of parties in interest;

       Therefore, it is

       RESOLVED, that YPI be, and hereby is, authorized to file a voluntary petition for relief
under chapter 7 of the Bankruptcy Code in the Central District of California; and it is

       RESOLVED FURTHER, that Mr. Grunfeld, interim Chief Executive Officer of YPI,
and any of Mr. Grunfeld’s designees, be and hereby are authorized to:

       a.      Execute, verify, or certify, on behalf of YPI, a petition under chapter 7 of the
Bankruptcy Code and to cause the same to be filed in an appropriate United States Bankruptcy
Court at such time as Mr. Grunfeld shall determine is appropriate, and to otherwise serve as the
authorized officer and responsible person in the chapter 7 case for YPI;
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        c.      Employ and designate appropriate officers on behalf of YPI to execute and file all
petitions, schedules, lists, statements, and other papers and to take any and all actions that any of
the authorized officers deem necessary, proper, or desirable in connection with the chapter 7 case
for YPI with a view toward the successful completion of the case; and

       d.       Take all actions, including, without limitation, the retention of counsel, financial
advisors, accountants, and such other professional persons on such terms and conditions as may
be necessary or appropriate, and to exercise all rights, claims, remedies, privileges, and to
perform all duties and obligations, as YPI may have as a debtor under chapter 7 of the
Bankruptcy Code and related rules, and to execute and deliver all instruments, petitions,
agreements, certificates, and documents in connection therewith, in the name of and on behalf of
YPI, as in his/her judgment may be necessary or appropriate to carry out the intent and to
accomplish the purpose of these resolutions; and it is

       RESOLVED FURTHER, that YPI be, and hereby is, authorized to employ the law firm
of Robins Kaplan LLP ("RK") or such other firm as may be appropriate, on such terms as may
be agreed, to represent YPI as bankruptcy counsel in its chapter 7 case; and it is

        RESOLVED FURTHER, that YPI and/or RK be, and hereby is, authorized to employ,
Grobstein Teeple LLP to provide financial advisory services in the chapter 7 case for YPI on
such terms as may be agreed.

                                                                                     g/te04e.el
                                                                                     -
                                                                  Brenda Freiberg,


                                                                 Secretary
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                              CERTIFICATE OF SECRETARY
                             YOUTH POLICY INSTITUTE, INC.
                        (a District of Columbia nonprofit Corporation)


        The undersigned Brenda Freiberg, Secretary of Youth Policy Institute, Inc. ("YPI"), does
hereby attest and certify that the attached is a true and full copy of a Resolutions of YPI adopted
at a duly noticed and convened meeting of YPI' s Board of Directors on October 30, 2019, which
has not been altered, amended or repealed. The attached Resolutions now stand of record on the
books of YPI, is in full force and effect, and has not been modified or revoked in any manner
whatsoever.
WITNESS my hand and seal of the Corporation, as of the         ' day of November, 2019.

CORPORATE SEAL




                                                     Brenda Freiberg, Sq-'12484-Y
                                                                        ecretary
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address
 Scott F. Gautier (State Bar No. 211742)
 SGautier@RobinsKaplan.com
 Kevin D. Meek (State Bar No. 280562)
 KMeek@RobinsKaplan.com
 ROBINS KAPLAN LLP
 2049 Century Park East, Suite 3400
 Los Angeles, CA 90067
 Telephone: 310 552 0130
 Facsimile: 310 229 5800




      Attorney for: Youth Policy Institute, Inc.

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                               DIVISION

 In re:
 Youth Policy Institute, Inc.                                                CASE NO.:
                                                                             ADVERSARY NO.:
                                                                             CHAPTER: 7
                                                             Debtor(s).



                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                            Plaintiff(s),               and 7007.1, and LBR 1007-4



                                                                                                           [No hearing]
                                                         Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a
debtor in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying
all its parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly
own 10% or more of any class of the corporation’s equity interest, or state that there are no entities to report. This
Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary
proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this
Corporate Ownership Statement inaccurate.

I, (Printed name of attorney or declarant) Daniel Grunfeld                                        , the undersigned in
the above-captioned case, hereby declare under penalty of perjury under the laws of the United States that the following
is true and correct:




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                 F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, If applicable, provide the required information.]

1.        I have personal knowledge of the matters set forth in this Statement because:

             lEj I am the president or other officer or an authorized agent of the Debtor corporation
                  I am a party to an adversary proceeding
             0 I am a party to a contested matter
             0 I am the attorney for the Debtor corporation

2.a.         El The following entities, other than the Debtor or a governmental unit, directly or indirectly own 10% or more of
                 any class of the corporation's(s') equity interests:




             [For additional names, attach an addendum to this form.]

     b.      g There are no entities that directly or indirectly own 10% or more of any class of the corporation's equity
                 interest.



Date: 11/01/2019                                                                       By:
                                                                                             Signature of Debtor, or attorneyi ebtor


                                                                                       Name: Daniel Grunfeld
                                                                                              Printed name of Debtor, or attorney for Debtor




               This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                               Page 2                    F 1007-4.CORP.OWNERSHIP.STMT
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                             STATEMENT OF RELATED CASES
                          INFORMATION REQUIRED BY LBR 1015-2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
   N/A


2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
    N/A


3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
    N/A



4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such
   prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
    N/A




I declare, under penalty of perjury, that the foregoing is true and correct.



Executed at Los Angeles


Date: 11101/2019
                                             , California
                                                                                      (i g gnatiire of Debtor 1


                                                                                        Signature of Debtor 2

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                           Page 1                              F 1015-2.1.STMT.RELATED.CASES
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B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                           CENTRAL DISTRICT OF CALIFORNIA
                                         _______________ District Of _______________


In re         Youth Policy Institute, Inc.

                                                                                                 Case No. ___________________

Debtor                                                                                                   7
                                                                                                 Chapter ____________________

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                    50,000.00

                                                                                                                  50,000.00
      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________0

2.    The source of the compensation paid to me was:

            ✔ Debtor                                  Other (specify)

3.    The source of compensation to be paid to me is:

            X Debtor                                  Other (specify)

4.          ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;

      b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
            hearings thereof;
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B2030 (Form 2030) (12/15)

    d. [Other provisions as needed]
        Assisting the Debtor with any requests by the chapter 7 trustee for cooperation or documents.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Representation of the debtor in adversary proceedings, contested matters, or any other proceedings.




                                                    CERTIFICATION

            I certify that the foregoing is a complete statympnt of any agreement or arrangement for payment to
         me for representation of the debtor(s) in this bpnloptcy oceeding.

          11/01/2019
         Date
                                                      (C
                                                  Signature of Attorney
                                              Robins Kaplan LLP
                                                Name of law firm
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k
b
}




                       1990 Westwood LLC
                       Attn Property Manager
                       2140 W Olympic Blvd Suite 325
                       Los Angeles, CA 90006


                       2010 Office Furniture Inc
                       2227 N Merced Ave
                       Suite 110
                       South El Monte, CA 91733


                       2ND GEAR LLC
                       611 ANTON BOULEVARD
                       SUITE 700
                       COSTA MESA, CA 92626


                       32AUCTIONS
                       510 TOWNSEND STREET
                       SAN FRANCISCO, CA 64103


                       3D MOLECULAR DESIGNS LLC
                       804 N MILWAUKEE ST
                       STE 200
                       MILWUAKEE, WI 53202


                       4 Over Electric
                       9928 Pali Avenue
                       Tujunga, CA 91042


                       7 Mindsets Academy LLC
                       60 King Street
                       Roswell, GA 30075


                       7-ELEVEN
                       6051 HOLLYWOOD BLVD
                       LOS ANGELES, CA 90028
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                   826LA
                   1714 W SUNSET BLVD
                   LOS ANGELES, CA 90026


                   9 DOTS COMMUNITY LEARNING CENTER
                   931 N HIGHLAND AVE
                   LOS ANGELES, CA 90038


                   911 PLUMBING SERVICES
                   1621 N WILCOX AVE UNIT 243
                   LOS ANGELES, CA 90028


                   99 CENTS ONLY STORE
                   4000 UNION PACIFIC ACE
                   COMMERCE, CA 90023


                   A Heather E Halperin Msw Lcsw
                   5353 Balboa Blvd Suite 110
                   Encino, CA 91316


                   A NOISE WITHIN
                   3352 E FOOTHILL BLVD
                   PASADENA, CA 91107


                   A PURPOSE TRANSPORTATION
                   PO BOX 39A64
                   LOS ANGELES, CA 90039


                   A THOUSAND JOYS
                   1313 W 8TH STREET
                   SUITE 212
                   LOS ANGELES, CA 90017
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                   AAA INSTITUTE
                   12086 Eddleston Dr
                   Northridge, CA 91326


                   AARON GARCIA
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                   North Hollywood, CA 91601


                   Aaron M Rodriguez
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                   Los Angeles, CA 90006


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                   LOS ANGELES, CA 90026


                   ABCO TECHNOLOGY
                   6733 S SEPULVEDA BLVD
                   STE 106
                   LOS ANGELES, CA 90045


                   ABDO PUBLISHING COMPANY
                   PO BOX 398166
                   MINNEAPOLIS, MN 55439


                   ABEL CURUP
                   4416 SINOVA ST
                   LOS ANGELES, CA 90032


                   Abigail Leyva
                   424 1/2 E 27TH ST
                   LOS ANGELES, CA 90011
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                   Abila
                   Po Box 123303
                   Dept 3303
                   Dallas, TX 75312


                   ABIMAGES LLC
                   8429 EDWIN DR
                   LOS ANGELES, CA 90046


                   ABM
                   ONE LIBERTY PLAZA
                   7TH FL
                   NEW YORK, NY 10006


                   Abner J Escobedo
                   13030 1/2 Carl St Apt417
                   Pacoima, CA 91331


                   Abraham Lincoln High School
                   3501 N Broadway
                   Los Angeles, CA 90031


                   Abraham Rene Venegas
                   3938 Perry Street
                   Los Angeles, CA 90063


                   Abram Friedman Occupational Center
                   1646 S Olive Street
                   Los Angeles, CA 90015


                   Abriendo Puertas
                   1000 Alameda St 240
                   LOS ANGELES, CA 90012
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                   ABRIL ZAVALA
                   7120 Forbes Ave
                   Van Nuys, CA 91406


                   ACADEMIC LEADERSHIP COMMUNITY
                   322 S LUCAS AVE
                   LOS ANGELES, CA 90041


                   ACCELL CORPORATION
                   47211 BAYSIDE PKWY
                   FREMONT, CA 94538


                   Accessline
                   11201 Se 8Th Street Suite 200
                   Bellevue, WA 98004


                   ACEABLE
                   5800 S EASTERN AVE
                   STE 500
                   COMMERCE, CA 90040


                   ACHIEVE3000 INC
                   1985 CEDAR BRIDGE AVENUE
                   STE 3
                   LAKEWOOD, NJ 08701


                   Action Without Borders
                   302 Fifth Avenue 11Th Floor
                   New York, NY 10001


                   Adalberto Marcelo
                   1390 E 33 St
                   Los Angeles, CA 90011
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                   ADAM G DAVIS
                   1152 w 55th st
                   Los Angeles, CA 90037


                   ADAM VARGAS Jr
                   27277 Mystical Springs Drive
                   Corona, CA 92883


                   ADAM'S JUMPERS
                   1509 E 23RD STREET
                   LOS ANGELES, CA 90011


                   ADAN RUIZ
                   10237 PINEWOOD AVE 3
                   TUJUNGA, CA 91042


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                   805 N MADISON AVENUE
                   PASADENA, CA 91104


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                   PANORAMA CITY, CA 91402


                   ADRIAN WOODSON
                   1200 N CULVER AVENUE APT A
                   COMPTON, CA 90222
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                   ADRIANA ROBLES
                   14833 Parthenia St Apt 25
                   Panorama City, CA 91402


                   Advanced Security Concepts Inc
                   16117 Covello Street
                   Van Nuys, CA 91406


                   ADVENTURE CITY INC
                   1238 S BEACH
                   SUITE E
                   ANAHEIM, CA 92804


                   AFLAC
                   Attn Remittance Processing Services
                   1932 Wynnton Rd
                   Columbus, GA 31993


                   AGUIRRE GERARDO
                   6415 GARVANZA AVE
                   APT 102
                   LOS ANGELES, CA 90042


                   AGUSTIN MELGAR
                   6403 LOCH ALENA AVE
                   PICO RIVERA, CA 90660


                   AIDS PROJECT LOS ANGELES
                   611 SOUTH KINGSLEY DRIVE
                   LOS ANGELES, CA 90005


                   Aileen R Vasquez
                   7009 Haseltine Ave
                   Van Nuys, CA 91405
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                   AIMEE CAMACHO
                   838 S SYCAMORE AVE
                   LOS ANGELES, CA 90036


                   AIRBNB INC
                   888 BRANNAN ST
                   SAN FRANCISCO, CA 94103


                   AIRPORT
                   10000 JOHN SAUNDERS ROAD
                   BAY 41
                   SAN ANTONIO, TX 78216


                   AIRPORT
                   8500 PENA BLVD
                   DENVER, CO 80249


                   AIRPORT
                   1 WORLD WAY
                   LOS ANGELES, CA 90045


                   AK ATHLETIC EQUIPMENT INC
                   8015 HOWE INDUSTRIAL PARKWAY
                   CANAL WINCHESTER, OH 43110


                   AKASHA RESTAURANT
                   9543 CULVER BLVD
                   CULVER CITY, CA 90232


                   ALAN J BAILEY
                   5700 SEPULVEDA BLVD APT 328
                   LOS ANGELES, CA 91411
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                   Alas Media
                   451 S Brand Blvd Suite 201
                   San Fernando, CA 91340


                   ALASKA AIRLINE INC
                   PO BOX 68900
                   SEATTLE, WA 98168


                   Alberto Fadlallah
                   4815 Sawtelle Blvd
                   Culver City, CA 90230


                   ALBERTSONS COMPANIES INC
                   250 PARKCENTER BLVD
                   BOISE, ID 83706


                   ALBORZ ZADEH
                   3769 E 11th St 206
                   Long Beach, CA 90804


                   ALCHEMY WORKS
                   826 E 3RD ST
                   LOS ANGELES, CA 90013


                   ALDO J LOPEZ MONDRAGON
                   2003 W 11TH STREET APT 4
                   LOS ANGELES, CA 90006


                   ALEJANDRA AGUIRRE
                   12724 Herrick Ave
                   Sylmar, CA 91342
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                   ALEJANDRA ANDRADE
                   1333 GLENOAKS BLVD
                   APT 7
                   SAN FERNANDO, CA 91340


                   ALEJANDRA APARICIO
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                   PACOIMA, CA 91331


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                   LOS ANGELES, CA 90063


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                   Whittier, CA 90604


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                   Los Angeles, CA 91342


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                   Pacoima, CA 91331


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                   531 TOKAY ST
                   MCFARLAND, CA 93250
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                   ALEJANDRO OLIVEROS JORDAN
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                   APT D
                   BELL, CA 90201


                   ALEX HUSMAN
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                   Compton, CA 90221


                   ALEX MARQUEZ
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                   SAN FERNANDO, CA 91340
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                   Los Angeles, CA 90011


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                   WYNNEWOOD, PA 19096


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                   PACOIMA, CA 91331


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                   9367 Urbana Ave
                   Arleta, CA 91331
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                   ALFRED MENA
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                   ALI GULSARI
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                   GRANADA HILLS, CA 91344


                   ALIANNA M COYT
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                   Pacoima, CA 91331


                   ALIANNA MORAN
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                   PACOIMA, CA 91330


                   ALICIA ACOSTA
                   14410 TUPPER ST
                   PANORAMA CITY, CA 91402


                   ALICIA SANTANA
                   9937 STANWIN AVE
                   ARLETA, CA 91331


                   Alina M Paiz
                   11852 Fellow Ave
                   San Fernando, CA 91340
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                   ALINA RODRIGUEZ
                   15445 COBALT ST 201
                   SYLMAR, CA 91342


                   ALINSON JEREZ
                   1106 W 53RD ST
                   LOS ANGELES, CA 90037


                   ALINSON JEREZ
                   1106 WEST 53RD ST
                   LOS ANGELES, CA 90037


                   ALL ELECTRICAL SOLUTIONS INC
                   8009 NORTON AVE
                   WEST HOLLYWOOD, CA 90046


                   ALL IN ONE ELECTRIC INC
                   7200 BANDINI BLVD
                   COMMERCE, CA 90040


                   ALL IN ONE ELECTRIC INC
                   820 LINDA AVE
                   LA HABRA, CA 90631


                   ALL VALLEY FORKLIFTS
                   1021 S EASTMAN AVE
                   LOS ANGELES, CA 90023


                   ALLEN TEXTILE INC
                   505 EAST 9TH STREET
                   LOS ANGELES, CA 90015
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                   Alliance For Children And Families
                   11700 W Lake Park Drive
                   Milwaukee, WI 53224


                   Alliance Funding Group
                   3745 W Chapman Ave Ste 200
                   Orange, CA 92868


                   Alliance Marc And Eva Stern Math And Sci
                   5151 State University Dr
                   Mail Code 898106
                   Los Angeles, CA 90032


                   ALLIANCE PIERA BARBAGLIA SHAHEEN HEALTH
                   601 SOUTH FIGUEROA ST
                   4TH FLOOR
                   LOS ANGELES, CA 90017


                   ALLIANCE SCHOOL OF TRUCKING INC
                   9410 JORDAN AVENUE
                   CHATSWORTH, CA 91311


                   ALLISON CANTON
                   15833 Ocean Ave
                   Whittier, CA 90604


                   Allstar Uvillada
                   853 E 50th St
                   Los Angeles, CA 90011


                   ALMA AVILES
                   2615 CALIFORNIA ST
                   HUNTINGTON PARK, CA 90255
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                   ALMA DELIA JIMENEZ
                   13076 CARL ST
                   UNIT 446
                   PACOIMA, CA 91331


                   ALMA R ESTEVEZ
                   1001 LORD STREET
                   LOS ANGELES, CA 90033


                   ALONDRA ACUNA
                   1217 GABRIEL GARCIA MARQUEZ ST
                   LOS ANGELES, CA 90033


                   ALPHA PROPERTY MANAGEMENT
                   1737 E MARTIN LUTHER KING JR BLVD
                   LOS ANGELES, CA 90004


                   Alta Public Schools
                   2665 Clarendon Ave
                   HUNTINGTON PARK, CA 90255


                   ALTERNATIVE SOURCE LA
                   2310 S ATLANTIC BLVD
                   MONTEREY PARK, CA 91754


                   Alvaro V Rodriguez
                   3715 East 4Th Street Unit C
                   Long Beach, CA 90814


                   Alvin Rambo
                   4036 Fairway Blvd
                   Los Angeles, CA 90043
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                   ALYSSA ESTRADA
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                   ALYSSA REPD
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                   AMAZON
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                   SEATTLE, WA 98109-5210


                   AMBAR MARTINEZ
                   19931 INGOMAR ST
                   WINNETKA, CA 91306


                   AMBER CHATMAN
                   1826 W 66TH STREET
                   LOS ANGELES, CA 90047
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                   AMBER GALINDO
                   12171 MERCER STREET
                   LAKE VIEW TERRACE, CA 91342


                   AMBER LOPEZ
                   13100 BROMONT AVENUE
                   SYLMAR, CA 91342


                   AMBER M SKRUMBIS
                   5710 Crescent Park East APT 436
                   Playa Vista, CA 90094


                   Ambrocio Ortega
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                   Los Angeles, CA 90011


                   AMC Theaters
                   11500 ASH STREET
                   LEAWOOD, KS 66211


                   AMDA DISTRIBUTORS
                   4804 NW 167 ST
                   MIAMI GARDENS, FL 33014


                   America Learns LLC
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                   Granada Hills, CA 91344


                   America's Business Leaders
                   Po Box 27311
                   San Antonio, TX 78227
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                   AMERICAN AEROSPACE TECHNICAL ACADEMY
                   210 SOUTH AVE 57
                   LOS ANGELES, CA 90042


                   AMERICAN AIRLINES
                   4255 AMON CARTER BLVD
                   FT WORTH, TX 76155


                   AMERICAN DENTAL ACADEMY
                   212 S ATLANTIC BLVD
                   STE 103
                   LOS ANGELES, CA 90022


                   AMERICAN EXPRESS
                   WORLD FINANCIAL CENTER
                   NEW YORK, NY 10285


                   American Government Services LLC
                   502 Second Street Suite 100
                   Hudson, WI 54016


                   AMERICAN GTS INC
                   2369 COLORADO BLVD STE 201
                   LOS ANGELES, CA 90041


                   American Live Scan
                   3850 Wilshire Blvd Suite 132
                   Los Angeles, CA 90010


                   American Payroll Association
                   CO Membership Services
                   San Antonio, TX 78205
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                   AMERICAN PAYROLL ASSOCIATION C/O MEMBERS
                   660 NORTH MAIN AVE SUITE 100
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                   AMERICAN RED CROSS
                   ATTN HEALTH & SAFETY
                   CHICAGO, IL 60673


                   American Red Cross Greater Los Angeles
                   11355 Ohio Avenue
                   Los Angeles, CA 90025


                   Amerimacs
                   4744 Telephone Road Suite 3295
                   Ventura, CA 93003


                   AMERITEK ID
                   80 W SIERRA MADRE BLVD 193
                   SIERRA MADRE, CA 91024


                   Amf Bowling Centers Inc
                   7313 Bell Creek Road
                   Mechanicsville, VA 23111


                   AMY ESPADA
                   14924 w navarre way
                   sylmar, CA 91342


                   AMY L VASQUEZ
                   2636 Hillcrest Dr Apt 6
                   Los Angeles, CA 90016
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                   AMY RUBINSTEIN
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                   ANAHEIM, CA 92802


                   ANAHEIM UNION HIGH SCHOOL DISTRICT
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                   ANAHEIM, CA 92803


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                   2952 The Mall St
                   Los Angeles, CA 90023
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                   Anahi Lara Morales
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                   ANALI DIAZ
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                   Anderson Trophy Co
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                   ANDRE J YACAPIN
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                   Northridge, CA 91325


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                   Los Angles, CA 90026


                   ANDREA SANDOVAL
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                   APT 211
                   VAN NUYS, CA 91411
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                   CANYON COUNTRY, CA 91387


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                   ANDREW W ARTHUR
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                   ANDREW'S WHOLESALE FLOWERS
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                   ANGELICA GAITAN
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                   VALENCIA, CA 91340


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                   2278 E Dudley St
                   Pasadena, CA 91104
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                   ANTHONY RUIZ
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                   UNIT 06
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                   Antioch University
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                   Apex Learning
                   1215 4Th Ave Suite 1500
                   Seattle, WA 98161
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                   Apple Inc
                   1 Infinite Loop
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                   Cupertino, CA 95014


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                   PO BOX 29048
                   GLENDALE, CA 91209-9048


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                   Los Angeles, CA 90057


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                   BLUE JAY, CA 92317


                   AQUARIUM OF THE PACIFIC
                   100 AQUARIUM WAY
                   LONG BEACH, CA 90802


                   ARANZAZU MEDELLIN GUERRERO
                   12330 OSBORNE ST Apt 14
                   PACOIMA, CA 91331


                   Ararat Home Of Los Angeles Inc
                   15105 Mission Hills Rd
                   Mission Hills, CA 91345
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                   ARC
                   370 Amapola Avenue Suite 208
                   Torrance, CA 90501


                   Arc Management Group
                   1825 Barrett Lakes Blvd Suite 505
                   Kennesaw, GA 30144


                   ARCELIA HERNANDEZ
                   501 S OXFORD AVE APT 12
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                   ARCO
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                   SAN ANTONI, TX 78259


                   ARIANA DAMIAN
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                   Los Angeles, CA 90037


                   ARIANA WELCH
                   155 N OCCIDENTAL BLVD
                   LOS ANGELES, CA 90026


                   Arieana M Quezada
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                   Mission Hills, CA 91345


                   Ariejoyce S Carianga
                   1153 South Kenmore Ave Apartment 03
                   Los Angeles, CA 90006
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                   ARIEL N BURTON
                   1335 N DETROIT ST APT 102
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                   Ariella Ramirez
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                   Montebello, CA 90640


                   ARIZMENDI PATRICIA
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                   PACOIMA, CA 91331


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                   PICO RIVERA, CA 90660


                   ARLENE ROSALES
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                   PACOIMA, CA 91331


                   Arleta Self Storage
                   8918 Woodman Ave
                   Arleta, CA 91331


                   ARLLY TECUN DELEON
                   10857 LEHIGH AVENUE APT 145
                   PACOIMA, CA 91331
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                   SAN FRANCISCO, CA 94139-8285


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                   ARS RESCUE ROOTER
                   SYLMAR, CA 91342



                   ART IN HISTORY INC
                   200 WILLIS DR
                   STOCKBRIDGE, GA 30281


                   ART PRIMO
                   PO BOX 80932
                   SEATTLE, WA 98108


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                   221
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                   12620 Judd St
                   Pacoima, CA 91331


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                   664 E ADAMS BLVD APT 1
                   LOS ANGELES, CA 90011


                   ASHLEY A RODRIGUEZ
                   7934 Laurel Canyon Blvd Apt 1
                   North Hollywood, CA 91605
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                   ASHLEY DOE
                   133 PARK AVE APT 118
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                   10028 BROCKWAY STREET
                   EL MONTE, CA 91733


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                   ASMAA SALAM
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                   Van Nuys, CA 91406


                   Aspiranet
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                   South San Francisco, CA 94080


                   ASRM LLC
                   505 South Lenola Road Suite 231
                   Moorestown, NJ 08057
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                   Asset Panda LLC
                   3001 Dallas Parkway Ste 590
                   Frisco, TX 75034


                   Asucla
                   Ucla Restaurants
                   308 Westwood Plaza Kh234
                   Los Angeles, CA 90095


                   At That One Shop
                   7803 Telegraph Rd Suite M
                   Montebello, CA 90640


                   AT&T
                   PO Box 60017
                   Los Angeles, CA 90060


                   AT&T Mobility (8926/5313)
                   PO Box 6463
                   Carol Stream, IL 60197


                   AT&T U-Verse
                   PO Box 5014
                   Carol Streem, IL 60197


                   ATHENA PARKING GRAND CENTRAL
                   308 S HILL ST
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                   Athens Services
                   PO Box 60009
                   City Of Industry, CA 91716
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                   Attorney General'S Registry Of Charitabl
                   PO Box 903447
                   Sacramento, CA 94203


                   AUBREY GERALD WILLIAMS
                   25935 ZAMORA AVE
                   MORENO VALLEY, CA 92551


                   Audio Video West Inc
                   11723 Mississippi Ave
                   Los Angeles, CA 90025


                   AUDIOLOGY SYSTEMS INC
                   DEPT CH 16948
                   PALATINE, IL 60055


                   AUDREY LOPEZ
                   564 OLEANDER DR
                   LOS ANGELES, CA 90042


                   Audubon Center At Debs Park
                   4700 N Griffin Ave
                   Los Angeles, CA 90031


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                   11818 GLENOAKS BOULEVARD
                   SAN FERNANDO, CA 91340


                   BAUDVILLE INC
                   5380 52ND ST SE
                   GRAND RAPIDS, MI


                   BAYRON CASTRO
                   3480 2ND AVENUE
                   LOS ANGELES, CA 90018
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                   465 LA CIENEGA BLVD
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                   Be The Change Consulting LLC
                   3237 Monterey Blvd
                   Oakland, CA 94602


                   BEATS BY GIRLZ
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                   COTTONWOOD HEIGHTS, UT 84121


                   Beckylee Cortez
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                   Whittier, CA 90606


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                   UNION, NJ 07083


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                   RESEDA, CA 91335


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                   SAN FERNANDO, CA 91340


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                   LEE, NH 03861


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                   CO Reuben Warner Associates Inc
                   1655 Richmond Ave
                   Staten Island, NY 10314
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                   BIANCA CAMACHO
                   8443 LANGDON AVE APT 14
                   NORTH HILLS, CA 91343


                   BIANCA MORA-MENDEZ
                   6638 TOLER AVE
                   BELL GARDENS, CA 90201


                   BIANKA RODRIGUEZ
                   8734 WAKEFIELD AVE
                   PANORAMA CITY, CA 91402


                   BIG BOWL
                   CONCOURSE C
                   8500 PENA BLVD
                   DENVER, CO 80249


                   BIG MOMMAS & PAPAS PIZZA
                   2136 COLORADO BLVD
                   LOS ANGELES, CA 90042


                   BIG SAVER FOODS
                   16000 WOODRUFF AVENUE
                   BELLFLOWER, CA 90706
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                   Birmingham Community Charter High School
                   17000 Haynes St
                   Lake Balboa, CA 91406


                   BLACK MARKET LIQUOR BAR
                   11915 VENTURA BLVD
                   STUDIO CITY, CA 91604


                   Blackrock Hcm Inc
                   21151 S Western Ave Ste 100
                   Torrance, CA 90501


                   Blackstone Merchant Services Inc
                   11600 Nw 34 St
                   Doral, FL 33196


                   BLANCA CIREROL
                   8007 BELLINGHAM AVE
                   NORTH HOLLYWOOD, CA 91605


                   BLANCA E RIOS
                   4936 WHITSETT AVENUE APT 7
                   VALLEY VILLAGE, CA 91607


                   BLANCA TOSCANO PEREZ
                   1533 N Highland St Apt A
                   Orange, CA 92867


                   BLESS IT TRANSPORTATION
                   Po Box 94244
                   Pasadena, CA 91109
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                   BLOOM CAFE
                   5544 Pico Blvd
                   LOS ANGELES, CA 90019


                   Blue Garnet
                   8055 W Manchester Ave Suite 430
                   Los Angeles, CA 90293


                   BLUE GOOSE GRAPHICS - DBA NCRFORMSCOM
                   137 OWEN BROWN STREET
                   SUITE NO B
                   HUDSON, OH 44236


                   BMC
                   6641 SANTA MONICA
                   W HOLLYWOOD, CA 90038


                   BOB HOPE AIRPORT
                   2627 N HOLLYWOOD WAY
                   BURBANK, CA 91505


                   Boeing
                   100 North Riverside
                   CHICAGO, IL 60606


                   BOLTON ROSHAWNDA
                   6949 LAUREL CANYON BLVD
                   APT 101
                   NORTH HOLLYWOOD, CA 91605


                   BOOK OUTLET
                   2321 KENMORE AVE
                   BUFFALO, NY 01427
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                   BOOST COLLABORATIVE
                   1286 UNIVERSITY AVE 739
                   SAN DIEGO, CA 92103


                   BOSCH
                   1800 W CENTRAL RD
                   MT PROSPECT, IL 60056


                   BOWLMOR
                   3545 E Foothill Blvd
                   PASADENA, CA 91107


                   BRAD'S LOCK SERVICE
                   PO BOX 10266
                   BURBANK, CA 91510


                   BRADLEY BAUDOT
                   1101 Westerly Terrace APT 3
                   LOS ANGELES, CA 90026


                   BRAIN POP
                   71 W 23RD ST 17TH FL
                   NEW YORK, NY 10010


                   BRANDON ACUNA
                   722 S HARTFORD AVE APT 305
                   LOS ANGELES, CA 90017


                   BRANDON APARTMENTS
                   RE: WILICIA DORSEY
                   735 HARTFORD AVE
                   LOS ANGELES, CA 90017
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                   Brandon F Duenas
                   708 Pico St
                   San Fernando, CA 91340


                   BRANDON FLORES
                   2929 W 14TH STREET
                   LOS ANGELES, CA 90006


                   BRANDON HERNANDEZ
                   14106 Gain St
                   Arleta, CA 91331


                   BRASIL KISS COFFEBAR
                   1010 WILSHIRE BLVD
                   LOS ANGELES, CA 90017


                   BRAULIO BUSTILLO
                   13012 CARFL PL APT 294
                   PACOIMA, CA 91331


                   BRAYAN CALEL HERNANDEZ
                   2331 OCEAN VIEW AVE APT 6
                   LOS ANGELES, CA 90057


                   Breakaway Press
                   9620 Topanga Canyon Place Ste A
                   Chatsworth, CA 91311


                   BREAKTHROUGH SPORTS
                   31 NANTUCKET LN
                   ALISO VIEJO, CA 92656
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                   BREANNA BANUELOS
                   16321 CHASE STREET
                   NORTH HILLS, CA 91343


                   Breen Engineering Inc
                   1983 W 190Th St Suite 200
                   Torrance, CA 90504


                   BRENA HUENDO
                   322 N HAGART STREET SPT U
                   SAN FERNANDO, CA 91340


                   BRENDA AMAYA
                   5300 PASEO RANCHO CASTILLA
                   APT 2-472
                   LOS ANGELES, CA 90032


                   BRENDA DE LA CRUZ
                   202 COLUMBIA PL
                   LOS ANGELES, CA 90026


                   BRENDA GARCIA
                   PO BOX 331311
                   PACOIMA, CA 91333


                   BRENDA GONZALEZ
                   13272 1/2 Glenoaks Blvd
                   Sylmar, CA 91342


                   BRENDA QUEZADA
                   27240 LUTHER DRIVE UNIT 511
                   CANYON COUNTY, CA 91351
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                   BRENDA TRUJILLO
                   1327 SHERIDAN AVE
                   POMONA, CA 91767


                   BRERA RISTORANTE
                   1331 E 6TH ST
                   LOS ANGELES, CA 90021


                   BRETTE SIMS
                   724 Arimo Ave
                   Oakland, CA 94610


                   BRIAN ALVAREZ
                   945 1/2 E 120TH STREET APT B
                   LOS ANGELES, CA 90059


                   BRIAN ARECHIGA
                   6821 Otis Ave
                   Bell, CA 90201


                   BRIAN D MEDINA
                   13370 Kagel Canyon St
                   Pacoima, CA 91331


                   BRIAN E CABANAS
                   2854 ONRADO STREET
                   TORRANCE, CA 90503


                   Brian Galvan
                   13025 San Fernando Rd Apt 8
                   Sylmar, CA 91342
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                   BRIAN HERNANDEZ
                   14417 AZTECA ST
                   SYLMAR, CA 91342


                   BRIAN J MARTINEZ
                   346 W VALENCIA AVE
                   BURBANK, CA 91506


                   BRIAN MEDINA
                   13370 KAGEL CANYON
                   PACOIMA, CA 91331


                   BRIAN PALACIOS
                   20811 Lassen St Apt 12
                   Chatsworth, CA 91311


                   BRIANA D AGUILAR
                   14662 Hubbard St apt 3
                   Sylmar, CA 91342


                   BRIANA SILVA
                   8623 Evergreen Ave apt C
                   South Gate, CA 90280


                   BRIANNE SULLIVAN
                   1735 WINONA BLVD APT 8
                   LOS ANGELES, CA 90027


                   BRIANNE T SULLIVAN
                   1735 WINONA BLVD APT 8
                   LOS ANGELES, CA 90027
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                   BRIAUNA N CRENSHAW
                   151 N OCCIDENTAL BLVD APT 212
                   LOS ANGELES, CA 90026


                   BRIGETTE ZARAZUA
                   11916 STRATHERN STREET
                   NORTH HOLLYWOOD, CA 91605


                   Bright Star Academy
                   600 S La Fayette Park Place Suite 302
                   LOS ANGELES, CA 90057


                   Bright Star Schools
                   2636 South Mansfield Avenue
                   Los Angeles, CA 90016


                   BRIGHTWOOD COLLEGE
                   3660 GRANDVIEW PARKWAY
                   STE 300
                   BIRMINGHAM, AL 35243


                   BRISTOL HOTEL
                   1055 FIRST AVE
                   SAN DIEGO, CA 92101


                   BRITTANY PATTERSON
                   22814 14TH STREET
                   NEWHALL, CA 91321


                   BRIZUELA YAMILLET
                   959 S ARDMORE AVE
                   UNIT 603
                   LOS ANGELES, CA 90006
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                   BROOKLYN BAGEL BAKERY
                   2223 BEVERLY BLVD
                   LOS ANGELES, CA 90057


                   Brooks Transportation
                   PO Box 2111
                   Winnetka, CA 91396


                   BRYAN A GUTIERREZ
                   135 N NEW HAMPSHIRE AVE APT 404
                   LOS ANGELES, CA 90004


                   BRYAN A SANCHEZ
                   12967 Paxton St
                   Pacoima, CA 91331


                   BRYAN COREAS
                   16352 GLENHOPE DR
                   LA PUENTE, CA 91744


                   BRYAN FLORES
                   4215 COMPTON AVE
                   LOS ANGELES, CA 90011


                   Bryan M Aguilar
                   11529 Califa St Apt 5
                   North Hollywodd, CA 91601


                   BRYAN NAVARRETE
                   7701 VINELAND AVE
                   SUN VALLEY, CA 91352
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                   BRYAN SANCHEZ AGUILAR
                   11648 GLENOAKS BLVD
                   PACOIMA, CA 91331


                   BRYANT DELGADILLO
                   1500 S Grand Ave Apt 401
                   Los Angeles, CA 90015


                   BSN Sports Collegiate Pacific
                   Attn AR Department
                   Po Box 660176
                   Dallas, TX 75266


                   BUCK INSTITUTE FOR EDUCATION
                   3 HAMILTON LANDING
                   SUITE 220
                   NOVATO, CA 94949


                   Budget Graduation
                   PO Box 64784
                   St Paul, MN 55164


                   BUFFALO WILD WINGS
                   950 N GLEBE ROAD
                   SUITE 130
                   ARLINGTON, VA 22203


                   Builtall
                   1301 N La Brea Ave
                   Inglewood, CA 90302


                   BUMPBOXX
                   1551 STIMSON RD
                   STOCKTON, CA 95206
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                   BURGERIM
                   5001 MELROSE AVENUE
                   LOS ANGELES, CA 90038


                   BUY AWARDS AND TROPHIES
                   5906 STATE ROUTE 128
                   SUITE B
                   CLEVES, OH 45002


                   BWI AIRPORT TAXI
                   PO BOX 25
                   LINTHICUM HEIGHTS, MD 21090


                   C3 Business Solutions
                   3130 S HARBOR BLVD
                   SUITE 500
                   SANTA ANA, CA 92704


                   C3 Business Solutions
                   3130 S Harbor Blvd
                   Santa Ana, CA 92704


                   CA Workforce Association
                   1107 9Th Street Ste 801
                   Sacramento, CA 95814


                   CACTUS MEXICAN CUSINE
                   1320 VINE ST
                   LOS ANGELES, CA


                   CADENA NORAMAY
                   12053 ROSSITER AVE
                   SYLMAR, CA 91342
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                   Caesar's Palace Hotel
                   3570 Las Vegas Blvd South
                   Las Vegas, NV 89109


                   Cafecito Organico LLC
                   2902 Gilroy St
                   Los Angeles, CA 90039


                   CAFETERIA 15L
                   1116 15TH ST
                   SACRAMENTO, CA 95814


                   CAFFE CONCERTO
                   610 S Serrano Ave
                   LOS ANGELES, CA 90005


                   CAFLA INC
                   5914 E WASHINGTON BLVD
                   CITY OF COMMERCE, CA 90040


                   CAINE & WEINER CO INC
                   PO BOX 5010
                   WOODLAND HILLS, CA 91365


                   Cal State La
                   5151 State University Drive
                   Admin Bldg 514
                   Los Angeles, CA 90032


                   Cal State University Northridge
                   University Cash Services 8214
                   18111 Nordhoff St
                   Northridge, CA 91330
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                   California Arts Council
                   1300 I Street Ste 930
                   SACRAMENTO, CA 95814


                   CALIFORNIA CHICKEN CAFE
                   6805 MELROSE AVE
                   LOS ANGELES, CA 90038


                   CALIFORNIA CHILD DEVELOPMENT ADMINISTRAT
                   1107 2ND STREET
                   SUITE 320
                   SACRAMENTO, CA 95814


                   California Dental Network Inc
                   Po Box 2428
                   Laguna Hills, CA 92654


                   California Department of Community Servi
                   2389 Gateway Oaks Dr
                   SACRAMENTO, CA 95833


                   CALIFORNIA DEPARTMENT OF TAX AND FEE ADM
                   PO BOX 942879
                   SACRAMENTO, CA 94279-6001


                   CALIFORNIA DONUTS
                   3540 W 3RD STREET
                   LOS ANGELES, CA 90020


                   California Emerging Technology Fund - TH
                   5 THIRD STREET SUITE 320
                   SAN FRANCISCO, CA 94103
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                   California Head Start Association
                   1107 9Th St Suite 810
                   Sacramento, CA 95814


                   California Healing Arts College
                   500 East Carson Plaza Drive Suite 103
                   Carson, CA 90746


                   CALIFORNIA LIQUIDATORS
                   6821 WATCHER STREET
                   COMMERCE, CA 90040


                   CALIFORNIA PAN-ETHNIC HEALTH
                   1107 9TH STREET
                   SUITE 410
                   SACRAMENTO, CA 95814


                   CALIFORNIA PAYROLL CONFERENCE
                   PO BOX 10084
                   SAN JOSE, CA 95157


                   CALIFORNIA PIZZA KITCHEN
                   6801 HOLLYWOOD BLVD
                   HOLLYWOOD, CA 90028


                   California School-Age Consortium
                   1440 Broadway Suite 501
                   Oakland, CA 94612


                   California Science Center
                   700 Exposition Park Drive
                   Los Angeles, CA 90037
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                   California State Controller
                   Betty T Yee California State Cont
                   Unclaimed Property Division
                   Sacramento, CA 94250


                   California State University Dominguez Hi
                   College Of Extended & International Educ
                   1000 E Victoria St
                   Carson, CA 90747


                   CALIFORNIA STATE UNIVERSITY EAST BAY
                   CALIFORNIA STATE UNIVERSITY - EAST BAY
                   HAYWARD, CA 94592


                   California State University East Bay Hay
                   California State University East Bay
                   HAYWARD, CA 94592


                   CALIFORNIA STATE UNIVERSITY LONG BEACH
                   1250 Bellflower Blvd
                   LONG BEACH, CA


                   CALIFORNIA STATE UNIVERSITY LOS ANGELES
                   5151 STATE UNIVERSITY DRIVE
                   ADMIN 514
                   LOS ANGELES, CA 90032


                   CALIFORNIA STATE UNIVERSITY SAN BERNARDI
                   5500 UNIVERSITY PKWAY
                   SAN BERNARDINO, CA 92407


                   California Volunteers
                   400 10th St
                   SACRAMENTO, CA 95814
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                   CALIFORNIA VOLUNTEERS
                   1400 10TH STREET
                   SACRAMENTO, CA 95814


                   California Wellness Foundation
                   515 S Flower St 1100
                   LOS ANGELES, CA 90071


                   California Workforce Association
                   1107 9Th St Suite 801
                   Sacramento, CA 95814


                   Calltower
                   Dept La 23615
                   Pasadena, CA 91185


                   CAMILLE BULACLAC
                   100 S ALTADENA DR
                   APT 9
                   PASADENA, CA 91107


                   CAMILLE BULACLAC
                   100 SOUTH ALTADENA DRIVE APT 9
                   PASADENA, CA 91107


                   Camino Nuevo Charter Schools
                   3435 W Temple St
                   LOS ANGELES, CA 90026


                   CAMPAIGN FOR COLLEGE OPPORTUNITY
                   1149 S HILL ST
                   LOS ANGELES, CA 90015
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                   CANDY CASTRO-MONZON
                   10175 ELKWOOD ST
                   SUN VALLEY, CA 91352


                   CANVA
                   2/2 LACEY ST
                   SURRY HILLS, NSW 02010-0000


                   Capital One
                   1680 CAPITAL ONE DR
                   MCLEAN, VA 22102


                   Cardinal Touch Inc
                   1572 Sunnyvale Ave 27
                   Walnut Creek, CA 94597


                   Career College Consultants Inc
                   5015 Eagle Rock Blvd Suite 302
                   Los Angeles, CA 90041


                   CARLA MANZANARES
                   325 S WITMER ST APT 6
                   LOS ANGELES, CA 90017


                   Carlos A Vasquez
                   16016 1/2 Cantlay St Apt 1/2
                   Van Nuys, CA 91406


                   Carlos Antonio Juarez
                   720 Beacon Ave Apt 218
                   Los Angeles, CA 90017
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                   CARLOS AQUINO
                   3546 East 2nd Street
                   Los Angeles, CA 90063


                   Carlos Cesareo
                   2308 W Pico Blvd 3
                   Los Angeles, CA 90006


                   Carlos F Botero
                   333 Alexander St
                   San Fernando, CA 91340


                   CARLOS GARCIA-PAEZ
                   1913 E113TH STREET
                   LOS ANGELES, CA 90059


                   Carlos Inda
                   1425 1/2 Lucille Ave
                   Los Angeles, CA 90026


                   CARLOS MUNOZ
                   3066 W 15TH ST
                   APT 301
                   LOS ANGELES, CA 90019


                   CARLOS R TOBAR Jr
                   846 west 83rd st Apt 4
                   Los Angeles, CA 90044


                   CARLOS S SICAL SANCHEZ
                   19401 HAYNES STREET APT 10
                   RESEDA, CA 91335
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                   CARLOTA MERINO
                   4560 W 120TH ST
                   APT 44
                   HAWTHORNE, CA 90250


                   CARLOTA MERINO
                   4560 W 120th St Apt 44
                   Los Angeles, CA 90250


                   CARMEN GUTIERREZ
                   11520 MAGEE AVE
                   PACOIMA, CA 91331


                   CARMEN LENORGANT
                   37523 DENVER COURT
                   PALMDALE, CA 93552


                   Carmen M Zamora
                   3210 Drew St Apt 2
                   Los Angeles, CA 90065


                   CARMIN HERMOSILLO
                   827 VINELAND AVENUE
                   LA PUENTE, CA 91746


                   CAROL BURCHARDS
                   2856 El Roble Dr
                   Los Angeles, CA 90041-1804


                   Carola Secada
                   5218 Meridian Street
                   Los Angeles, CA 90042
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                   CAROLINA MARIN
                   13433 Corcoran St
                   San Fernando, CA 91340


                   CARR ENGINEERING INC
                   5433 HAVERHILL DRIVE
                   DUBLIN, OH 43017


                   CARRERA-RESENDEZ MARISELA
                   7123 HAZELTINE AVE
                   APT 5
                   VAN NUYS, CA


                   CASA FOOD MART
                   11885 FOOTHILL BLVD
                   SYLMAR, CA 91342


                   CASEY C MCQUERRY
                   25 GENOA STREET APT B
                   ARCADIA, CA 91006


                   CASIO-LARA NATALIA
                   5830 LEXINGTON AVE
                   LOS ANGELES, CA 90038


                   CASSIE WOODS
                   2354 FLETCHER DRIVE APT 233
                   LOS ANGELES, CA 90039


                   CATALINA RODRIGUEZ
                   9600 SYLMAR AVE APT 43
                   PANORAMA CITY, CA 91402
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                   CATARINA JUARES CHIGUIL
                   4171 S FIGUEROA ST APT 202
                   LOS ANGELES, CA 90037


                   CATER2ME
                   220 MONTGOMERY ST
                   SAN FRANCISCO, CA 94104


                   CAVA MEZZE
                   2940 CLARENDON BOULEVARD
                   ARLINGTON, VA 22201


                   CCLA-Teacher Prep Academy
                   1001 Arroyo St
                   San Fernando, CA 91340


                   CDF
                   13500 FOOTHILL BLVD B106
                   SYLMAR, CA 91342


                   CDSS - Cashier
                   Community Care Licensing Division
                   1000 Corporate Center Drive
                   Monterey Park, CA 91754


                   CDW Government Inc
                   75 Remittance Drive
                   Suite 1515
                   Chicago, IL 60675


                   CECILIA DAMIAN CARDENAS DE TRUJILLO
                   730 S Lyon st 449
                   Santa ana, CA 92705
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                   CECILIA GARCIA RUIZ
                   4106 ROSEWOOD AVE APT 12
                   LOS ANGELES, CA 90004


                   CECILIA L FAVELA
                   26713 N Isabella Parkway Unit 204
                   Santa clarita, CA 91351


                   CECILIA S SOLIS
                   19545 Sherman Way Unit 109
                   Reseda, CA 91335


                   CEDARS-SINAI MEDICAL CENTER
                   8700 BEVERLY BLVD
                   LOS ANGELES, CA 90048


                   CEDARWORKS INC
                   PO BOX 990
                   ROCKPORT, ME 04856


                   CELESTINO J QUINTERO
                   10960 SUTTER AVE APT 9
                   PACOIMA, CA 91331


                   CENTER FOR FINANCIAL EMPOWERMENT
                   12701 SCHABARUM AVENU
                   IRWINDALE, CA 91706


                   CENTER FOR LIVING AND LEARNING
                   14549 ARCHWOOD ST 221
                   VAN NUYS, CA 91405
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                   Center For Nonprofit Management
                   1000 N Alameda St Suite 250
                   Los Angeles, CA 90012


                   Center For The Collaborative Classroom
                   1001 Marian Village Parkway Suite 110
                   Alameda, CA 94501


                   CENTRAL MARKET
                   11479 S FERNANDO ROAD
                   SAN FERNANDO, CA 91340


                   Cerritos College Att: Admission & Record
                   11110 Alondra Blvd
                   Norwalk, CA 90650


                   Certified Officiating
                   4211 Redwood Ave Box 109
                   Los Angeles, CA 90066


                   Certified Transportaion
                   1038 Custer St
                   Santa Ana, CA 92701


                   CERTIFIX INC
                   700 N VALLEY ST
                   STE B
                   ANAHEIM, CA 92801


                   Cesar Iniquez
                   11045 Saticoy St
                   Sun Valley, CA 91352
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                   CESAR PEREZ MUNOZ
                   655 WEDGEWOOD AVE APT B
                   UPLAND, CA 91786


                   CESAR TOBIAS JR
                   923 S MARIPOSA AVE APT 3
                   LOS ANGELES, CA 90006


                   CET-Nursing
                   639 S New Hampshire Ave Ste 301
                   Los Angeles, CA 90005


                   CETF
                   714 West Olympic Boulevard Suite 923
                   Los Angeles, CA 90015


                   CFED-ALC
                   1200 G Street Nw
                   Suite 400
                   Washington, DC 20005


                   CHANTAL J RICHMOND
                   3365 SANTA FE AVENUE APT 18
                   LONG BEACH, CA 90810


                   CHARLES AUSTIN JR
                   7635 LENNOX AVE
                   APT 226
                   VAN NUYS, CA 91406


                   CHARLES T HAYES
                   2485 QUEENBERRY RD
                   PASADENA, CA 91104
Case 2:19-bk-23085-BB    Doc 1 Filed 11/05/19 Entered 11/05/19 14:13:32   Desc
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                   CHARLOTTE L DEJOYA
                   4209 GARDEN HOMES AVENUE
                   LOS ANGELES, CA 90032


                   CHARMANE ZIMMERMAN
                   3330 HOLLYPARK DRIVE APT 4
                   INGLEWOOD, CA 90305


                   CHEAPER OFFICE SOLUTIONS
                   17014 S VERMONT AVE UNIT C
                   GARDENA, CA 90247


                   Cheer Los Angeles
                   1223 Wilshire Blvd 1580
                   Santa Monica, CA 91331


                   CHEVRON
                   6001BOLLINGER CANYON RD
                   SAN RAMON, CA 94583


                   CHEYANNE SMITH
                   15519 Deblynn Ave
                   Gardena, CA 90248


                   CHICORY COFFEE AND TEA
                   1131 11TH ST
                   SACRAMENTO, CA 95814


                   Child Care Resource Center
                   20001 Prairie St
                   Chatsworth, CA 91311
Case 2:19-bk-23085-BB    Doc 1 Filed 11/05/19 Entered 11/05/19 14:13:32   Desc
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                   CHILDCARE CAREERS
                   2000 Sierra Point Pkwy
                   Ste 702
                   Brisbane, CA 94005


                   CHILDCARE CAREERS
                   2000 SIERRA POINT PKWY SUITE 702
                   BRISBANE, CA 94005


                   Children's Bureau Of Southern California
                   1910 Magnolia Ave
                   Los Angeles, CA 90007


                   CHILDREN'S HOSPITAL LOS ANGELES
                   ATTN PRISCILLA BROWN
                   LOS ANGELES, CA 90027


                   CHIPOTLE
                   3101 NEWPORT BLVD
                   NEW PORT BEACH, CA 92663


                   CHLOE WELMOND
                   117 Bimini Place Apt 216
                   Los Angeles, CA 90004


                   CHLOIE R BUHAIN
                   12746 Glenoaks Blvd
                   Sylmar, CA 91342


                   CHOICE HOTELS INTERNATIONAL INC
                   1 CHOICE HOTELS CIR
                   SUITE 400
                   ROCKVILLE, MD 20850
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                   CHRIS MENASTER
                   2615 IVANHOE DR
                   LOS ANGELES, CA 90039


                   CHRISTEEN MAZED
                   6434 BALBOA BLVD APT 202
                   VAN NUYS, CA 91406


                   CHRISTIAN A SMITH
                   10607 Crenshaw Blvd Apt 3
                   Inglewood, CA 90303


                   CHRISTIAN BERRIOS
                   3504 11TH AVE
                   LOS ANGELES, CA 90018


                   CHRISTIAN E GOMEZ
                   14345 BEAVER ST
                   SYLMAR, CA 91342


                   CHRISTIAN LARA-PEREZ
                   19525 BASSET STREET
                   RESEDA, CA 91335


                   CHRISTINA CLIMACO
                   11389 ALMOND AVE
                   FONTANA, CA 92337


                   CHRISTINE VEGA
                   2917 MONTEZUMA AVE
                   ALHAMBRA, CA 91803
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                   CHRISTOPHER BUSTAMANTE
                   8063 ORANGE STREET
                   DOWNEY, CA 90242


                   CHRISTOPHER CHILES
                   305 E NEECE ST
                   LONG BEACH, CA 90805


                   CHRISTOPHER E GARCIA TELLEZ
                   1312 1/2 LINWOOD AVE
                   LOS ANGELES, CA 90017


                   CHRISTOPHER FERNANDEZ
                   12026 MAGNOLIA BLVD APT 6
                   VALLEY VILLAGE, CA 91607


                   CHRISTOPHER J HALL
                   526 S KERN AVE
                   LOS ANGELES, CA 90022


                   CHRISTOPHER LARA
                   1310 12TH AVE
                   APT 106
                   LOS ANGELES, CA 90019


                   CHRISTOPHER PIVARAL
                   5939 HOLLYWOOD BLVD
                   LOS ANGELES, CA 90021


                   CHRISTOPHER REVOLORIO
                   1136 Arapahoe St Apt 101
                   Los Angeles, CA 90006
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                   CHUBASCO RESTAURANT
                   11220 LAUREL CANYON BLVD
                   SAN FERNANDO, CA 91340


                   CIABATTA BAR
                   6464 SUNSET BLVD
                   HOLLYWOOD, CA 90028


                   CIARA TUREK
                   1329 N COLUMBUS AVENUE
                   APT D
                   GLENDALE, CA 91202


                   CIARA TUREK
                   1329 N COLUMBUS AVE APT D
                   GLENDALE, CA 91202


                   CICELY MAJEED
                   327 W PCH HWY APT 7
                   LONG BEACH, CA 90806


                   CIDERIO FLORES
                   300 N TOWNSEND AVE
                   LOS ANGELES, CA 90063


                   CINDY BANUELOS
                   37921 50TH ST EAST
                   PALMDALE, CA 93552


                   CINDY LOPEZ
                   13313 OXNARD STREET APT 142
                   VAN NUYS, CA 91401
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                   Cinerama Dome
                   120 North Robertson Blvd 3Rd Floor
                   Los Angeles, CA 90048


                   CINTAS
                   PO BOX 29059
                   PHOENIX, AZ 85038-9059


                   CIT
                   PO Box 100706
                   Pasadena, CA 91189


                   CIT BANK NA
                   888 East Walnut St
                   PASADENA, CA 91101


                   Citi Community Development
                   38OO CITIBANK CENTER DR G3-4
                   TAMPA, FL 33610


                   CITIBANK
                   PO BOX 6201
                   SIOUX FALLS, SD 57117


                   City Club Los Angeles
                   333 South Grand Ave
                   Los Angeles, CA 90071


                   CITY NATIONAL PLAZA
                   515 S Flower St 3220
                   LOS ANGELES, CA 90071
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                   CITY OF GLENDALE
                   ATTN BULANIKIAN
                   ONNIG
                   GLENDALE, CA 91204


                   CITY OF GLENDALE COMMUNITY SERVICES AND
                   613 EAST BROADWAY
                   ROOM 120
                   GLENDALE, CA 91206


                   City Of Los Angeles
                   200 N Main St
                   LOS ANGELES, CA 90012


                   CITY OF LOS ANGELES
                   DEPARTMENT OF BUILDING & SAFETY
                   LOS ANGELES, CA 90012


                   City Of Los Angeles - Hcid
                   Attn Lyndon Salvador
                   1200 West 7Th Street 1St Floor
                   Los Angeles, CA 90017


                   City Of Los Angeles Department Of Recrea
                   625 S LAFAYETTE PARK PLACE
                   Los Angleles, CA 90057


                   CITY OF PHILADELPHIA
                   1401 JFK BLVD
                   SUITE 1380
                   PHILADELPHIA, PA 19102-1693


                   City Of San Fernando
                   117 Macneil Street
                   San Fernando, CA 91340
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                   CITY YEAR
                   287 Columbus Ave
                   Boston, MA 02116


                   CLAREMONT GRADUATE UNIVERSITY
                   PETER F DRUCKER SCHOOL OF MANAGEMENT
                   CLAREMONT, CA 91711


                   Clarence A Simpson
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                   CLARICZA D ORTIZ
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                   LOS ANGELES, CA 90731


                   CLARISA PENA
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                   PACOIMA, CA 91331


                   Claudia F Torres
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                   San Fernando, CA 91340


                   CLAUDIA LARA
                   5369 HUNTINGTON DR N
                   LOS ANGELES, CA 90032
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                   CLAUDIA LARA VAZQUEZ
                   5369 HUNTINGTON DR N
                   LOS ANGELES, CA 90032


                   CLAUDIA MEJIA
                   13010 CARL PL APT 293
                   PACOIMA, CA 91331


                   CLAUDIA RAMIREZ
                   10400 Swinton Ave
                   Granada Hills, CA 91344


                   Claudia Sosa-Valderrama
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                   Covina, CA 91724


                   CLAUDIA VASQUEZ
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                   LOS ANGELES, CA 90057


                   Clean Environment Janitorial Service Inc
                   3442 Foothill Blvd Apt 182
                   Glendale, CA 91214


                   Clean Sweep Group Inc
                   8306 Wilshire Blvd Suite 7009
                   Beverly Hills, CA 90211


                   CLEANTECH GROUP
                   220 MONTGOMERY ST
                   SUITE 1000
                   SAN FRANCISCO, CA 94104
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                   CLEAR IMPACT
                   11300 ROCKVILLE PIKE
                   SUITE 1001
                   ROCKVILLE, MD 20852


                   Clearpoint Financial Solutions
                   270 Peachtree St Nw Suite 1800
                   Atlanta, GA 30303


                   Clinical Training Institute
                   PO Box 7447
                   Oxnard, CA 93031


                   Close Range International Inc
                   311 N Roberston Blvd 523
                   Beverly Hills, CA 90211


                   CLOUD FOR GOOD LLC
                   1854A HENDERSONVILLE
                   252
                   ASHEVILLE, NC 28803


                   CM School Supply 2
                   1025 E Orangethorpe Ave
                   Anaheim, CA 92801


                   COAST TO COAST FORKLIFT TRAINING
                   13600 IMPERIAL HWY 5
                   SANTA FE SPRINGS, CA 90670


                   COE'S GLASS
                   15532 CRENSHAW BLVD
                   GARDENA, CA 90249
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                   COLLABORATIVE CLASSROOM
                   1001 MARINA VILLAGE PARKWAY 110
                   ALAMEDA, CA 94501-1042


                   COLLEGE OF INSTRUMENT TECHNOLOGY
                   17156 BELLFLOWER BLVD
                   BELLFLOWER, CA 90706


                   COLLEGESPRING
                   1333 BROADWAY
                   SUITE 250
                   OAKLAND, CA 94612


                   COLUMBIA MEMORIAL SPACE CENTER
                   12400 COLUMBIA WAY
                   DOWNEY, CA 90242


                   COMEDY CLUB LA
                   8162 MELROSE AVE
                   LOS ANGELES, CA 90028


                   Comision Femenil San Fernando Valley
                   PO Box 7263
                   Northridge, CA 91327


                   Commline Inc
                   5563 Sepulveda Blvd Ste D
                   Culver City, CA 90230


                   Common Threads
                   3811 Bee Caves Road Suite 108
                   Austin, TX 78746
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                   Communities In Schools Of Los Angeles
                   CO Caa 2000 Avenue Of The Stars
                   Los Angeles, CA 90067


                   Community Centers Inc
                   7518 S Vermont Ave
                   Los Angeles, CA 90044


                   Community Charter Early College Hs
                   1405 North San Fernando Rd Ste 303
                   Burbank, CA 91504


                   COMMUNITY PARTNERS
                   1000 NORTH ALAMEDA STREET SUITE 240
                   LOS ANGELES, CA 90012


                   Community Partners On Behalf Of Lafpc
                   1000 North Alameda Street Suite 240
                   LOS ANGELES, CA 90012


                   Community Products LLC
                   Po Box 2
                   Ulster Park, NY 12487


                   Community Reinvestment Fund Inc
                   Sds 122830
                   PO Box 86
                   Minneapolis, MN 55486


                   COMPLETE OFFICE OF CALIFORNIA INC
                   PO BOX 4318
                   CERRITOS, CA 90703
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                   Computer Institute Of Technology
                   6444 Bellingham Ave Suite 202
                   North Hollywood, CA 91606


                   COMPUTERIZED MANAGEMENT SERVICES INC (RA
                   4100 GUARDIAN ST STE 205
                   SIMI VALLEY, CA 93063


                   Concord
                   177 Post St Suite 910
                   San Francisco, CA 94108


                   Concorde Career College
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                   CONCUR TECHNOLOGIES
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                   SUITE 1000
                   BELLEVUE, WA 98004


                   Conexis
                   Po Box 8363
                   Pasadena, CA 91109


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                   Conqur Endurance Group
                   871 Figueroa Terrace
                   Los Angeles, CA 90012
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                   CONSTRUCTION DISTRICT
                   9909 TOPANGA CANYON BLVD 214
                   CHATSWORTH, CA 91311


                   Container Alliance
                   510 Castillo St Suite 340
                   Santa Barbara, CA 93101


                   Cool Bus
                   5301 Balboa Blvd Unit H14
                   Encino, CA 91316


                   Copyfree Document Imaging
                   601 S San Gabriel Blvd
                   San Gabriel, CA 91776


                   COPYMAT HOLLYWOOD
                   6501 SUNSET BLVD
                   HOLLYWOOD, CA 90028


                   CORAIMA HURTADO
                   37539 90th Street East
                   Littlerock, CA 93543


                   Coral Academy Science Las Vegas
                   1051 Sandy Ridge Ave
                   Henderson, NV 89052


                   CORALY LARA
                   673 EAST 49TH STREET
                   LOS ANGELES, CA 90011
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                   CORINA GARCIA
                   2210 1/2 W Jefferson Blvd Apt 3
                   Los Angeles, CA 90018


                   Corner Bakery
                   801 South Figueroa Ste 150
                   Los Angeles, CA 90017


                   Corner Post Holdings Inc
                   266 N Main St
                   Suite 152
                   Wichita, KS 67202


                   Corporation Division
                   Secretary Of State
                   255 Capital St Ne Suite 151
                   Salem, OR 97310


                   Corporation for National and Community S
                   250 E St SW
                   WASHINGTON, DC 20024


                   COSCO FIRE PROTECTION
                   1075 W LAMBERT RD BLDG D
                   BREA, CA 92821


                   COSTCO
                   999 Lake Dr
                   Issaquah, WA 98027


                   COUGAR HOOPS CAMPS
                   128 N WILDWOOD AVE
                   GLENDORA, CA 91741
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                   COUNCIL OF DEVELOPMENT FINANCE AGENCIES
                   100 E BROAD ST
                   SUITE 1200
                   COMLUMBUS, OH 43215


                   COUNTY OF LOS ANGELES PROBATION
                   901 VIA SAN CLEMENTE
                   MONTEBELLO, CA 90640


                   COURTNEY L RAMCLAM
                   2619 So La Salle Ave 5
                   Los Angeles, CA 90018


                   COVALENCE CONSULTING INC
                   902 GORHAM STREET
                   NEW MARKET, ON L3Y 1


                   Coverall North America Inc
                   2955 Momentum Place
                   Chicago, IL 60689


                   CPH & ASSOCIATES
                   711 S DEARBORN ST SUITE 205
                   CHICAGO, IL 60605


                   CPRANGELES
                   2425 East Slauson Avenue 214
                   HUNTINGTON PARK, CA 90255


                   CPS- CHILD CARE LICENSING PROGRAM
                   744 P STREET MS T9-15-48
                   SACRAMENTO, CA 95814
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                   CRAIG WILLIAMS
                   17821 LASSEN STREET APT 340
                   NORTHRIDGE, CA 91325


                   CRAIGSLIST
                   1381 9TH AVE
                   SAN FRANCISCO, CA 94122


                   CRANE BUSINESS GROUP INC
                   11052 PICAZA PLACE
                   SAN DIEGO, CA 92127


                   Create Now Inc
                   1611 S Hope Street E
                   Los Angeles, CA 90015


                   Creation World Safety
                   19401 S Vermont Ave Suite A108
                   Torrance, CA 90502


                   CREATIVE RECREATIONAL SYSTEMS INC
                   2377 GOLD MEADOW WAY
                   SUITE 100
                   GOLD RIVER, CA 95670


                   CRESCENT COLLEGE
                   5940 SANTA FE AVE
                   HUNTINGTON PARK, CA 90255


                   CRISLY ULLOA
                   1029 S Westmoreland Ave Apt104
                   Los Angeles, CA 90006
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                   CRISPY CRUST
                   1253 N VINE ST
                   6A
                   HOLLYWOOD, CA 90038


                   CRISTIAN A MENDOZA
                   110 W 92 St
                   Los Angeles, CA 90003


                   Cristian Macias
                   11070 Chivers Ave
                   Pacoima, CA 91331


                   CRISTINA GONZALEZ
                   13085 CARL ST APT 310
                   PACOIMA, CA 91331


                   CROWN AWARDS
                   9 SKYLINE DR
                   HAWTHORNE, NY 10532


                   CROWN RECYCLING SERVICES
                   9147 DE GARMO AVE
                   SUN VALLEY, CA 91352


                   CRYSTAL M HOLMES
                   438 e 140th st
                   los angeles, CA 90061


                   CRYSTAL PONCE
                   627 E 51 ST
                   LOS ANGELES, CA 90011
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                   CSUN CAREER CENTER
                   18111 NORDHOFF ST BH 413
                   NORTHRIDGE, CA 91330


                   CTE CONFERENCE
                   13089 PEYTON DRIVE C232
                   CHINO HILLS, CA 91709


                   CURBSTAND
                   1017 N LA CIENEGA BOULEVARD
                   WEST HOLLYWOOD, CA 90069


                   Curtin Security Company Inc
                   10046 Valley Spring Lane
                   North Hollywood, CA 91602


                   Curtis K Witherspoon
                   6871 Delta Avenue
                   Long Beach, CA 90805


                   CVAE
                   1400 E Janss Road
                   Thousand Oaks, CA 91362


                   CVS HEALTH CORPORATION
                   ONE CVS DR
                   WOONSOCKET, RI 02895


                   CYNTHIA ANGOUILLANT
                   11749 TERRA BELLA ST
                   LAKE VIEW TERRACE, CA 91342
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                   CYNTHIA DE LA LUZ
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                   Bell, CA 90201


                   Cynthia Garcia
                   162 E 36th Pl
                   Los Angeles, CA 90011


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                   12734 Rajah St
                   Sylmar, CA 91342


                   CYNTHIA NAVA
                   4668 S HUNTINGTON DRIVE APT 107
                   LOS ANGELES, CA 90032


                   CYNTHIA THOMAS
                   4078 BREAKWOOD DR
                   HOUSTON, TX 77025


                   CYRILLE COOPER
                   524 HYDE PARK PLACE APT 1
                   INGLEWOOD, CA 90302


                   DAEVON GUERRERO
                   444 S LAFAYETTE PARK APT 105
                   LOS ANGELES, CA 90057


                   DAISY E CHAIDEZ
                   7933 Lurline Ave
                   Winnetka, CA 91306
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                   DAISY N BARRIOS
                   1649 S Catalina St
                   Los Angeles, CA 90006


                   DAJA S ROBINSON
                   630 S ALVARADO ST APT 206
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                   DAMIAN E ROMERO
                   12224 HILLSDALE AVENUE
                   SYLMAR, CA 91342


                   DAMION A MORENO
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                   DANA A WALKER
                   11757 ADDISON STREET
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                   DANA INN & RESORT
                   1710 W MISSION BAY DR
                   SAN DIEGO, CA 92109


                   Daniel E Kugler
                   13243 Sayre St
                   Sylmar, CA 91342
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                   Daniel G Cepeda Rodriguez
                   10628 Crockett Street
                   Sun Valley, CA 91352


                   DANIEL GRUNFELD
                   2307 DUXBURY CIRCLE
                   LOS ANGELES, CA 90034


                   DANIEL M PINEIRO
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                   Sun Valley, CA 91352


                   Daniel Olea
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                   Pacoima, CA 91331


                   DANIEL PANIAGUA
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                   Los Angeles, CA 90015


                   Daniela Duarte
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                   Sun Valley, CA 91352
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                   DANIELA FLORES BUSSO
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                   San Fernando, CA 91340


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                   PACOIMA, CA 91331


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                   ALHAMBRA, CA 91803


                   DANNY MORALES
                   541 N WESTMORELAND AVE
                   LOS ANGELES, CA 90004


                   Darell Cooper
                   12224 Industrial Ave
                   South Gate, CA 90280
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                   DARIO IBARRA
                   6507 WHITE OAK AVENUE
                   RESEDA, CA 91335


                   DARIUS FEQUIERE
                   2958 HALLDALE AVE
                   LOS ANGELES, CA 90018


                   DARREN SU
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                   LOS ANGELES, CA 90032


                   Darryl Mitchell
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                   Davalynn M Bustillos
                   860 S Harvard Blvd Apt 201
                   Los Angeles, CA 90005


                   DAVE AND BUSTER
                   DALLAS, TX 75220



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                   2323 LOGAN ST
                   POMONA, CA 91767


                   DAVES HOT CHICKEN
                   970 N WESTERN AVE
                   LOS ANGELES, CA 90029
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                   DAVEY'S LOCKER SPORTFISHING
                   400 MAIN ST
                   NEWPORT BEACH, CA 92661


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                   Sun Valley, CA 91352


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                   LOS ANGELES, CA 90057


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                   Philadelphia, PA 19128


                   DAVID JOVEL
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                   RESEDA, CA 91335


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                   NORTH HOLLYWOOD, CA 91606


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                   LOS ANGELES, CA 90004
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                   DAVID OSHIRO
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                   DAVID ZAMUDIO
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                   Los Angeles, CA 90019


                   DEANNA GUERRERO
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                   NORTH HOLLYWOOD, CA 91605


                   DEEPTI SAROHA
                   6643 WOODEY AVENUE APT 12A
                   VAN NUYS, CA 91406


                   DEER USA INC
                   517 S ATLANTIC BLVD
                   MONTERY PARK, CA 91754


                   DEISY ORELLANA
                   4821 SAN VICENTE BLVD APT 7
                   LOS ANGELES, CA 90019
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                   DELANIE SOLORIO
                   1431 HOLLISTER STREET
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                   DELINA DAWIT
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                   HOUSTON, TX 77057


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                   Payment Processing Center
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                   Carol Stream, IL 60197


                   Dell Marketing LP
                   CO Dell Usa LP
                   Po Box 910916
                   Pasadena, CA 91110


                   Dell Sonicwall Services
                   PO Box 49042
                   San Jose, CA 95161


                   DELTA AIR LINES INC
                   1020 CARGO SERVICE RD
                   ATLANTA, GA 30337


                   DELVY I GARCIA
                   1742 WALTON AVENUE
                   LOS ANGELES, CA 90006
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                   DENISE A HERNANDEZ
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                   DENISE FLORES
                   14847 Chatsworth Drive
                   Mission hills, CA 91344


                   DENISE ZAMORA
                   1600 TREMONT ST
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                   Pasadena, CA 91104


                   DEON J BROWN
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                   Granada Hills, CA 91344


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                   451 7th Street SW
                   WASHINGTON, DC 20410


                   Department Of Justice
                   PO Box 944255
                   Sacramento, CA 94244


                   DEPARTMENT OF SOCIAL SERVICES
                   MS 9-3-67
                   PO BOX 944243
                   SACRAMENTO, CA 94244-2430
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                   DEREK MONUGIAN
                   844 CHESTNUT AVE APT 31
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                   DESIREE NUNO
                   15455 GLENOAKS BLVD APT 195
                   SYLMAR, CA 91342


                   DESTINY HOWARD
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                   DESTINY MENDOZA
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                   DETROIT, MI 48243
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                   DEVELOPMENTAL STUDIES CENTER
                   1250 53RD STREET SUITE 3
                   EMERYVILLE, CA 94608


                   DEVON GLASS AND MIRROR
                   5320 N FIGUEROA ST
                   LOS ANGELES, CA 90042


                   DIANA D SANTOS
                   4654 East Ave S
                   Palmdale, CA 93552


                   DIANA GUILLEN
                   15220 TUBA ST
                   MISSION HILLS, CA 91345


                   DIANA LOPEZ-LOZA
                   11021 NORRIS AVE APT 28
                   PACOIMA, CA 91331


                   DIANA MEJIA
                   2301 W LA HABRA BLVD APT 5
                   LA HABRA, CA 90631


                   DIANA MORAN
                   10966 LEHIGH AVENUE 52
                   PACOIMA, CA 91331


                   DIANA PENUELAS
                   10907 LENIGH AVENUE APT 412
                   PACOIMA, CA 91331
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                   DIANA RODRIGUEZ
                   13888 HUBBARD ST
                   SYLMAR, CA 91342


                   DIANA SANTOS
                   10251 KEWEN AVE
                   PACOIMA, CA 91331


                   DIANA VALENCIA
                   11107 ARMINTA ST
                   APT 1
                   SUN VALLEY, CA 91352


                   DIANE ESTRADA
                   27924 LASSEN ST
                   CASTAIC, CA 91384


                   DIANE JENKINS
                   967 EVENING SHADE DR
                   SAN PEDRO, CA 90731


                   DIANE KENNEDY
                   PO BOX 882
                   PARAMOUNT, CA 90723


                   DIANNA RAMIREZ
                   13890 Sayre St Apt 204
                   Sylmar, CA 91342


                   DICK BLICK
                   864 ENTERPRISE AVE
                   GALESBURG, IL 61402
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                   DIEGO A PEREZ
                   329 North Ditman Ave
                   Los Angeles, CA 90063


                   DIEGO DELGADO
                   12567 DEBELL ST
                   PACOIMA, CA 91331


                   DIEGO GARCIA VALENZUELA
                   14000 CLYMER ST
                   SAN FERNANDO, CA 91340


                   DirectED Educational Services
                   21820 BURBANK BLVD
                   SUITE 310
                   WOODLAND HILLS, CA 91367


                   DISCOUNT MUGS
                   12610 NW 115TH AVE
                   MIAMI, FL 33178


                   Discount School Supply
                   PO Box 6013
                   Carol Stream, IL 60197


                   DISCOUNTMUGSCOM
                   12610 NW 115TH AVE
                   BLDG 200
                   MEDLEY, FL 33178


                   Discovery Charter Preparatory School
                   13570 Eldridge Ave
                   SYLMAR, CA 91342
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                   DISCOVERY CUBE
                   11800 FOOTHILL BLVD
                   LOS ANGELES, CA 91342


                   DISCOVERY SCIENCE CENTER
                   2500 N MAIN ST
                   SANTA ANA, CA 92705


                   DISCOVERY SCIENCE CENTER OF LOS ANGELES
                   2500 N MAIN ST
                   SANTA ANA, CA 92705


                   DISCOVERY SCIENCE CENTER OF ORANGE COUNT
                   2500 N MAIN ST
                   SANTA ANA, CA 92705


                   Disney Foundation
                   3500 W Olive Ave STE 700
                   BURBANK, CA 91505


                   DIVENTURE MARKETING GROUP
                   13 ORCHARD ROAD
                   STE 106
                   LAKE FOREST, CA 92630


                   DJ CHARLIE
                   7338 YSMAEL VILLEGAS ST
                   RIVERSIDE, CA 92504


                   DKG MEDIA LP
                   901 S MOPAC EXPRESSWAY
                   BUILDING S SUITE 140
                   AUSTIN, TX 78746
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                   DMD ARTISAN WOODWORK
                   852 W 10TH
                   SAN PEDRO, CA 90731


                   Dmv Renewal
                   Po Box 942894
                   Sacramento, CA 94294


                   Docusign Inc
                   Dept 3428
                   Po Box 123428
                   Dallas, TX 75312


                   DODGERS TICKETS LLC
                   1000 ELYSIAN PARK AVE
                   LOS ANGELES, CA 90012


                   DOLLAR DAYS
                   3033N 44TH ST 330
                   PHOENIX, AZ 85018


                   DOLLAR KINGS INC
                   2849 LEONIS BLVD
                   VERNON, CA 90058


                   DOLORES B LARA FIERRO
                   3912 SHIRLEY AVENUE
                   EL MONTE, CA 91731


                   Dolores G Lara-Ramirez
                   12844 Woodcock Ave
                   Sylmar, CA 91342
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                   Dolphin Trucking School Inc
                   4820 S EASTER AVE
                   UNIT 0
                   COMMERECE, CA 90040


                   Dome Exam Prep
                   27954 Dickason Dr
                   Valencia, CA 91354


                   Dome Garage LLC
                   1400 Ivar Ave
                   Los Angeles, CA 90028


                   DOMINIQUE AVALOS
                   12902 CORRENTI ST
                   PACOIMA, CA 91331


                   Dominos Pizza
                   30 FRANK LLOYD WRIGHT DR
                   ANN ARBOR, MI 48106


                   DONAJI MARTINEZ
                   1036 W 49th Street
                   Los Angeles, CA 90037


                   DONNA C MARTINEZ
                   8958 MERCEDES AVENUE
                   ARLETA, CA 91331


                   DONNA MARTINEZ
                   8958 MERCEDES AVENUE
                   ARLETA, CA 91331
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                   DONTE BROWN
                   16317 DEVONSHIRE ST
                   GRANADA HILLS, CA 91344


                   DONUT STAR
                   8360 TOPANGA CANYON BOULEVARD
                   CANOGA PARK, CA 91304


                   DORIS ARANGO-REYES
                   1440 E 59TH PL
                   LOS ANGELES, CA 90001


                   DOUBTING THOMAS
                   2510 W TEMPLE ST
                   LOS ANGELES, CA 90026


                   DOWNEY ADULT SCHOOL
                   12340 WOODRUFF AVE
                   DOWNEY, CA 90241


                   DRAGO CENTRO
                   525 S FLOWER ST
                   LOS ANGELES, CA 90071


                   DREAM HOTEL HOLLYWOOD
                   6417 SELMA AVENUE
                   HOLLYWOOD, CA 90028


                   DREW WARMSLEY
                   700 N DWIGHT AVE
                   COMPTON, CA 90220
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                   DREW WARMSLEY
                   700 NORTH DWIGHT AVENUE
                   COMPTON, CA 90220


                   DROPBOX INC
                   333 BRANNAN ST
                   SAN FRANCISCO, CA 94107


                   DRUM CONNECTION INC
                   4846 LIBBIT AVE
                   ENCINO, CA 91436


                   DSH
                   3250 Wilshire Blvd Suite 1105
                   Los Angeles, CA 90010


                   DUCK DUCK GOOSE
                   BALTIMORE, MD 21231



                   DULCE HERNANDEZ
                   206 UNION PL APT 207
                   LOS ANGELES, CA 90026


                   Durham School Services LP
                   4300 Weaver Parkway
                   Warrenville, IL 60555


                   Dwight Stuart Youth Fund (DSYF)
                   9595 Wilshire Blvd 212
                   BEVERLY HILLS, CA 90212
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                   Dworsky Design
                   4712 Admiralty Way Unit 395
                   Marina Del Rey, CA 90292


                   DYLAN J CAMPBELL
                   8912 HAZELTINE AVE
                   PANORAMA CITY, CA 91402


                   Dymally High School
                   8800 South San Pedro St
                   Los Angeles, CA 90003


                   DYMOND BURNETTE
                   1133 CHERRY AVE
                   APT 10
                   LONG BEACH, CA 90813


                   E-Z RENT A CAR
                   ORLANDO, FK 32809



                   E3 DIAGNOSTICS
                   ACCOUNTS PAYABLE
                   3333 N KENNICOTT AVE
                   ARLINGTON, IL 60004


                   East Los Angeles College
                   Attention Fiscal Office
                   1301 Avenida Cesar Chavez
                   Monterey Park, CA 91754


                   EAST SIDE FOR HIRE
                   11400 NE 132ND ST
                   KIRKLAND, WA 98034
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                   EASTBAY INC
                   PO BOX 1328
                   WAUSAU, WI 54402-1328


                   Eastmont Community Center
                   701 S Hoefner Avenue
                   Los Angeles, CA 90022


                   EAT THIS CAFE
                   6547 SANTA MONICA BLVD
                   LOS ANGELES, CA 90038


                   EBERTH MARTINEZ
                   11135 WALNUT ST
                   EL MONTE, CA 91731


                   Ecm Security Systems
                   310 N Indian Hill Blvd 428
                   Claremont, CA 91711


                   ECO BEAR BIOHAZARD CLEANING CO
                   3740 ALTA MESA DR
                   STUDIO CITY, CA 91604


                   ECONOMIC AND WORKFORCE DEVELOPMENT DEPAR
                   ATTN: CATHERINE BONDOC 1200 W 7TH ST 4TH
                   LOS ANGELES, CA 90017


                   Edgar A Chacon
                   946 E 118th St
                   Los Angeles, CA 90059
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                   Edgar A Cobian
                   14520 Plummer St Apt22
                   Panorama City, CA 91402


                   Edison International
                   2244 Walnut Grove Ave
                   ROSEMEAD, CA 91770


                   EDITH GARCIA
                   2218 E 107TH STREET
                   LOS ANGELES, CA 90002


                   EDLYN PALAFOX
                   160 E 119TH ST
                   LOS ANGELES, CA 90061


                   EDLYN PALAFOX
                   435 S HOOVER ST APT 11
                   LOS ANGELES, CA 90020


                   EDNA J GARCIA
                   12368 OSBORNE ST APT 8
                   PACOIMA, CA 91331


                   EDNET CAREER INSTITUTE INC
                   7301 TOPANGA CANYON BLVD
                   350
                   CANOGA PARK, CA 91303


                   EDUARDO BARRANCA
                   2001 E El Segundo Blvd Apt 7
                   Compton, CA 90222
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                   EDUARDO MARROQUIN
                   3908 E 56th
                   Maywood, CA 90270


                   EDUARDO MENDOZA
                   1309 W 36th PL
                   Los Angeles, CA 90007


                   EDUARDO NAJAR
                   14720 Roscoe blvd 34
                   Panorama City, CA 91402


                   EDUARDO NAVARRETE
                   11047 Strathern St Apt7
                   Sun Valley, CA 91352


                   EDUARDO OCHOA ARAGON
                   1136 ARAPAHOE ST APT 102
                   LOS ANGELES, CA 90006


                   EDUCATION TO GO
                   PO BOX 36716
                   CHICAGO, IL 60694


                   EDWARD L KLEIN
                   12320 CHANDLER BLVD
                   N HOLLYWOOD, CA 91607


                   EDWIN A ARANGO
                   727 SOUTH SERRANO AVENUE APT 17
                   LOS ANGELES, CA 90005
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                   Edy Alvarez
                   11763 Glencrest Drive
                   San Fernando, CA 91340


                   Efren Cadena
                   8694 San Juan Ave
                   South Gate, CA 90280


                   Efren Jacobo
                   11128 El Dorado Ave
                   Pacoima, CA 91331


                   EINSTEIN BROS
                   555 ZANG ST 300
                   LAKEWOOD, CO 80228


                   EJIRO NTEKUME
                   8721 RAMSGATE AVE
                   APT 2
                   WESTCHESTER, CA 90045


                   EKYAER ALVARADO
                   244 1/4/ W 71ST
                   LOS ANGELES, CA 90003


                   El Abuelo Restuarant
                   425 N Maclay Ave
                   San Fernando, CA 91340


                   EL CAMINO COMMUNITY COLLEGE
                   16007 CRENSHAW BLVD
                   TORRANCE, CA 90506
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                   EL MILAGRO PANADERIA
                   12040 FOOTHILL BLVD
                   LAKEVIEW TERRACE, CA 91342


                   EL UNICO POLLO TAQUERO
                   4770 W MISSION BLVD
                   MONTCLAIR, CA 91762


                   EL ZARAPE
                   3729 MELROSE AVE
                   LOS ANGELES, CA 90029


                   ELADIO CHAVEZ Jr
                   4983 La Calandria Way
                   Los Angeles, CA 90032


                   ELIEZER ZACARIAS RAMOS
                   718 S BURLINGTON AVE
                   APT 202C, CA 90057


                   ELIZABETH A HERMOSILLO
                   5728 Corbett St
                   Los Angeles, CA 90016


                   ELIZABETH BRAVO ROSALES
                   815 S Bonnie Brae St Apt 204
                   Los Angeles, CA 90057


                   ELIZABETH C GOMEZ
                   2952 The Mall St
                   Los Angeles, CA 90023
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                   ELIZABETH CALDERON
                   217 1/2 E 28 St
                   Los Angeles, CA 90011


                   ELIZABETH DENNY
                   790 MONTEREY ROAD
                   SOUTH PASADENA, CA 91030


                   Elizabeth Garcia
                   Po Box 33667
                   Los Angeles, CA 90033


                   ELIZABETH GONZALEZ
                   1137 E 87TH PL
                   LOS ANGELES, CA 90002


                   ELIZABETH GONZALEZ
                   951 W VERNON AVE APT 4
                   LOS ANGELES, CA 90037


                   ELIZABETH HERNANDEZ
                   10901 Laurel Canyon
                   San Fernando, CA 91340


                   ELIZABETH NERI
                   736 E 41 PL
                   LOS ANGELES, CA 90011


                   Elizabeth Rodriguez
                   2210 Termino Ave
                   Long Beach, CA 90815
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                   ELVIRA M LUZ
                   14922 Polk Street
                   Sylmar, CA 91342


                   ELY MEZA
                   7953 WASHINGTON AVE
                   WHITTIER, CA 90602


                   Elyla H Gonzalez
                   11673 1/2 Magnolia Blvd
                   Valley Village, CA 91601


                   EMANUEL GONZALEZ
                   706 S HOEFNER AVE
                   LOS ANGELES, CA 90022


                   EMBARGO GRILL
                   3960 WEST POINT LOMA BOULEVARD
                   SAN DIEGO, CA 92110


                   EMELLY PALMA
                   14145 SYLVAN ST
                   VAN NUYS, CA 91401


                   Emely Gonsalez
                   13314 Glenoaks Blvd
                   Sylmar, CA 91342-2109


                   EMILIANO LOPEZ
                   1250 MAGNOLIA AVE
                   LOS ANGELES, CA 09006
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                   EMILIO M BARAJAS
                   13368 Pierce St
                   Pacoima, CA 91331


                   EMILSA GUTIERREZ
                   225 1/2 E 30TH ST
                   LOS ANGELES, CA 90011


                   EMILSA GUTIERREZ
                   225 1/2 E 30TH STREET
                   LOS ANGELES, CA 90011


                   EMILY E RIVERA-MURILLO
                   9415 SYLMAR AVE UNIT 7
                   PANORAMA CITY, CA 91402


                   EMILY PALACIOS
                   7521 LAS PLUMAS LANE
                   TUJUNGA, CA 91042


                   EMMA INC
                   123 MISSION ST 26TH
                   SAN FRANCISCO, CA 94105


                   Employed Security Service Center Inc
                   959 E Walnut St Suite 112
                   Pasadena, CA 91106


                   Employers Group
                   Serviceone Dept
                   400 North Continental Blvd Ste 300
                   El Segundo, CA 90245
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                   Employment Development Department
                   ATTN FISCAL SECTION MIC 70
                   PO BOX 826217
                   SACRAMENTO, CA 94230


                   Employment Development Department
                   PO BOX 826880 MIC 92T
                   SACRAMENTO, CA 94280-0001


                   Enrique Ruiz
                   14757 Sherman Way Apt 318
                   Van Nuys, CA 91405


                   ENRIQUE VEGA
                   13666 Filmore St
                   Pacoima, CA 91331


                   ENTERPRISE RENT-A-CAR
                   5462 HOLT BLVD
                   MONTCLAIR, CA 91763


                   Envision Consulting LLC
                   3231 E Foothill Blvd
                   Pasadena, CA 91107


                   EPIC SPORTS INC
                   9750 EAST 53RD STREET NORTH
                   BEL AIRE, KS 67226


                   ERGONOMIC COMFORT DESIGN INC
                   PO BOX 79018
                   CORONA, CA 92877-0167
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                   ERIC G VARGAS
                   19436 Vanowen St
                   Reseda, CA 91335


                   ERIC GAINES
                   14108 DOTY AVE
                   15
                   HAWTHORNE, CA 90250


                   ERIC MONUGIAN
                   844 CHESTNUT AVE APT 31
                   LOS ANGELES, CA 90042


                   ERIC TUAZON
                   28342 CAMINO DEL ARTE DR
                   VALENCIA, CA 91354


                   ERICA GOMEZ
                   10551 EL DORADO AVE
                   PACOIMA, CA 91331


                   Erick B Soto
                   7115 Geyser Ave
                   Reseda, CA 91335


                   ERICK B TEJADA
                   4519 Clinton st
                   Los Angeles, CA 90004


                   Erick G Monrrigo
                   5732 CLEON AVE
                   NORTH HOLLYWOOD, CA 91601
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                   ERICK J SMITH
                   247 N Berendo St
                   Los Angeles, CA 90004


                   ERICK ROCHA
                   14759 REX STREET
                   SYLMAR, CA 91342


                   Erika Casillas Newsome
                   3508 Marathon St 3
                   Los Angeles, CA 90026


                   ERIKA MARTINEZ
                   1212 Gordon St 7
                   Los Angeles, CA 90038


                   ERIKA V MENENDEZ
                   13135 Vanowen St Apt 3
                   North Hollywood, CA 91605


                   ERIN MCKENNAS BAKERY ( USED TO BE CALLED
                   236 N LARCHMONT BOULEVARD
                   LOS ANGELES, CA 90004


                   ERIN SULLIVAN
                   12449 LOUISE AVE APT 5
                   LOS ANGELES, CA 90066


                   Ernest Stewart
                   1317 W 98Th St
                   Los Angeles, CA 90044
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                   ERNESTO MORALES
                   5332 SEPULVEDA BLVD APT 26
                   SHERMAN OAKS, CA 91411


                   ERNESTO MORALES
                   11068 CHIVERS AVENUE
                   PACOIMA, CA 91331


                   ERNESTO PRECIADO
                   4415 E 6TH ST
                   LOS ANGELES, CA 90022


                   ERNESTO PRECIADO
                   4415 E 6th
                   LOS ANGELES, CA 90022


                   ESCALA
                   3451 W 6TH ST
                   Los Angeles, CA 90020


                   ESI
                   55 Chamberlain St
                   Wellsville, NY 14895


                   ESMERALDA B ANZALDO
                   14000 Daventry St
                   PACOIMA, CA 91331


                   Esmeralda Conde
                   2892 W 14th Street
                   Los Angeles, CA 90006
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                   ESMERALDA MUNOZ
                   11352 ACALA AVE
                   SAN FERNANDO, CA 91340


                   ESPINOZA CRISTINA
                   4754 WEST 130TH ST
                   HAWTHORNE, CA


                   Esteban D Xala
                   2224 W Palm Ave
                   Orange, CA 92868


                   ESTEFANIA LUNA
                   1615 e 42nd St Apt 2
                   Los Angeles, CA 90011


                   ESTER DE LA FUENTE
                   6304 FAIR AVE
                   NORTH HOLLYWOOD, CA 91606


                   ESTHER C GONZALEZ
                   8025 Reseda Blvd Apt 129
                   Reseda, CA 91335


                   ESTHER R MARTINEZ
                   4628 Eagle Rock Blvd Apt 6
                   Los Angeles, CA 90041


                   ESTRELLA PEREZ
                   160 E 119th st
                   Los Angeles, CA 90061
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                   ETE Factory Outlet
                   8415 Atlantic Ave
                   Cudahy, CA 90201


                   Eternity Dance Theater
                   3234 W Vernon Ave
                   Los Angeles, CA 90008


                   EVA M CHAVEZ
                   2744 GUIRADO ST
                   LOS ANGELES, CA 90023


                   EVA M FLORES
                   13190 BROMONT AVE APT 102
                   SYLMAR, CA 91342


                   EVALUATION SPECIALISTS
                   7040 AVENIDA ENCINAS SUITE 104
                   CARLSBAD, CA 92011


                   EVANNE A GORDON
                   2017 Argyle Avenue 410
                   LOS ANGELES, CA 90068


                   EVELYN GONZALEZ
                   7526 Denny Ave
                   Sun Valley, CA 91352


                   EVELYN JIMENEZ
                   15260 Carey Ranch Lane
                   Sylmar, CA 91342
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                   Eventbrite
                   651 Brannan St Suite 110
                   San Francisco, CA 94107


                   EVERY MONDAY MATTERS
                   8223 W 4TH ST
                   LOS ANGELES, CA 90048


                   EVERYONEON
                   718 7TH ST NW
                   2ND FLOOR
                   WASHINGTON, DC 20001


                   Evilet Diaz
                   1131 Elden Ave Apt 108
                   LOS ANGELES, CA 90006


                   EVODIO PEREZ RAMOS
                   12067 PIERCE ST
                   LAKE VIEW TERRACE, CA 91342


                   Evolve Linguistics
                   2355 Westwood Blvd 645
                   Los Angeles, CA 90064


                   Excel Investments LLC
                   Po Box 2027
                   Long Beach, CA 90801


                   Excelencia Charter Academy
                   2821 E 7th
                   LOS ANGELES, CA 90023
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                   EXCELLENCE TRANSPORTATION SERVICES INC
                   PO BOX 296
                   SUN VALLEY, CA 91353


                   Express Services Inc
                   Po Box 844277
                   Los Angeles, CA 90084


                   Extra Fun Jumpers Inc
                   11353 Penrose St
                   Sun Valley, CA 91352


                   EXTRA SPACE STORAGE
                   15101 RAYMER ST
                   VAN NUYS, CA 91405


                   EZEKIEL SARENANA
                   512 Chatsworth Dr
                   San Fernando, CA 91340


                   FABIAN OJEDA
                   5829 SULTANA AVE
                   TEMPLE CITY, CA 91780


                   FABIAN PACHECO
                   126 NORTH ELECTRIC AVENUE APT K
                   ALHAMBRA, CA 91801


                   Fabiola A Chavez - Nava
                   13034 Carl St Apt 423
                   Pacoima, CA 91331
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                   FABIOLUS CUCINA (PIZZA PASTA & VINO)
                   6270 SUNSET BOULEVARD
                   LOS ANGELES, CA 90028


                   FABRICCOM
                   2151 Northwest Parkway
                   MARIETTA, GA 30067


                   FACEBOOK
                   1 HACKER WAY
                   MENLO PARK, CA 94025


                   FAITH & FLOWER
                   705 W 9TH ST
                   LOSA NGELES, CA 90015


                   FALLAS DISCOUNT STORE
                   928 N SAN FERNANDO BLVD
                   BURBANK, CA 91504


                   FAMILIES IN SCHOOL
                   1545 WILSHIRE BLVD 700
                   LOS ANGELES, CA 90017


                   FAMILIES IN SCHOOLS
                   1545 WILSHIRE BLVD SUITE 700
                   LOS ANGELES, CA 90017


                   FANATICS RETAIL GROUP
                   8100 NATIONS WAY
                   JACKSONVILLE, FL 32256
Case 2:19-bk-23085-BB    Doc 1 Filed 11/05/19 Entered 11/05/19 14:13:32   Desc
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                   FARUK BIDAK
                   6956 CHIMINEAS AVE
                   RESEDA, CA 91335


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                   1431 W 36th Pl
                   Los Angeles, CA 90018


                   FATIMA VASQUEZ
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                   Van Nuys, CA 91406


                   FEDERAL FINGERPRINTING INC
                   80 W SIERRA MADRE BLVD
                   193
                   SIERRA MADRE, CA 91024


                   Fedex
                   PO Box 7221
                   Pasadena, CA 91109


                   Felipe Bernardo
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                   Los Angeles, CA 90017


                   FELIX ARRIOJA AVALOS
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                   LOS ANGELES, CA 90017
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                   Felix Dominguez Jr
                   14904 Lassen St
                   Mission Hills, CA 91345


                   FELIX J ZACARIAS
                   7185 BURLINGTON AVENUE 202C
                   LOS ANGELES, CA 90057


                   Fenton Charter Schools
                   8928 Sunland Blvd
                   SUN VALLEY, CA 91352


                   Fermin Mendoza
                   425 14 S Union Ave
                   Los Angeles, CA 90017


                   FERNANDO ANGUIANO
                   10181 AMBOY AVE
                   PACOIMA, CA 91331


                   FERNANDO CERDA
                   1255 HILLANADALE AVE UNIT 11
                   LA HABRA, CA 90631


                   Fernando D Velasquez
                   335 S Coronado St Apt 335
                   Los Angeles, CA 90057


                   FERNANDO DELACRUZ
                   2105 114TH STREET E
                   LOS ANGELES, CA 90059
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                   FESTIVAL FUN PARKS LLC
                   111 RAGING WATERS DR
                   SAN DIMAS, CA 91773


                   FIDELIA D BECERRA
                   12751 FILMORE ST
                   PACOIMA, CA 91331


                   Fifth Road Inc
                   2821 Elm Street
                   Los Angeles, CA 90065


                   FILIPPIS PIZZA GROTTO
                   953 GARNET AVE
                   SAN DIEGO, CA 92109


                   FIONA
                   339 N FAIRFAX AVE
                   LOS ANGELES, CA 90036


                   Firehose Institute LLC
                   CO Firehose ProjectRunway
                   1355 Market St 488
                   San Francisco, CA 94103


                   FIRESTONE COMPLETE AUTO CARE
                   104 S MACLAY AVE
                   SAN FERNANDO, CA 91340


                   First Book Marketplace
                   Attn Fbnbb Payments
                   1319 F Street Nw Suite 1000
                   Washington, DC 20004
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                   First Insurance Funding Corp
                   Po Box 7000
                   Carol Stream, IL 60197


                   FIRST STUDENT INC
                   13200 CROSSROADS PKWY N 450
                   CITY OF INDUSTRY, CA 91746


                   FIVE LEAVES LA
                   4845 FOUNTAIN AVE
                   LOS ANGELES, CA 90029


                   FIYA
                   PO BOX 451373
                   LOS ANGELES, CA 90045


                   FLORENCIA DELGADO
                   14360 PARTHENIA ST
                   PANORAMA CITY, CA 91402


                   Florencio Lopez
                   2831 Vineyard Ave
                   Los Angeles, CA 90016


                   FLORES ERNESTO
                   16529 VICTORY BLVD
                   LAKE BALBOA, CA 91406


                   Focused Fitness LLC
                   2426 S Dishman Mica Rd
                   Spokane Valley, WA 99206
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                   FOCUSRITE NOVATION INC
                   909 N PACIFIC COAST HWY
                   SUITE 270
                   EL SEGUNDO, CA 90245


                   FOOD 4 LESS
                   1014 VINE ST
                   CINCINNATI, OH 04520-2110


                   FORD & HARRISON LLP
                   POS OFFICE BOX 890836
                   CHARLOTTE, NC 28289-0836


                   Ford Credit
                   Po Box 552679
                   Detroit, MI 48255


                   FOUNDATION FOR CALIFORNIA COMMUNITY COLL
                   1102 Q STREET
                   SUITE 4800
                   SACRAMENTO, CA 95811-6549


                   Foundation For Interscholastic Youth Ath
                   Po Box 451373
                   Los Angeles, CA 90045


                   Four Winds Transportation
                   5134 West 106Th Street
                   Inglewood, CA 90304


                   Foxy Print
                   504 N Guadalupe Ave A
                   Redondo Beach, CA 90277
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                   FRANCHISE TAX BOARD
                   PO BOX 94267
                   SACRAMENTO, CA 94267


                   Francisco J Canales Jr
                   6441 Seville Ave Apt H
                   Huntington park, CA 90255


                   FRANCISCO J CUEVAS Jr
                   742 E 43rd st
                   Los Angeles, CA 90011


                   FRANK NAPOLEON
                   38713 TIERRA SUBUDA AVE
                   APT 143
                   PALMDALE, CA 93551


                   FRANK O POLAT
                   18553 Saticoy St Unit119
                   Reseda, CA 91335


                   FRANKIE MERCADO
                   11710 ELDRIDGE
                   LAKEVIEW TERRACE, CA 91342


                   FRED LEEDS PROPERTIES
                   3860 CRENSHAW BLVD 201
                   LOS ANGELES, CA 90008


                   FRED PRYOR
                   PO BOX 219468
                   KANSAS CITY, MO 64121
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                   FREDDY J ZUNIGA
                   3958 1/2 2ND AVE
                   LOS ANGELES, CA 90008


                   FREDI MEJIA
                   10762 PALA AVENUE APT 278
                   PACOIMA, CA 91331


                   FREE SPIRIT PUBLISHING INC
                   6325 SANDBURG ROAD
                   SUITE 100
                   GOLDEN VALLEY, MN 55427


                   FRESH & EASY
                   13207 GLADSTONE AVE
                   SYLMAR, CA 91342


                   Fresh Start Meals Inc
                   1530 1St St
                   San Fernando, CA 91340


                   FRIENDS & FAMILY
                   5150 HOLLYWOOD BLVD
                   LOS ANGELES, CA 90027


                   FRIENDS OF THE FAMILY
                   16861 PARTHENIA STREET
                   NORTH HILLS, CA 91343


                   FROILAN VASQUEZ
                   10984 LEHIGH AVENUE APT 34
                   PACOIMA, CA 91331
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                   Frontier Communications
                   PO Box 5157
                   Tampa, FL 33675


                   Froylan Tapia
                   1208 Ravenna Ave
                   Wilmington, CA 90744


                   Fruta y Cultura LLC
                   13512 Van Nuys Blvd
                   Pacoima, CA 91331


                   Fry's Electronics
                   2311 N Hollywood Way
                   Burbank, CA 91505


                   FULCRUM
                   3325 PICO AVE
                   SANTA MONICA, CA 90405


                   Fulcrum Learning System Inc
                   ACCOUNTING DEPARTMENT
                   4943 MCCONNELL AVE
                   LOS ANGELES, CA 90066


                   Fulcrum Learning System Inc
                   1035 Pleasantview Ave
                   Venice, CA 90291


                   Funtology Fundamental
                   3429 MONTE CARLO DY
                   AUGUSTA, GA 30906
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                   GABRIELA HERNANDEZ
                   6719 Seville Ave Apt G
                   Huntington Park, CA 90255


                   GABRIELA ORELLANA
                   8760 de soto ave apt 103
                   Canoga park, CA 91304


                   Gala Donations
                   6464 Sunset Blvd S 650
                   LOS ANGELES, CA 90028


                   Galpin Ford
                   15445 Roscoe Blvd
                   North Hills, CA 91343


                   GAME LEARNING
                   8306 WILSHIRE BLVD
                   SUITE 545
                   BEVERLY HILLS, CA 90211


                   GAME LEARNING LLC
                   8306 WILSHIRE BLVD
                   SUITE 545
                   BEVERLY HILLS, CA 90211


                   GAYLORD NATIONAL RESORT & CONVENTION CEN
                   201 WATERFRONT ST
                   OXON HILL, MD 20745


                   GELSON'S MARKET
                   16400 VENTURA BLVD
                   240
                   ENCINO, CA 91436
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                   GEMMA NORTH
                   307 LEE AVE
                   CLAREMONT, CA 91711


                   GENE VILORIA
                   14914 ROSCOE BLVD APT 17
                   PANORAMA CITY, CA 91402


                   GENERAL ASSEMBLY
                   360 E 2ND STREET
                   SUITE 400
                   LOS ANGELES, CA 90012


                   GENESIS C FIGUEROA
                   9800 Vesper Ave 5
                   Panorama City, CA 91402


                   GENESIS GARCIA-HENRIQUEZ
                   622 Imogen Ave Apt 2
                   Los Angeles, CA 90026


                   GENESIS LA CDE LLC
                   ATTN JENNIFER QUEVEDO
                   LOS ANGELES, CA 90017


                   GENESIS THE SCHLESINGER ACADEMY FOR INNO
                   9595 WILSHIRE BLVD
                   SUITE 700
                   BEVERLY HILLS, CA 90212


                   GEORGINA HENRIQUEZ
                   4361 DORZIER STREET
                   LOS ANGELES, CA 90022
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                   GEOVANNY AGUILAR
                   10865 LEHIGH AVE APT 148
                   PACOIMA, CA 91331


                   GERALD MALINAO
                   7925 VENTURA CANYON AVE APT 201
                   PANORAMA CITY, CA 91402


                   GERMAN ZAMBRANO
                   12952 CARL PL APT 228
                   PACOIMA, CA 91331


                   GESSELLE CANO
                   8139 COLDWATER CANYON AVE
                   NORTH HOLLYWOOD, CA 91605


                   Gia Murillo
                   602 Hillcrest Drive 602 Hillcrest Drive
                   Bakersfield, CA 93305


                   GIGIS BAKERY
                   2200 WEST TEMPLE STREET
                   LOS ANGELES, CA 90026


                   GILBERT HERNANDEZ
                   10124 ARLETA AVE
                   ARLETA, CA 91331


                   Gilbert P Huerta
                   18034 W Annes Cir 104
                   Canyon Country, CA 91387
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                   GILBERTO RUIZ
                   1132 S Huron Dr
                   Santa Ana, CA 92704


                   Giligia College
                   15643 Sherman Way Unit 140
                   Van Nuys, CA 91406


                   GINO A DORANTES
                   12249 LOPEZ CANYON RD APT 206
                   SYLMAR, CA 91342


                   GINOSI APARTELS & HOTELS
                   5825 SUNSET BLVD
                   LOS ANGELES, CA 90028


                   GIOVANNI OCAMPO-LEON
                   8750 KESTER APT 55
                   PANORAMA CITY, CA 91402


                   GIOVANNIE MARTINEZ
                   13123 CORCORAN ST
                   SAN FERNANDO, CA 91340


                   Girls On The Run Of Los Angeles
                   556 S Fair Oaks Ave 101307
                   Pasadena, CA 91105


                   GISELLE WILLIAMS
                   5452 6TH AVENUE
                   LOS ANGELES, CA 90043
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                   GISSELLE A PEREZ
                   10840 PALA AVE APT 347
                   PACOIMA, CA 91331


                   GLENDALE GLASS CO INC
                   3646 SAN FERNANDO RD
                   GLENDALE, CA 91204


                   GLOBAL INDUSTRIAL
                   29833 NETWORK PLACE
                   CHICAGO, IL 60673-1298


                   GLORIA C SALGADO
                   236 S Avenue 55 APT J
                   Los Angeles, CA 90042


                   Gloria Elizabeth Mucino
                   12301 Wilshire Blvd Suite 210
                   Los Angeles, CA 90025


                   GLORIA G MACIAS
                   905 HARDING AVENUE
                   SAN FERNANDO, CA 91340


                   GLORIA S MENDOZA
                   1207 N Serrano Ave Apt2
                   Los Angeles, CA 90029


                   GO BISTRO
                   SAN FRANCISCO AIRPORT(SFO)
                   TERMINAL 1
                   SAN FRANCISCO, CA 94128
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                   Goals Soccer Center LLC
                   9599 Pinehurst Ave
                   South Gate, CA 90280


                   GOFUNDME
                   855 JEFFERSON AVE
                   REDWOOD CITY, CA 94063


                   GOGO LLC
                   111 N CANAL ST
                   CHICAGO, IL 60606


                   Golden State Opportunity Foundation
                   123 General
                   LOS ANGLES, CA 90028


                   GOLDEN1CENTER
                   500 DAVID J STERN WALK
                   SACRAMENTO, CA 95814


                   GOMEZ ERICA
                   10551 EL DORADO AVE
                   PACOIMA, CA 91331


                   GOOD STUFF EATERY
                   2110 CRYSTAL DRIVE
                   ARLINGTON, VA 22202


                   Good+Foundation
                   4505 W Jefferson Blvd 105
                   LOS ANGELES, CA 90016
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                   Goodwill of Southern California
                   342 N San Fernando Rd
                   Los Angeles, CA 90031


                   Goodwin Family Memorial Trust
                   PO Box 63954 MAC A0348-012
                   SAN FRANCISCO, CA 94163


                   GOOGLE
                   1600 AMPHITHEATER PARKWAY
                   MOUNTAIN VIEW, CA 94043


                   Gopher Sport
                   Nw 5634
                   Po Box 1450
                   Minneapolis, MN 55485


                   Gordon & Rees Llp
                   275 Battery Street 20Th Floor
                   San Francisco, CA 94111


                   GORILLA PRINTING
                   117 S ROSEMEAD BLVD
                   PASADENA, CA 91107


                   Grace Hopper STEM Academy
                   601 Grace Ave
                   INGLEWOOD, CA 90301


                   GRACIELA CHIMIL
                   1333 2ND AVENUE APT 6
                   LOS ANGELES, CA 90019
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                   Granada Hills High School
                   10535 Zelzah Ave
                   Granada Hills, CA 91344


                   Grant Elementary School
                   1530 N Wilton Place
                   Los Angeles, CA 90028


                   Grant Kinman
                   2326 Hauser Blvd
                   Los Angeles, CA 90016


                   GRANT PROFESSIONALS ASSOCIATION
                   10881 LOWELL AVE
                   SUITE 190
                   OVERLAND PARK, KS 66210


                   GRAVIC INC
                   17 GENERAL WARREN BLVD
                   MALVERN, PA 19355-1245


                   GREGORY L HINDS
                   13129 Oxnard St Apt 13
                   Van Nuys, CA 91401


                   GRICELLI PARAMO
                   12655 Filmore St
                   Pacoima, CA 91331


                   GRISELDA PACHECO
                   17054 HARTLAND ST
                   VAN NUYS, CA 91406
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                   GRUBHUB
                   111 W WASHINGTON STREET
                   CHICAO, IL 60602


                   GSF DRIVING & TRUCK TRAINING SCHOOL
                   16211 Filbert St
                   Sylmar, CA 91342


                   GUADALUPE FLORES
                   169 NORTH ALLEN AVENUE UNIT 1
                   PASADENA, CA 91106


                   GUADALUPE GASPAR
                   401 UNION DR APT 12A
                   LOS ANGELES, CA 90017


                   GUADALUPE J OROZCO
                   16220 CORNUTA AVE APT 10
                   BELLFLOWER, CA 90706


                   GUERRILLA TACO
                   2000 E 7TH STREET
                   LOS ANGELES, CA 90021


                   Guss Drive In
                   1657 W 3Rd St
                   Los Angeles, CA 90017


                   Gustavo A Garcia
                   4617 Michigan Ave
                   Los Angeles, CA 90022
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                   GUSTAVO GUTIERREZ
                   10425 PLAINVIEW AVE A9
                   TUJUNGA, CA 91402


                   GUSTAVO GUTIERREZ
                   10425 PLAINVIEW AVE A9
                   TUJUNGA, CA 91042


                   GWENLA
                   6600 W SUNSET BLVD
                   LOS ANGELES, CA 90028


                   GWG CONSTRUCTION INC
                   1740 WEST 127TH ST
                   LOS ANGELES, CA 90047


                   GZW Enterprises LLC
                   6051 De Soto Ave
                   Woodland Hills, CA 91367


                   H & L CHARTER CO INC
                   8801 HELMS AVENUE
                   RANCHO CUCAMONGA, CA 91730


                   HACIENDA LA PUENTE ADULT EDUCATION/HACIE
                   14101 E NELSON AVENUE
                   LA PUENTE, CA 91746


                   HAMEN TEDLA
                   12829 Wintrop ave
                   Grandahills, CA 91344
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                   Hannah Binder
                   2359 Riverdale Ave
                   Los Angeles, CA 90031


                   HARBOR FREIGHT TOOLS
                   26541 Agoura Rd
                   Calabasas, CA 91302


                   HAROLD M OCAMPO
                   1405 W E STREET
                   ONTARIO, CA 91762


                   HARSSEN MEJICANOS
                   2614 W 7TH ST APT 416
                   LOS ANGELES, CA 90057


                   Hatch
                   PO Box 88576
                   Milwaukee, WI 53288


                   HAYCIE A MANCIA-LOPEZ
                   1254 S Berendo St Apt 212
                   Los Angeles, CA 90006


                   Haymen Gebru
                   1290 W 37Th Drive
                   Los Angeles, CA 90007


                   HAZIEL I ANGELES
                   11270 Huston Street Apt 108
                   North Hollywood, CA 91601
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                   HEAL TOGETHER MENTAL WELLNESS SERVICES
                   2930 W IMPERIAL
                   INGLEWOOD, CA 90303


                   Health Advocates LLC
                   21540 Plummer St Suite B
                   Chatsworth, CA 91311


                   HEALTH EDCO
                   PO BOX 21207
                   WAXCO, TX 76702


                   Heart of Los Angeles
                   Attn Rebecca Clark
                   2701 Wilshire Blvd Suite 100
                   Los Angeles, CA 90057


                   HEARTLAND INSTITUTIONAL REVIEW BOARD
                   4226 WOODFIELD PL
                   BELLEVILLE, IL 62226


                   HEATHER FUKUNAGA
                   229 VIA DE AMO
                   FALLBROOK, CA 92028


                   HECTOR CHAIRA
                   801 W MINES AVE
                   APT A
                   MONTEBELLO, CA 90640


                   HECTOR D QUIJADA
                   18621 saticoy st Apt 102
                   Reseda, CA 91335
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                   HECTOR G LOPEZ
                   8340 S FIR AVE
                   LOS ANGELES, CA 90001


                   HECTOR SERRATO
                   10077 AMBOY AVE
                   PACOIMA, CA 91331


                   HERB N KITCHEN
                   720 S MICHIGAN AVENUE
                   CHICAGO, IL 60605


                   Herberth Panamero
                   1259 N Ditman Ave
                   Los Angeles, CA 90063


                   HERIBERTO PANTOJA
                   463 N Meyer St
                   San Fernando, CA 91340


                   Hermandad Mexicana Nacional
                   11559 Sherman Way
                   North Hollywood, CA 91605


                   Hershey Cause
                   12304 Santa Monica Blvd Ste 201
                   Los Angeles, CA 90025


                   HI TECH WIRELESS
                   5156 W OLIVE AVE
                   STE 465
                   GLENDALE, AZ 85302
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                   Hi-Desert Truck Driving School Inc
                   42739 5Th St East
                   Lancanster, CA 93535


                   Hill Morgan and Associates LLP
                   19602 Fairman Drive
                   Carson, CA 90746


                   HILTON INTERNATIONAL
                   7930 JONES BRANCH DR
                   MCLEAN, VA 22102


                   HIRERIGHT LLC
                   PO BOX 847891
                   DALLAS, TX 75284-7891


                   HIRSCH PIPE & SUPPLY
                   PO BOX 749441
                   LOS ANGELES, CA 90074


                   HM Logi Children Education Courses LLC
                   7618 Jellico Ave
                   Northridge, CA 91325


                   HN Harris Plumbing
                   1820 Wilshire Blvd 2Nd Floor
                   Los Angeles, CA 90057


                   Holiday Ice Rink Pershing Square
                   532 S OLIVE ST
                   LOS ANGELES, CA 90013
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                   Hollywood Area Station Fund
                   1358 N Wilcox Avenue
                   Los Angeles, CA 90028


                   HOLLYWOOD CHAMBER OF COMMERCE
                   7018 HOLLYWOOD BLVD
                   HOLLYWOOD, CA 90028


                   HOLLYWOOD LA BREA INN
                   7110 HOLLYWOOD BLVD
                   LOS ANGELES, CA 90046


                   HOLLYWOOD PALMS INN & SUITES
                   6055 W SUNSET BOULEVARD
                   HOLLYWOOD, CA 90028


                   Hollywood Parking Services
                   6072 Franklin Ave Unit 101
                   Los Angeles, CA 90028


                   Hollywood Police Support Association
                   6464 Sunset Blvd Ste 715
                   Hollywood, CA 90028


                   Home Builders Institute
                   1201 15Th Street Nw Sixth Floor
                   Washington, DC 20005


                   HOME DEPOT
                   2455 Paces Ferry Rd NW
                   ATLANTA, GA 30339
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                   HOMERO MELENDEZ
                   1000 S GRAND VIEW APT 107
                   LOS ANGELES, CA 90006


                   Hope-Hispanas Organized For Political Eq
                   634 S Spring St Ste 920
                   Los Angeles, CA 90014


                   Hot An Dirty Mud Run
                   PO Box 951
                   Acton, CA 93510


                   Hotel Bel-Air
                   701 Stone Canyon Rd
                   Los Angeles, CA 90077


                   HOTWIRE INC
                   333 MARKET ST
                   SAN FRANCISCO, CA 94105


                   Houghton Mifflin Hartcourt Publishing Co
                   222 Berkeley Street
                   Boston, MA 02116


                   HOUSE OF TROPHIES & AWARDS INC
                   1820 EAST 1ST ST
                   LOS ANGELES, CA 90033


                   HOUSE OF TROPHIES AND AWARDS INC
                   1820 EAST 1ST ST
                   LOS ANGELES, CA 90033
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                   HP INC
                   1501 PAGE MILL ROAD
                   PALO ALTO, CA 94304


                   HUB CITIES CONSORTIUM
                   2677 ZOE AVE
                   2ND FLOOR
                   HUNTINGTON PARK, CA 90255


                   HUERTA YVETTE
                   5357 LEMON GROVE AVE
                   APT 2
                   LOS ANGELES, CA 90038


                   HUGO CRISOSTOMO-ROMO
                   5901 MERIDIAN STREET
                   LOS ANGELES, CA 90042


                   Human Kinetics Inc
                   9224 Payshere Circle
                   Chicago, IL 60674


                   Human-I-T
                   2202 S Atlantic Blvd
                   Commerce, CA 90040


                   HUMBERTO VARGAS
                   9701 CANTERBURY AVE
                   ARLETA, CA 91331


                   Humboldt State University
                   Housing Cashier
                   335 Granite Ave
                   Arcata, CA 95521
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                   Hummingbird Networks
                   2470 Stearns Street 270
                   Simi Valley, CA 93063


                   HUNTINGTON HOSPITALITY BY BON APPETIT
                   1151 OXFORD ROAD
                   SAN MARINO, CA 91108


                   HYATT HOTELS CORPORATION
                   71 SOUTH WACKER DR
                   CHICAGO, IL 60606


                   I Drive Safely
                   5760 Fleet Street Ste 210
                   Carlsbad, CA 92008


                   IAN S CANIZALES
                   1100 MAGNOLIA AVE
                   LOS ANGELES, CA 90006


                   ICEF Public Schools
                   3855 W Slauson Ave
                   LOS ANGELES, CA 90056


                   ICHIMA SUSHI
                   325 N ROSEMEAD BOULEVARD
                   PASADENA, CA 91107


                   ICIMS Inc
                   29348 NETWORK PLACE
                   CHICAGO, IL 60673-1294
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                   ICOMFORT HEATING & AIR CONDITIONING REPA
                   717 ARROYO ST UNIT A
                   SAN FERNANDO, CA 91340


                   Ideal Maintenance Equipment Inc
                   341 S Western Ave
                   Los Angeles, CA 90020


                   IDEALIST
                   389 5TH AVE
                   9TH FLOOR
                   NEW YORK, NY 10016


                   IHOP
                   800 S FLOWER STREET
                   LOS ANGELES, CA 90017


                   IKEA
                   600 SOUTH IKEA WAY
                   BURBANK, CA 91502


                   ILIANA AVILA
                   3745 MERCURY AVENUE
                   LOS ANGELES, CA 90031


                   ILIANA BALTAZAR CORDOVA
                   12109 MCKINLEY AVE
                   LOS ANGELES, CA 90059


                   ILLUMINATE EDUCATION INC
                   6531 IRVINE CENTER DR
                   IRVINE, CA 92618
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                   IMPACT PHILANTHROPHY LLC
                   821 3RD STREET
                   SUITE 109
                   SANTA MONICA, CA 90403


                   IMPAQ INTERNATIONAL LLC
                   10420 LITTLE PATUXENT PARKWAY
                   SUITE 300
                   COLUMBIA, MD 21044


                   IN-N-OUT BURGER
                   13502 HAMBURGER LANE
                   BALDWIN PARK, CA 91706


                   Industrial Compliance Services
                   12850 Foothill Blvd
                   Sylmar, CA 91342


                   INDUSTRIAL SAFETY SHOE COMPANY
                   1421 E FIRST ST
                   SANTA ANA, CA 92701


                   INDYAH DAVIS
                   1307 W 105 ST APT 131
                   LOS ANGELES, CA 90044


                   Inner-City Arts
                   720 Kohler Street
                   Los Angeles, CA 90021


                   Innersight LLC
                   Po Box 7176
                   Greensboro, NC 27417
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                   JOSHUA J OCHOA
                   13172 Fenton Ave
                   Sylmar, CA 91342


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                   LOS ANGELES, CA 90004


                   JOSUE JIMENEZ
                   1351 W 71 ST
                   LOS ANGELES, CA 90044


                   JOUR 'DAN PETERS
                   718 E 81ST ST
                   LOS ANGELES, CA 90001


                   JPMorgan Chase Foundation
                   270 Park Ave 4th Fl
                   NEW YORK, NY 10017


                   JUAN A MUNOZ
                   13563 SAYRE ST
                   SYLMAR, CA 91342
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                   JUAN FLORES
                   1035S BONNIE BRAE ST
                   LOS ANGELES, CA 90006


                   JUAN I MIGUEL
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                   LOS ANGELES, CA 90057


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                   JULIANNA PEREZ
                   13140 DRONFIELD AVENUE APT 313
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                   JULIANNE BERG
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                   JULIO AVINA LOPEZ
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                   Po Box 6188
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                   PACOIMA, CA 91331


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                   KHA NGUYEN
                   1543 W ELGENIA ST
                   WEST COVINA, CA 91790


                   KHERGTIN SANCHEZ ARROYO
                   4326 W MLK JR BLVD APT 5
                   LOS ANGELES, CA 90008
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                   KIDS IN NEED FOUNDATION
                   3055 KETTERING BLVD
                   SUITE 119
                   DAYTON, OH 45439


                   Kids Kan Inc
                   PO Box 1181
                   Calimesa, CA 92320


                   KIDSPACE CHILDREN'S MUSEUM
                   480 N ARROYO BLVD
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                   4200 CHINO HILLS PKWY
                   STE 135-278
                   CHINO HILLS, CA 91709


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                   17925 DEVONSHIRE STREET APT 16
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                   4159 Gilman Rd
                   El Monte, CA 91732


                   KIMBERLY C RIVAS
                   611 N Pearl Ave
                   Compton, CA 90221
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                   KIMBERLY CHAVEZ
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                   PICO RIVERA, CA 90660


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                   1532 ARMACOST
                   APT 3
                   LOS ANGELES, CA 90025


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                   KIMBERLY GUIDO
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                   Pico Rivera, CA 90660


                   KIMBERLY MORAN
                   10966 LEHIGH AVENUE 52
                   PACOIMA, CA 91331


                   KIMBERLY SALINAS
                   1120 W 57TH ST
                   LOS ANGELES, CA 90037


                   KIMPTON HOTEL & RESTAURANT LLC
                   222 KEARNY ST STE 200
                   SAN FRANCISCO, CA


                   KINBERLIN BALTAZAR
                   731 BEACON AVENUE APT 112
                   LOS ANGELES, CA 90017
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                   KIWANIS INTERNATIONAL
                   3636 WOODVIEW TRACE
                   INDIANAPOLIS, IN 46268


                   KIWANIS INTERNATIONAL
                   PO BOX 6069-DEPT 123
                   INDIANAPOLIS, IN 46206-6069


                   KIWANIS LITERACY CLUB OF SOUTHERN CALIFO
                   13881 AZORES AVE
                   SYLMAR, CA 91342


                   KNOCKAROUND LLC
                   2251 SAN DIEGO AVENUE
                   STE B-155
                   SAN DIEGO, CA 92110


                   KNOTT'S BERRY FARM
                   8039 BEACH BLVD
                   BUENA PARK, CA 90620


                   KOQUIS MOORE
                   1140 WEST BLVD
                   LOS ANGELES, CA 90019


                   KOUNKUEY DESIGN INITIATIVE INC
                   309 EAST 8TH STREET
                   205
                   LOS ANGELES, CA 90014


                   Kravitz Inc
                   16030 Ventura Blvd Ste 200
                   Encino, CA 91436
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                   Kresge Foundation
                   3215 W Big Beaver Rd
                   TROY, MI 48084


                   KRISHNA TEMPLE INC
                   8628 SOUTH STATE ROAD
                   SPANISH FORK, UT 84660


                   KRISTEENA SALAS
                   4618 TOPAZ STREET
                   LOS ANGELES, CA 90032


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                   MISSION HILLS, CA 91345


                   Kroger
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                   CINCINNATI, OH 95202


                   KWIK GOAL
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                   QUAKERTOWN, PA 18951


                   Kyion S Petty
                   16350 Filbert St
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                   KYLE KIRKPATRICK
                   26526 CANARY CT
                   SANTA CLARITA, CA 91351
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                   LA BOU BAKERY
                   4400 DEL RIO RD
                   SACRAMENTO, CA 95822


                   LA Care Health Plan
                   1055 7th St
                   LOS ANGELES, CA 90017


                   LA CITY PARKING METER
                   100 S MAIN ST 10TH FL
                   LOS ANGELES, CA 90012


                   LA CITY RECREATION AND PARKS
                   CITYWIDE AQUATICS DIVISION
                   LOS ANGELES, CA 90027


                   LA Clippers LLC
                   1212 S Flower Street 5Th Floor
                   Los Angeles, CA 90015


                   LA County Arts Commission
                   1055 Wilshire Blvd
                   LOS ANGELES, CA 90017


                   LA County Department of Public Health
                   313 N Figueroa St
                   LOS ANGELES, CA 90012


                   LA County Office of Education
                   9300 Imperial Hwy
                   DOWNEY, CA 90242
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                   LA Dodgers Foundation
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                   PO BOX 30808
                   LOS ANGELES, CA 90030


                   LA DWP
                   PO BOX 30808
                   Los Angeles, CA 90030-0808


                   LA ESPA OLA INC
                   15843 SHADYWOOD CT
                   LA MIRADA, CA 90638


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                   2305 E 4TH STREET
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                   LA Galaxy
                   18400 Avalon Blvd Ste 200
                   Carson, CA 90746


                   LA LIVE PROPERTIES LLC
                   9000 SUNSET BLVD 1100
                   WEST HOLLYWOOD, CA 90069


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                   803 S Workman St
                   San Fernando, CA 91340
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                   6091 SUNSET BLVD
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                   LA OPINION
                   915 WILSHIRE BOULEVARD
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                   LOS ANGELES, CA 90017


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                   610 S RAMPART AVE
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                   501 N Main St
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                   LA QUINTA RESORT AND CLUB
                   49-499 EISENHOWER DRIVE
                   LA QUINTA, CA 92253


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                   LAKE DRIVE HARDWARE
                   23895 LAKE DRIVE
                   CRESTLINE, CA 92325


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                   Carson, CA 90895


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                   Compton, CA 90222


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                   5757 WAYNE NEWTON BLVD
                   LAS VEGAS, NV 89119
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                   LOS ANGELES, CA 90045


                   LAYLANY MENDEZ
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                   10635 CA-2 145
                   LOS ANGELES, CA 90025


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                   ENFIELD, CT 06082


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                   Sylmar, CA 91342
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                   LOS ANGELES, CA 90048


                   Library Plaza Partners LLC
                   CO Aszkenazy Development Inc
                   601 S Brand Blvd 3Rd Floor
                   San Fernando, CA 91340
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                   Lifesigns Inc
                   2222 Laverna Ave
                   Los Angeles, CA 90041


                   LILIA ANTUNA
                   420 N Evergreen Ave 221
                   Los Angeles, CA 90033


                   LILIANA BARBA
                   10524 WOODMAN AVE
                   MISSION HILLS, CA 91345


                   LILIANA DEL CID
                   12348 N VILLAR WAY
                   SYLMAR, CA 91342


                   Liliana Torres
                   212 S Normandie Ave Apt 105
                   Los Angeles, CA 90004


                   LINA COVARRUBIAS
                   505 AXTELL ST APT 2
                   LOS ANGELES, CA 90032


                   LINDA ARTIGA
                   739 S RAMPART BLVD
                   LOS ANGELES, CA 90057


                   LINDA C URIOSTEGUI
                   10052 Antigua St
                   Anaheim, CA 92804
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                   LINDA IHESIABA
                   6405 MADDEN AVE
                   LOS ANGELES, CA 90043


                   LINDA SZABO
                   5403 CEDROS AVE
                   SHERMAN OAKS, CA 91411


                   LINDSAY SIMPSON
                   1435 N Placentia Avenue APT 64
                   Fullerton, CA 92831


                   LINKEDINCOM
                   62228 COLLECTIONS CENTER DRIVE
                   CHICAGO, IL 60693-0622


                   Linoy Utkina
                   7107 Kester Ave Apt 114
                   Van Nuys, CA 91405


                   Lissette Robles-Cruz
                   3066 W 15th St Apt 201
                   Los Angeles, CA 90019


                   LITTLE KIDS ROCK
                   271 GROVE AVE BLDG E2
                   VERONA, NJ 07044


                   Little Lady Enterprises LLC
                   17919 E Orkney St
                   Azusa, CA 91702
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                   LIZA CHAVAC
                   14525 RATH ST
                   LA PUENTE, CA 91744


                   LIZA HERNANDEZ
                   410 W WASHINGTON AVE APT 10
                   SANTA ANA, CA 92706


                   Local Initiatives Support Corporation
                   Attn Jeurys Grullon
                   501 Seventh Avenue 7Th Floor
                   New York, NY 10018


                   Local Initiatives Support Corporation (L
                   500 S Grand Ave
                   LOS ANGELES, CA 90071


                   LOCK & KEY SOCIAL DRINKERY
                   11033 DOWNEY AVENUE
                   DOWNEY, CA 90241


                   LOGMEIN GOTOMEETING
                   320 SUMMER STREET
                   BOSTON, MA 02210


                   LONG BEACH RUN LLC
                   3900 E MEXICO AVE
                   1350
                   DENVER, CO 80210


                   LOPEZ CHRISTIAN
                   5210 ROMAINE ST
                   APT 16
                   LOS ANGELES, CA 90029
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                   LOPEZ ERIKA
                   4625 TRUJILLO DR
                   COVINA, CA 91722


                   LOREAL PATMAN
                   1067 E LURAY STREET
                   LONG BEACH, CA 90807


                   LORENA S MATAALII
                   1616 N SCHRADER BLVD APT 1
                   LOS ANGELES, CA 90028


                   LORENA SINOI MATAALII
                   1616 N SCHRADER BLVD APT 1
                   LOS ANGELES, CA 90028


                   Lori Baker Schena
                   23603 Via Ebano
                   Valencia, CA 91355


                   LORMANCOM
                   JEFFERSON COUNTY, MS 39096



                   Los Angeles Academy Of Arts & Enterprise
                   1200 Colton St 320
                   LOS ANGELES, CA 90026


                   Los Angeles Arts Commission
                   1055 Wilshire Blvd Suite 800
                   LOS ANGELES, CA 90017
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                   Los Angeles Beautification Team
                   1741 N Cherokee Ave
                   Los Angeles, CA 90028


                   LOS ANGELES CENTER OF PHOTOGRAPHY
                   1515 WILCOX AVENUE
                   LOS ANGELES, CA 90028


                   Los Angeles Chamber Of Commerce
                   350 South Bixel St Ste 200
                   Los Angeles, CA 90017


                   Los Angeles Chapter Of The American Payr
                   4325 Glencoe Avenue 11745
                   Marina Del Rey, CA 90292


                   Los Angeles City College Foundation
                   855 N Vermont Ave
                   Los Angeles, CA 90029


                   Los Angeles Cleantech Incubator
                   525 S Hewitt Street
                   Los Angeles, CA 90013


                   LOS ANGELES COUNTY MUSEUM OF NATURAL HIS
                   900 EXPOSITION BOULEVARD
                   LOS ANGELES, CA 90007


                   Los Angeles County Office Of Education
                   12830 Columbia Way
                   DOWNEY, CA 90242
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                   LOS ANGELES COUNTY PARKS & RECREATION
                   31320 CASTAIC ROAD
                   CASTAIC, CA 91834


                   Los Angeles County Tax Collector
                   Po Box 54027
                   Los Angeles, CA 90054


                   LOS ANGELES DODGERS
                   1000 VIN SCULLY AVE
                   LOS ANGELES, CA 90012


                   Los Angeles Education Partnership
                   202 West 1St Street Ste 060410
                   Los Angeles, CA 90012


                   LOS ANGELES METROPOLITAN TRANPORTION
                   1 GATEWAY PLAZA
                   LOS ANGELES, CA 90012


                   Los Angeles Ort Technical Institute
                   6435 Wilshire Blvd
                   Los Angeles, CA 90048


                   LOS ANGELES REGIONAL FOOD BANK
                   1734 EAST 41ST STREET
                   LOS ANGELES, CA 90058


                   Los Angeles Regional Youthbuild Collabor
                   7227 Owensmouth Ave
                   Canoga Park, CA 91303
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                   LOS ANGELES SCHOOL OF GLOBAL STUDIES
                   322 S LUCAS AVE
                   LOS ANGELES, CA 90042


                   LOS ANGELES SCHOOL POLICE ACTIVITIES LEA
                   125 N BEAUDRY AVENUE
                   LOS ANGELES, CA 90012


                   Los Angeles Times
                   PO Box 79151
                   Phoenix, AZ 85062


                   Los Angeles Trade Tech
                   400 W Washington Blvd
                   Los Angeles, CA 90015


                   Los Angeles Unified School District
                   333 S Beaudry Ave
                   LOS ANGELES, CA 90017


                   LOS ANGELES UNIFIED SCHOOL DISTRICT
                   BEYOND THE BELL
                   333 S BEAUDRY 29TH FL
                   LOS ANGELES, CA 90017


                   LOS ANGELES UNIFIED SCHOOL DISTRICT
                   ATTN: LEASING & SPACE UTILIZATION
                   333 SOUTH BEAUDRY AVENUE
                   LOS ANGELES, CA 90017


                   LOS ANGELES UNIFIED SCHOOL DISTRICT
                   GRANTS ACCOUNTING SECTION
                   LOS ANGELES, CA 90017
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                   LOS ANGELES VALLEY COLLEGE
                   5800 FULTON AVE
                   VALLEY GLEN, CA 91401


                   Los Angeles Zoo
                   Attn Advance Ticket Sales
                   Los Angeles, CA 90027


                   LOS TOROS MEXICAN RESTAURANT
                   21743 DEVONSHIRE STREET
                   CHATSWORTH, CA 91311


                   LOU MALNATI PIZZERIA
                   439 N WELLS
                   CHICAGO, IL


                   LOURDES RAMOS
                   17261 SUNDERLAND DR
                   GRANADA HILLS, CA 91344


                   LOWES
                   1000 LOWES BLVD
                   MOORSEVILLE, NC 28117


                   Loyola Marymount University
                   Attn Paula Mark
                   1 Lmu Drive Suite 2100
                   Los Angeles, CA 90045


                   Loyola Marymount University
                   ATTN: PAYROLL
                   1 LMU DRIVE UH 1880
                   LOS ANGELES, CA 90045
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                   LUCAS ASSOCIATES TEMPS INC
                   PO BOX 638364
                   CINCINNATI, OH 45263-8364


                   LUCERO AGUILAR
                   10865 LEHIGH AVE APT D
                   PACOIMA, CA 91331


                   LUCID SOFTWARE INC
                   10355 S JORDAN GATEWAY
                   AUITE 150
                   SOUTH JORDAN, UT 84095


                   LUCIE F BARRAGAN
                   14200 Polk St Unit 17
                   Sylmar, CA 91342


                   LUCK THAI CUISINE
                   524 S OCCIDENTAL BLVD
                   LOS ANGELES, CA 90057


                   LUCKY STRIKE
                   800 WEST OLYMPIC BLVD SPACE A-250
                   LOS ANGELES, CA 90015


                   LUCRECIA YESCAS
                   2858 Leeward Ave Apt 309
                   Los Angeles, CA 90005


                   Luggage Plus La
                   1119 S Los Angeles St
                   Los Angeles, CA 90015
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                   Luis A Garcia Estrada
                   10511 Shaff Ave
                   Arleta, CA 91371


                   Luis A Rodriguez
                   21425 Longworth Ave
                   Lakewood, CA 90715


                   LUIS ARANDA
                   1031 S KINGSLEY DR APT 2
                   LOS ANGELES, CA 90006


                   LUIS CARBAJO
                   13890 SAYRE ST APT 120
                   SYLMAR, CA 91342


                   LUIS CHAVEZ
                   10422 S TRURO AVE
                   INGLEWOOD, CA 90304


                   Luis E Melgar Orellana
                   13092 Carl St Apt281
                   Pacoima, CA 91331


                   LUIS F COLEOTE REYES
                   1162 E 56th St
                   Los Angeles, CA 90011


                   LUIS GOMEZ
                   807 N BUNKER HILL AVE APT 201
                   LOS ANGELES, CA 90012
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                   LUIS GOMEZ
                   807 N BUNKER HILL AVE APT 201
                   LOS ANGELES, CA 90012


                   LUIS MOLINA
                   14606 BLYTH ST
                   APT 21
                   PANORAMA CITY, CA 91402


                   LUIS ZAMUDIO MARTINEZ
                   6125 S MAIN STREET APT 1
                   LOS ANGELES, CA 90003


                   LUISA F FLOREZ
                   6651 BAKMAN AVE APT 3
                   NORTH HOLLYWOOD, CA 91606


                   LUNA IMPACT INC
                   12449 LOUISE AVE UNIT 5
                   LOS ANGELES, CA 90066


                   LUPREE GRAY
                   11502 GORMAN AVE APT 331
                   LOS ANGELES, CA 90059


                   LUVETTE RANDALL
                   13019 CARL ST APT 388
                   PACOIMA, CA 91331


                   LUVIE RANDALL
                   13019 CARL ST APT 388
                   PACOIMA, CA 91331
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                   LYDIA ESCOBAR
                   11020 HESBY STREET APT 107
                   NORTH HOLLYWOOD, CA 91601


                   LYFT INC
                   185 BERRY ST 5000
                   SAN FRANCISCO, CA 94107


                   LYNDA DE ANDA
                   334 N ATLANTIC BLVD 108
                   ALHAMBRA, CA 91801


                   MAAT-TEHUTI PEART
                   357S WESTLAKE AVE
                   LOS ANGELES, CA 90057


                   MABELYN MEDRANO
                   2467 ELKGROVE AVE
                   COMMERCE, CA 90040


                   MACLAY VALERO
                   601 N MACLAY
                   SAN FERNANDO, CA 91340


                   Macmall
                   3820 Micro Drive
                   Millington, TN 38053


                   Maddison Owens
                   3003 12 Cloverdale Ave
                   Los Angeles, CA 90016
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                   MADELYN J DELEON-CHAVEZ
                   536 N ALEXANDRIA AVE
                   LOS ANGELES, CA 90004


                   MAGDALENA PABLO VASQUEZ
                   2752 1/2 West 15th ST
                   Los Angeles, CA 90006


                   MAGDIEL NAVARRO GUERRERO
                   12900 FILMORE STREET APT 119
                   PACOIMA, CA 91331


                   Magic Jump Rentals
                   9165 Glenoaks Blvd
                   Sun Valley, CA 91352


                   MAGNOLIA HOTEL DALLAS DOWNTOWN
                   1401 COMMERCE ST
                   DALLAS, TX 75201


                   Mailfinance
                   Dept 3682
                   Po Box 123682
                   Dallas, TX 75312


                   MAIRANY G DIAZ
                   210 E 64TH STREET
                   LOS ANGELES, CA 90003


                   Mama Shelter Los Angeles
                   650 Selma Ave
                   Los Angeles, CA 90028
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                   MANAGEMENT CONCEPTS
                   8230 LEESBURG PIKE
                   TYSONS CORNER, VA 22182


                   Manchester Community Technologies Inc
                   3320 W Manchester Boulevard
                   Inglewood, CA 90305


                   Manuel A Mata-Zepeda
                   444 S Burlington Ave Apt 214
                   Los Angeles, CA 90057


                   Manuel Esqueda
                   9845 Ahmann Ave
                   Whittier, CA 90605


                   MANUEL GALLARDO JR
                   1440 Veteran Ave Apt 504
                   Los Angeles, CA 90024


                   Manuel Medina
                   11260 Strathern St
                   Sun Valley, CA 91352


                   MANUEL ORTEGA
                   1704 MORISAN AVE
                   PALMDALE, CA 93550


                   Manuel Vega
                   3555 E 4Th St
                   Los Angeles, CA 90063
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                   MARCO A SANCHEZ
                   820w 80th st
                   Los Angeles, CA 90044


                   MARGUERITE WOMACK
                   5108 BUCHANAN STREET
                   LOS ANGELES, CA 90042


                   MARIA A MAGANA
                   14140 CLARETTA ST
                   ARLETA, CA 91331


                   Maria B Hernandez
                   5135 Dartmouth Ave
                   Los Angeles, CA 90032


                   MARIA B PONCE
                   225 NORTH AVENUE 53 APT 6
                   LOS ANGELES, CA 90042


                   MARIA C RAMIREZ
                   1809 Kearney street
                   Los Angeles, CA 90033


                   MARIA CALVILLO
                   3303 Marine Ave 5
                   Gardena, CA 90249


                   Maria D Hernandez
                   5135 Dartmouth Ave
                   Los Angeles, CA 90032
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                   MARIA D RAMIREZ
                   14717 COBALT ST
                   SYLMAR, CA 91342


                   MARIA DAVILA
                   10305 Buford Ave Apt 1
                   INGLEWOOD, CA 90304


                   MARIA FLORES
                   156 W GAGE AVE APT 2
                   LOS ANGELES, CA 90003


                   MARIA G HERNANDEZ
                   11001 S MCKINLEY AVE
                   LOS ANGELES, CA 90059


                   MARIA G HERNANDEZ
                   PO BOX 6746
                   FULLERTON, CA


                   MARIA G LOPEZ
                   535 N Coronado Street Apartment A
                   Los Angeles, CA 90026


                   MARIA H RODRIGUEZ
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                   Los Angeles, CA 90004


                   MARIA I JACOBO
                   12573 Bradley Ave Unit 6
                   Sylmar, CA 91342
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                   Maria I Lopez-Herrera
                   1217 W 11th St Apt 1
                   Los Angeles, CA 90015


                   MARIA J LEONIDO
                   1562 WEST 4th STREET APT 208
                   LOS ANGELES, CA 90017


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                   1106 HOLLISTER ST
                   SAN FERNANDO, CA 91340


                   MARIA L HERNANDEZ
                   460 S BURLINGTON AVE APT 309
                   LOS ANGELES, CA 90057


                   MARIA POITAN
                   13032 S MAIN ST
                   LOS ANGELES, CA 90061


                   MARIA T LIZARRAGA
                   8434 TWEEDY LANE APT 106
                   DOWNEY, CA 90240


                   MARIA URQUILLA
                   27332 SANTA CLARITA RD
                   SANTA CLARITA, CA 91350


                   MARIA VALLEJO VAZQUEZ
                   1627 S VERMONT AVE APT 1
                   LOS ANGELES, CA 90006
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                   MARIAH PEREZ
                   14424 PLUMMER STREET APT 10
                   PANORAMA CITY, CA 91402


                   Mariajose J Olandes
                   13063 Gladstone Ave
                   Sylmar, CA 91342


                   MARIANA C EUAN-CAN
                   6315 BONNIE BRAE ST APT 206
                   LOS ANGELES, CA 90057


                   MARIANA CASTANEDA
                   1920 LUCAS STREET UNIT 5
                   SAN FERNANDO, CA 91340


                   MARIANNE LAI YING CHEN
                   1812 TRINITY AVENUE 226
                   WALNUT CREEK, CA 94596


                   MARIANO CABRERA
                   433 N BRAND BLVD
                   SAN FERNANDO, CA 91340


                   MARIANO CHRISTINE
                   6620 NORTHSIDE DR
                   LOS ANGELES, CA 90022


                   MARIBEL HERNANDEZ
                   13320 Dyer st
                   Sylmar, CA 91342
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                   MARIBEL LOERA
                   3534 E 56TH ST
                   MAYWOOD, CA 90270


                   MARILU RAMOS
                   5087 Bohlig Rd
                   Los Angeles, CA 90032


                   MARILYNN M ALVARADO
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                   MARIN K HARPER
                   500 Evergreen Street Unit 108
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                   MARIO VAZQUEZ SOLORZANO
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                   LOS ANGELES, CA 90057


                   MARISSA C JOHNSON
                   6358 HAZELTINE AVENUE APT 100
                   VALLEYGLEN, CA 91401


                   MARISSA RASCON
                   1319 S MERIDIAN AVE
                   ALHAMBRA, CA 91803


                   MARISSA RASCON
                   1319 SOUTH MERIDIAN AVE
                   ALHAMBRA, CA 91803
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                   MARITZA ORTEGA
                   11372 VILLA DEL SOL
                   PACOIMA, CA 91331


                   MARITZA RAMIREZ
                   742 E GRANADA COURT
                   ONTARIO, CA 91764


                   MARK ROJAS
                   795 RAYMOND ST
                   UPLAND, CA 91786


                   MARKET RESTAURANT
                   862 S LOS ANGELES STREET
                   LOS ANGELES, CA 90014


                   MARKO A ALVARADO
                   15555 NORDHOFF ST APT 6
                   NORTH HILLS, CA 91343


                   MARLAINA L GARCIA
                   1371 E Garfield Ave Apt A
                   Glendale, CA 91205


                   MARLENE GURROLA
                   17731 ROSCOE BLVD
                   NORTHRIDGE, CA 91325


                   MARLENE GUZMAN
                   5310 EDNA ST
                   LOS ANGELES, CA 90032
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                   Marlene J Cruz Montes
                   426 17th st Ste 100
                   Oakland, CA 94612


                   MARLENE MENDOZA
                   13163 CARL ST
                   PACOIMA, CA 91331


                   Marlene R Anguiano
                   10825 Telfair Ave
                   Pacoima, CA 91331


                   Marlin Business Bank
                   Po Box 13604
                   Philadelphia, PA 19101


                   MARRIOTT INTERNATIONAL
                   10400 FERNWOOD RD
                   BETHESDA, MD 20817


                   Marsh & Mclennan Agency LLC
                   Lockbox 740663
                   Los Angeles, CA 90074


                   MARSHALLS
                   4669 FIRESTONE BLVD
                   SOUTHGATE, CA 90280


                   MARTA I LOMAS
                   1503 Menlo Ave apt 8
                   Los Angeles, CA 90006
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                   MARTA SCHULTZ
                   1019 6TH ST APT 4
                   SANTA MONICA, CA 90403


                   MARTHA MARIN
                   970 Menlo Ave apt 20
                   Los Angeles, CA 90006


                   MARTHA NEMECEK
                   965 BARBARA LANE
                   POMONA, CA 91767


                   MARTIN A HERNANDEZ
                   15723 SEPTO STREET
                   NORTH HILLS, CA 91343


                   MARTIN D ALCALA
                   13700 KAGEL CANYON ST
                   ARLETA, CA 91331


                   MARTIN OUTDOOR MEDIA LLC
                   1990 WESTWOOD BLVD
                   STE 300
                   LOS ANGELES, CA 90025


                   MARTIN ROY DELA CRUZ
                   9601 MONTECELLO STREET
                   PACOIMA, CA 91331


                   MARVIN A RAMIREZ
                   9541 WOODMAN AVE UNIT 3
                   ARLETA, CA 91331
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                   MARY ROJAS
                   13107 MINEOLA ST
                   ARLETA, CA 91331


                   MARYAM MALEKI MS RD
                   9165 ALCOTT ST 203
                   LOS ANGELES, CA 90035


                   MARYSOL NAVARRO
                   4191 BRIGHTON AVE
                   LOS ANGELES, CA 90062


                   Maryum Ali
                   Po Box 480738
                   Los Angeles, CA 90048


                   MASA OF ECHO PARK BAKERY & CAFE
                   1800 SUNSET BOULEVARD
                   LOS ANGELES, CA 90026


                   MASANGHAI YOUBOTY
                   1426 ALLESANDRO ST
                   LOS ANGELES, CA 90026


                   MATEOS ICE CREAM & FRUIT BARS
                   4234 W PICO BOULEVARD
                   LOS ANGELES, CA 90019


                   MATHEU R CEA
                   402 S GARFIELD AVE UNIT 20
                   ALHAMBRA, CA 91801
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                   MATTHEW J QUEVEDO
                   18204 Nordhoff St
                   Northridge, CA 91325-2734


                   MATTHEW W LITCHFIELD
                   1913 ROSEWOOD COURT
                   THOUSAND OAKS, CA 91362


                   MAUDA RUIZ
                   13012 CARL PL
                   UNIT 294
                   PACOIMA, CA 91331


                   MAURICE BUNTIN
                   1523 SOUTH HOLT AVE APT 1
                   LOS ANGELES, CA 90035


                   Mauricio Jorge
                   446 14 W 40Th Place
                   Los Angeles, CA 90037


                   Maximus Protective Services
                   2540 Grand Avenue
                   Huntington Park, CA 90255


                   Mayor'S Office Of Community Empowerment
                   1234 Market Street 16Th Floor
                   Philadelphia, PA 19107


                   MAYRA A MARTINEZ
                   6000 GOTHAM ST
                   BELL GARDENS, CA 90201
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                   MAYRA GUTIERREZ
                   13085 DESMOND ST
                   PACOIMA, CA 91331


                   MAYRA MORENO
                   13313 BEAVER STREET
                   SYLMAR, CA 91342


                   MAYRA PANIAGUA
                   13045 1/2 CARL ST APT 366
                   PACOIMA, CA 91331


                   MAYRA PEREZ GOMEZ
                   1172 Graham St
                   Simi Valley, CA 93065


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                   BEDFORD HEIGHTS, OH 44146


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                   110 NORTH CARPENTER STREET
                   ONE MCDONALDS PLAZA
                   CHICAGO, IL 60607


                   McGrath/Abrams Family Foundation
                   16000 Ventura Blvd Ste 900
                   ENCINO, CA 91436


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                   Lockbox 71545
                   Chicago, IL 60694
Case 2:19-bk-23085-BB    Doc 1 Filed 11/05/19 Entered 11/05/19 14:13:32   Desc
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                   MDB International Branding LLC
                   3680 BEVERLY BLVD
                   Los Angeles, CA 90004


                   MEDG LLC
                   701 Sonora Ave Suite 200
                   Glendale, CA 91201


                   MEETUP INC
                   632 BROADWAY
                   1OTH FLOOR
                   NEW YORK, NY 10012


                   MEGAN H ACOSTA CARR
                   1000 Tiverton Ave
                   Los Angeles, CA 90024


                   MEGAN HARRIS
                   6835 MAYESDALE AVE
                   SAN GABRIEL, CA 91775


                   MELANIE CRISANTE
                   1102 W 97th st apt 5
                   Los Angeles, CA 90044


                   MELANIE PANDURO
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                   MELISSA AGUILAR
                   4630 LIVE OAK STREET
                   CUDAHY, CA 90201


                   MELISSA AGUILAR
                   4630 LIVE OAK ST
                   CUDAHY, CA 90201


                   MELISSA ANTUNA
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                   LA PUENTE, CA 91744-3738


                   MELISSA ARREOLA
                   3338 SEYMOUR ST
                   LOS ANGELES, CA 90065


                   MELISSA DIAZ
                   645 1/2 E 48TH ST
                   LOS ANGELES, CA 90011


                   MELISSA E MACEDO
                   8191 San Vincente Ave
                   South Gate, CA 90280


                   MELISSA MARTINEZ
                   311 S NEW HAMPSHIRE AVE APT 20
                   LOS ANGELES, CA 90020


                   MELISSA MARTINEZ E
                   3453 N MISSION RD
                   LOS ANGELES, CA 90031
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                   MELISSA MOLINA
                   8227 BIRCHCREST RD
                   DOWNEY, CA 90240


                   Mend-Meeting Each Need With Dignity
                   10641 N San Fernando Rd
                   Pacoima, CA 91331


                   MENDOCINO FARMS
                   ONE CALIFORNIA PLAZA
                   300 S GRAND AVE
                   LOS ANGELES, CA 90071


                   MENDOZA VIOLETA
                   5132 BALTIMORE ST
                   LOS ANGELES, CA 90042


                   METABANK
                   5501 S BROADBAND LN
                   SIOUX FALLS, SD 57108


                   Metro Commute Services
                   Attn Employer Annual Pass Program
                   One Gateway Plaza 99Pl4
                   Los Angeles, CA 90012


                   Metro Video Systems Inc
                   1220 E Imperial Ave
                   El Segundo, CA 90245


                   Metroplex Wilshire
                   3530 Wilshire Blvd
                   Los Angeles, CA 90010
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                   METROPOLITAN ELEVATOR COMPANY INC
                   3008 WILSHIRE BLVD
                   201
                   LOS ANGELES, CA 90010


                   MI PUEBLITO RESTAURANT
                   12824
                   VAN NUYS BOULEVARD
                   PACOIMA, CA 91331


                   MIA Q ORTIZ
                   1114 W Ralston St Apt A
                   Ontario, CA 91762


                   MICHAEL A FLETCHER
                   2421 Foothill Blvd 25C
                   La Verne, CA 91750


                   MICHAEL A SILVA
                   14906 Polk Street
                   Sylmar, CA 91342


                   MICHAEL B GARCIA
                   326 BELMONT AVENUE APT 1
                   LOS ANGELES, CA 90026


                   MICHAEL BIN
                   1058 E ANGELENO AVE
                   BURBANK, CA 91505


                   MICHAEL CHAVEZ
                   320 W 67 St
                   Los Angeles, CA 90003
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                   MICHAEL CHOW
                   3850 SEPULVEDA BLVD
                   CULVER CITY, CA 90230


                   MICHAEL GARCIA
                   13278 Hubbard St
                   Sylmar, CA 91342


                   MICHAEL J MILES
                   27940 Solanint Road
                   Canyon Country, CA 91387


                   MICHAEL OQUELI
                   2221 BELLEVUE AVE
                   LOS ANGELES, CA 90026


                   MICHAEL REYES
                   501 S MANHATTAN PLACE APT 106
                   LOS ANGELES, CA 90020


                   Michael Teta Associates
                   13743 Ventura Blvd
                   Suite 220
                   Sherman Oaks, CA 91423


                   MICHAELS
                   8000 BENT BRANCH DR
                   IRVING, TX 75063


                   MICHELE G RAMIREZ
                   634 WEST 113th STREET
                   LOS ANGELES, CA 90044
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                   MICHELLE B EMELLE
                   5157 OBAMA BLVD
                   LOS ANGELES, CA 90016


                   MICHELLE BRAVO
                   1605 1/2 E 62nd St
                   Los Angeles, CA 90001


                   MICHELLE MEJIA
                   10884 PALA AVE APT 329
                   PACOIMA, CA 91331


                   MID VALLEY FAMILY YMCA
                   6901 LENNOX AVE
                   VAN NUYS, CA 91405


                   MIGUEL A GARCIA
                   711 1/2 Euclid Ave
                   Los Angeles, CA 90023


                   MIGUEL A SANCHEZ
                   6442 LINDLEY AVE
                   RESEDA, CA 91335


                   Miguel A Zamora
                   15709 Horace Street
                   Granada Hills, CA 91344


                   MIGUEL ARRIAGA
                   420 S SOTO ST
                   LOS ANGELES, CA 90033
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                   MIGUEL CONTRERAS LEARNING COMPLEX
                   322 S LUCAS AVE
                   LOS ANGELES, CA 90017


                   MIGUEL CONTRERAS LEARNING COMPLEX
                   322 LUCAS AVE
                   LOS ANGELES, CA 90017


                   MIGUEL CONTRERAS LEARNING COMPLEX
                   322 S LUCAS AVE
                   LOS ANGELES, CA 90042


                   MIGUEL J FAVELA
                   13237 Klein court
                   Sylmar, CA 91342


                   MIGUEL LEON
                   3620 GRIFFITH AVE
                   LOS ANGELES, CA 90011


                   Miguel Rodriguez
                   10810 St James Ave
                   South Gate, CA 90280


                   MIGUEL RODRIGUEZ
                   1089 HARRIS AVE
                   LOS ANGELES, CA 90063


                   MILDRED J HEUR
                   5509 LAKEWOOD BLVD
                   LAKEWOOD, CA 90712
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                   MILIAN MARTINEZ
                   1323 S WESTMORELAND AVE
                   LOS ANGELES, CA 90006


                   MILLENIUM BILTMORE
                   506 S GRAND AVE
                   LOS ANGELES, CA 90071


                   Mimi Diep
                   66 Trofello Ln
                   Aliso Viejo, CA 92656


                   Mind Research Institute
                   111 Academy Drive Suite 100
                   Irvine, CA 92617


                   MIREYA GOMEZ
                   4127 WOODLAWN AVE
                   LOS ANGELES, CA 90011


                   MIRIAM A LOPEZ-VAZQUEZ
                   4818 W MARTIN LUTHER KING JR APT 2
                   Los Angeles, CA 90016


                   MIRIAM A MEJIA PINEDA
                   839 W 167th STREET APT 7
                   GARDENA, CA 90247


                   MIRIAM RUEDA
                   15147 ROXFORD STREET
                   SYLMAR, CA 91342
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                   MIRIAM SERRANO
                   308 1/2 VIA VISTA
                   MONTEBELLO, CA 90640


                   MIRNA E ALEGRIA BORJAS
                   1053 S NEW HAMPSIRE AVE APT 208
                   LOS ANGELES, CA 90006


                   MIRRIAM BATERINA
                   8700 ADRIANA STREET
                   SPRING VALLEY, CA 91977


                   MISHELLE RODRIGUEZ
                   4213 yosemite way
                   Los angeles, CA 90065


                   Mission Asset Fund
                   3269 Mission Street
                   San Francisco, CA 94110


                   Mission City Community Network Inc
                   15206 Parthenia St
                   North Hills, CA 91343


                   MISSION ECONOMIC DEVELOPMENT AGENCY
                   2301 MISSION STREET SUITE 301
                   SAN FRANCISCO, CA 94110


                   MISSION ECONOMIC DEVELOPMENT AGENCY
                   2301 MISSION STREET
                   SUITE 301
                   SAN FRANCISCO, CA 94110
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                   Mitchell Silberberg & Knupp
                   2049 CENTURY PARK EAST
                   18TH FLOOR
                   Los Angeles, CA 90067


                   MJ MAYBERRY MA
                   1448 MARINE AVE UNIT 4
                   GARDENA, CA 90247


                   MMC Associates
                   5747 W Venice Blvd
                   Los Angeles, CA 90019


                   Mobile Mini
                   PO BOX 7144
                   PASADENA, CA 91109


                   Mobile Mini
                   PO BOX 7144
                   Pasadena, CA 91109-7144


                   Mobile Modular Management Corporation
                   Po Box 45043
                   San Francisco, CA


                   MOBINA SHAHRBANOO
                   20409 NAPA STREET
                   WINNETKA, CA 91306


                   MODERN PARKING INC
                   303 S UNION AVE
                   FIRST FLOOR
                   LOS ANGELES, CA
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                   Moems
                   Director
                   2154 Bellmore Ave
                   Bellmore, NY 11710


                   MOISES A AVALOS
                   2731 BEVERLY BLVD APT 206
                   LOS ANGELES, CA 90057


                   MOISES CERVANTES
                   2819 West Main Street
                   Alhambra, CA 91801


                   MOISES GARCIA
                   1516 Gaspar Ave
                   Los Angeles, CA 90022


                   MOISES PAGAN REYES
                   221 LOMA PLACE APT 40
                   LOS ANGELES, CA 90026


                   MOLAA
                   628 ALAMITOS AVE
                   LONG BEACH, CA 90802


                   MONICA CANTORAN
                   10414 Morning Ave
                   Downey, CA 90241


                   MONICA JIMENEZ
                   13457 BORDEN AVE
                   SYLMAR, CA 91342
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                   MONICA LEON
                   10764 SUTTER AVENUE
                   PACOIMA, CA 91331


                   MONICA MENDEZ
                   641 1/2 WEST 48TH STREET
                   LOS ANGELES, CA 90037


                   MONICA N SANTIAGO
                   7901 broadleaf ave
                   panorama city, CA 91402


                   MONOPRICE INC
                   1 POINTE DRIVE
                   SUITE 400
                   BREA, CA 92821


                   MONROVIA COMMUNITY ADULT SCHOOL
                   920 SOUTH MOUNTAIN AVE
                   MONROVIA, CA 91016


                   Monsenor Oscar Romero Charter School
                   1157 South Berendo Street
                   LOS ANGELES, CA 90006


                   Monstercom
                   Po Box 740889
                   Los Angeles, CA 90074


                   MOONEY JONATHAN
                   328 PACIFIC ST
                   APT 3
                   SANTA MONICA, CA 90405
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                   Morfin Magic
                   726 E 95Th St
                   Los Angeles, CA 90002


                   MORTON LAUREN
                   19145 SHERMAN WAY
                   RESEDA, CA 91335


                   MOSES MAGANA
                   12249 LOPEZ CANYON RD APT 317
                   SYLMAR, CA 91342


                   MOSKATELS
                   733 S SAN JULIAN
                   LOS ANGELES, CA 90014


                   MOTEL 6
                   6909 SEPULVEDA BLVD
                   VAN NUYS, CA 91405


                   Mother Goose Time
                   Po Box 225
                   Interlochen, MI 49643


                   MOTIONWEAR LLC
                   1315 SUNDAY DRIVE
                   INDIANAPOLIS, IN 46217


                   MOUNTASIA FAMILY FUN CENTER
                   21516 GOLDEN TRIANGLE ROAD
                   SANTA CLARITA, CA 91350
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                   Mozaik Solutions
                   501 W BROADWAY SUITE A522
                   SAN DIEGO, CA 92101


                   Multi Business Systems
                   PO Box 3039
                   Bakersfield, CA 93385


                   Multicultural Learning Center
                   7510 De Soto Ave
                   CANOGA PARK, CA 91303


                   MULTICULTURAL LEARNING CENTER
                   7510 DESOTO AVE
                   CANOGA PARK, CA 91303


                   Museum Of Tolerance
                   9786 W Pico Blvd
                   Los Angeles, CA 90035


                   MUSICIANS FRIEND
                   PO BOX 7479
                   WEST LAKE VILLAGE, CA 91359


                   MYINTENT PROJECT
                   1211 LONG BEACH AVENUE
                   UNIT 102
                   LOS ANGELES, CA 90021


                   MYKE'S CAFE
                   13171 VAN NUYS BLVD
                   PACOIMA, CA 91331
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                   MYRNA GONZALEZ
                   13431 ASTORIA ST
                   SYLMAR, CA 91342


                   MYRNA GONZALEZ
                   13431 ASTORIA STREET
                   SYLMAR, CA 91342


                   Mystaffingpro
                   Po Box 642
                   Toledo, OH 43697


                   NADIA C NAJAR
                   15002 MINNEHAHA STREET
                   MISSION HILLS, CA 91345


                   NAEEM CHHIPA
                   1259 N ARMORE AVE
                   APT 202
                   LOS ANGELES, CA 90029


                   NAHAL C KAIVAN PHD PLLC
                   911 BROAD STREET
                   DURHAM, NC 27705


                   NAHAL C KAIVAN PHD PLLC
                   2003 CHAPEL HILL RD
                   DURHAM, NC 27707


                   NAIMA LOUIS JEAN
                   12249 LOPEZ CANYON RD
                   SYLMAR, CA 91342
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                   NAKA
                   3455 OVERLAND AVE
                   LOS ANGELES, CA 90034


                   NAKIA BRAZIER
                   3317 WILTON ST APT 1
                   LONG BEACH, CA 90804


                   NANCY ARIAS
                   3757 PUEBLO AVE
                   LOS ANGELES, CA 90032


                   NANCY CARDENAS
                   671 GRISWOLD AVE
                   SAN FERNANDO, CA 91340


                   NANCY QUIROZ PEREZ
                   3715 W 1ST STREET 104
                   LOS ANGELES, CA 90004


                   Nancy Rojas
                   11977 Allegheny St Apt 6
                   Sun Valley, CA 91352


                   NANCY V REYES CRISANTO
                   1416 W OLYMPIC BLVD APT 3
                   LOS ANGELES, CA 90015


                   Nano's Cafe
                   9599 Pinehurst Ave
                   South Gate, CA 90280
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                   NATALIA SIMPSON
                   27626 ROSA LN APT 104
                   SANTA CLARITA, CA 91387


                   Natalie C Marquez
                   1425 Hollister St
                   San Fernando, CA 91340


                   NATALIE ESPINAL
                   8640 hillrose st Apt b6
                   Sunland, CA 91040


                   Natalie G Castillo
                   9250 Sepulveda Blvd Apt 112
                   North Hills, CA 91343


                   Natalie J Gonzalez
                   8847 Willis St Unit C2
                   Panorama City, CA 91402


                   NATALIE MERCADO
                   12941 CARL P;L APT 194
                   PACOIMA, CA 91331


                   NATALIE RODRIGUEZ
                   10958 S Figueroa St
                   Los Angeles, CA 90061


                   NATALIE VENTURA
                   750 S CARANDOLET ST APT 209
                   LOS ANGELES, CA 90057
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                   Nataly Reyna
                   704 W Doran St Apt 6
                   Glendale, CA 91203


                   Nathalie Banos
                   10340 Virginia Ave
                   South Gate, CA 90280


                   NATHAN GARCIA
                   6245 King Avenue
                   Bell, CA 90201


                   NATHAN R MORALES
                   620 Orange Grove Avenue
                   San Fernando, CA 91340


                   NATHAN TAPIA
                   1424 W 10TH PLACE
                   LOS ANGELES, CA 90015


                   NATHANIEL SHUTMAN
                   1525 LAS LUNAS STREET
                   PASADENA, CA 91106


                   National After School Association
                   2961A Hunter Mill Road 626
                   Oakton, VA 22124


                   National Association for College Admissi
                   1050 North Highland Street
                   Suite 400
                   ARLINGTON, VA 22201
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                   NATIONAL BUSINESS FURNITURE
                   770 SOUTH 70TH STREET
                   MILWAUKEE, WI 53214


                   National Career College
                   14355 Roscoe Blvd
                   Panorama City, CA 91402


                   NATIONAL CENTER FOR FAMILIES LEARNING
                   325 W MAINT ST
                   SUITE 300
                   LOUISVILLE, KY 40202


                   NATIONAL CENTER FOR YOUTH LAW
                   405 14TH STREET
                   15TH FLOOR
                   OAKLAND, CA 94612


                   NATIONAL COLLEGE RESOURCES FOUNDATION
                   750 N DIAMOND BAR BLVD
                   SUITE 208
                   DIAMOND BAR, CA 91765


                   NATIONAL COUNCIL FOR COMMUNITY & EDUCATI
                   1331 H St NW 900
                   WASHINGTON, DC 20005


                   National Council Of La Raza
                   1126 16Th St
                   NW Suite 600
                   WASHINGTON, DC 20036


                   National Council Of La Raza
                   1126 16Th St NW Suite 600
                   Washington, DC 20036
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                   NATIONAL DROPOUT PREVENTION CENTER
                   ANDERSON, SC 29621



                   National Endowment of the Arts
                   400 7th Street
                   SW
                   WASHINGTON, DC 20506


                   NATIONAL FITNESS PRODUCTIONS
                   217 S KENWOOD ST
                   GLENDALE, CA 91205


                   NATIONAL FITNESS PRODUCTIONS
                   722 AMERICANA WAY 201
                   GLENDALE, CA 91210


                   NATIONAL RESTAURANT ASSOCIATION
                   37020 EAGLE WAY
                   CHICAGO, IL 60678-1370


                   NATIONAL RETAIL FOUNDATION
                   12TH FLOOR
                   1101 NEW YORK AVE
                   NW, DC 20005


                   National Student Clearinghouse
                   Po Box 826576
                   Philadelphia, PA 19182


                   NATUS MEDICAL INCORPORATED
                   12301 LAKE UNDERHILL RD
                   SUITE 201
                   ORLANDO, FL 32828
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                   Naviance Inc
                   Po Box 504571
                   St Louis, MO 63150


                   NAYELI CRUZ
                   458 S HARTFORD AVE APT 210
                   LOS ANGELES, CA 90017


                   NED MARTINEZ-ZAVALA
                   8030 LAURELGROVE AVE
                   NORTH HOLLYWOOD, CA 96105


                   NEFTALY J AGUIRRE
                   505 S BONNIE BRAE ST APT 201
                   LOS ANGELES, CA 90057


                   Neighborhood Reinvestment Training
                   Po Box 418630
                   Boston, MA 02241


                   NELI PETROSYAN
                   524 PORTER ST
                   GLENDALE, CA 91205


                   NELLIE ATTIAS
                   1760 RAMBLING RD
                   SIMI VALLEY, CA 93065


                   NELSON ARRIAZA
                   6335 ORCHARD AVE
                   BELL, CA 90201
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                   Nestle Pure Life
                   PO Box 856158
                   Louisville, KY 40285


                   NETTALK
                   1100 NW 163 DR B-4
                   MIAMI, FL 33169


                   Network Services
                   3700 Barron Way
                   Reno, NV 89511


                   NeueHouse Hollywood LLC
                   6121 SUNSET BLVD
                   LOS ANGELES, CA 90028


                   NEUROTIC GANGSTER PRODUCTIONS INC
                   ATTN BEN GLEIB
                   SHERMAN OAKS, CA 91411


                   New Horizons Charter Academy
                   5955 Lankershim Blvd
                   NORTH HOLLYWOOD, CA 91601


                   New Horizons Clc Career Development LLC
                   1900 S State College Blvd Ste 100
                   Anaheim, CA 92806


                   NEW LINE FIRE
                   283 S KATHLEEN LANE
                   ORANGE, CA 92869
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                   NEW SEASON CORPORATE SERVICES
                   4600 LARSON WAY
                   SACRAMENTO, CA 95822


                   NEW STAR ACTIVE WEAR INC
                   12933 FOOTHILL BLVD
                   SYLMAR, CA 91342


                   New Village Girls Academy
                   147 N Occidental Blvd
                   LOS ANGELES, CA 90026


                   NEWPORT INTERNATIONAL UNITED COLLEGE
                   5959 TOPANGA CANYON BLVD
                   SUITE 110
                   WOODLAND HILLS, CA 91367


                   NEWSELA INC
                   475 10TH AVENUE
                   4 FL
                   NEW YORK, NY 10019


                   Nicholas B Hubacki
                   7611 Corbin Ave
                   Winnetka, CA 91306


                   NICHOLAS CAPRETTA
                   1420 N ALTA VISTA BLVD APT 208
                   LOS ANGELES, CA 90046


                   NICHOLAS HON
                   1226 N BONNIE BEACH PL
                   LOS ANGELES, CA 90063
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                   NICHOLAS PHAM
                   5925 Middleton St Apt 48
                   Huntington Park, CA 90255


                   NICHOLAS SILVA
                   3116 BLANCHARD ST
                   LOS ANGELES, CA 90063


                   NICHOLAS WU
                   5510 POPLAR BLVD
                   LOS ANGELES, CA 90032


                   NICOLAS DUARTE RODRIGUEZ
                   13031 1/2 CARL ST APT 379
                   PACOIMA, CA 91331


                   NISHKIAN & ASSOCIATES
                   3710 SOUTH ROBERTSON BLVD
                   STE 220
                   CULVER CITY, CA 90232


                   NOAHS NY BAGELS
                   10050 MISSION MILL ROAD
                   INDUSTRY, CA 90601


                   NOE QUIRARTE
                   1913 E 124TH ST
                   COMPTON, CA 90222


                   NOELL PENSADO
                   3900 W 5th St Apt D8
                   Santa Ana, CA 92703
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                   NOEMI GARCIA
                   1115 W 127TH PL
                   COMPTON, CA 90222


                   NOEMI RODRIGUEZ
                   18551 DEARBORN STREET APT 38
                   NORTHRIDGE, CA 91324


                   Nonprofit Finance Fund
                   70 West 36Th St
                   New York, NY 10018


                   NONPROFIT WEBADVISOR
                   901 S MOPAC EXPRESSWAY
                   BUILDING 5 SUITE 140
                   AUSTIN, TX 78746


                   NORBERTS
                   354 W GARDENA BLVD
                   GARDENA, CA 90248


                   NORMA MESA
                   5624 MERIDIAN ST APT 102
                   LOS ANGELES, CA 90042


                   NORMA QUINTANILLA RAMIREZ
                   18553 Saticoy St Unit 151
                   Reseda, CA 91335


                   North Valley Military Institute College
                   12105 Allegheny St
                   SUN VALLEY, CA 91352
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                   North Valley Occupational Center
                   11450 Sharp Ave
                   Mission Hills, CA 91345


                   Northridge Skateland
                   18140 Parthenia St
                   Northridge, CA 91325


                   Northwest Evaluation Association
                   121 Nw Everett Street
                   Portland, OR 97209


                   NOVA STORAGE SYLMAR
                   13043 FOOTHILL BLVD
                   SYLMAR, CA 91342


                   NP SOLUTIONS INC
                   5694 MISSION CENTER ROAD
                   STE 316
                   SAN DIEGO, CA 92108


                   NRG DANCE & CHEER
                   2858 N MILLS AVE
                   PMB BOX 219
                   CLAREMONT, CA 91711


                   NTEN
                   621 SW ALDER
                   SUITE 310
                   PORTLAND, OR 97205


                   Nthonet Inc
                   6464 Sunset Blvd Ste 755
                   Los Angeles, CA 90028
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                   NUBIA ZAMBRANO
                   12952 CARL PL APT 228
                   PACOIMA, CA 91331


                   NUE
                   1519 14TH AVE
                   SEATTLE, WA 98122


                   NUEJAH OUTTEN
                   11451 BROOKHURST ST
                   GARDEN GROVE, CA 92840


                   NUMA P JUAREZ Jr
                   1104 W 37TH PL APT 101
                   LOS ANGELES, CA 90007


                   O2WESTGROUP
                   12843 FOOTHILL
                   STE C
                   SYLMAR, CA 91342


                   ODETTE LIMANI
                   11411 Dronfield Ave Apt51
                   Pacoima, CA 91331


                   OFFICE 365
                   1 MICROSOFT WAY
                   REDMOND, WA 98052


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                   PO Box 88040
                   Chicago, IL 60680
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                   Office Of Finance City Of Los Angeles
                   Office Of Finance
                   PO Box 30716
                   Los Angeles, CA 90030


                   Old Grove Orange Inc
                   Po Box 534
                   Mentone, CA 92359


                   OLD MISSION SAN JUAN
                   26801 ORTEGA HIGHWAY
                   SAN JUAN CAPISTRANO, CA 92675


                   OLGA M NAJERA
                   151 N OCCIDENTAL BLVD APT 319
                   LOS ANGELES, CA 90026


                   OLIVE GARDEN
                   1000 DARDEN CENTER DRIVE
                   ORLANDO, FL 32837


                   OLIVER DOMINGUEZ
                   13322 JUDD STREET
                   PACOIMA, CA 91331


                   OLIVIA HORSLEY
                   1510 N WILLOWBROOK AVE APT A
                   COMPTON, CA 90222


                   OLMOS GARDEN AND DESIGN
                   7344 TRANQUIL DR
                   TUJUNGA, CA 91042
Case 2:19-bk-23085-BB    Doc 1 Filed 11/05/19 Entered 11/05/19 14:13:32   Desc
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                   OMAR HERNANDEZ
                   124 n soto st Apt 3
                   Los Angeles, CA 90033


                   Omar Mendez
                   322 12 Vernon Ave
                   Venice, CA 90291


                   OMAR MENDEZ
                   4427 S Morgan Ave
                   Los Angeles, CA 90011


                   OMNI CHEER
                   12375 World Trade Dr
                   SAN DIEGO, CA 92128


                   OMNI HOTELS & RESORTS
                   4001 MAPLE AVE STE 500
                   DALLAS, TX 75219


                   One Hundred Eighty Degrees & Still Stand
                   1314 W 12Th Street
                   Los Angeles, CA 90015


                   Open Mesh
                   20049 Sw 112Th Ave
                   Tualatin, OR 97062


                   Oracle America Inc
                   Po Box 44471
                   San Francisco, CA 94144
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                   Orale Enterprises
                   11071 Hatteras St
                   North Hollywood, CA 91601


                   Orange County Debate League
                   Attn Treasurer
                   6931 Orangethorpe Ave
                   Buena Park, CA 90620


                   ORANGE COUNTY DEPT OF ED
                   200 KALMUS DR
                   COSTA MESA, CA 92626


                   Organizational Services Inc
                   3380 Travis Pointe
                   Ann Arbor, MI 48108


                   ORIENTALTRADING
                   PO BOX 2308
                   OMAHA, NE 68103


                   OSBALDO ROBLES
                   1317 LUCAS ST
                   SAN FERNANDO, CA 91340


                   OSC Computer Training
                   9700 Business Park Dr 206
                   Sacramento, CA 95827


                   Oscar Cosby
                   970 W 19Th St Apt 9
                   San Pedro, CA 90731
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                   Oscar G Cruz
                   4729 Mascot St
                   Los Angeles, CA 90019


                   OSCAR LETONA
                   839 E 81ST STREET
                   LOS ANGELES, CA 90001


                   OSCAR M MAIDANA
                   6002 Coke Avenue
                   Long Beach, CA 90805


                   OSCAR MAGANA
                   4642 E 52ND PLACE APT B
                   MAYWOOD, CA 90270


                   Oscar Signs
                   902 San Fernando Rd
                   San Fernando, CA 91340


                   OSCAR VENEGAS (OSCAR'S JANITORIAL SERVIC
                   13310 GLENOAKS BLVD
                   SYLMAR, CA 91342


                   OSTERIA TOSCANA
                   247 HAMILTON AVE
                   PALO ALTO, CA 94301


                   OSVALDO MOLINA RODRIGUEZ
                   6807 BELLAIRE AVE
                   NORTH HOLLYWOOD, CA 91605
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                   OSWALDO A OCHOA
                   2170 1/2 W 31st St
                   Los Angeles, CA 90018


                   OSWALDO M RODRIGUEZ CISNEROS
                   1087 W 39th St Apt 16
                   Los Angeles, CA 90037


                   OTIUM
                   222 S HOPE ST
                   LOS ANGELES, CA 90012


                   OYAMEL COCINA MEXICANA
                   401 7TH ST NW
                   NW, DC 20004


                   PACIFIC MARINE MAMAL CENTER
                   20612 LAGUNA CANYON ROAD
                   LAGUNA BEACH, CA 92651


                   Pacoima Beautiful
                   13520 Van Nuys Blvd Suite 209
                   Pacoima, CA 91331


                   Pacoima Business Center Lp
                   Po Box 570661
                   Tarzana, CA 91356


                   Pacoima Charter School
                   11016 Norris Avenue
                   PACOIMA, CA 91331
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                   Pagoda Tee Fashion
                   2408 S Broadway
                   Los Angeles, CA 90007


                   PAIN CHIROPRACTIC CLINIC
                   835 N WESTERN AVE
                   LOS ANGELES, CA 90029


                   PANADERIA SAN FERNANDO
                   313 S MACLAY AVE
                   SAN FERNANDO, CA 91340


                   PANDA EXPRESS
                   1683 WALNUT AVE
                   ROSEMEAD, CA 91770


                   PANERA BREAD
                   3630 S GEYER RD 100
                   ST LOUIS, MO 63127


                   PANORAMA HIGH SCHOOL
                   8015 VAN NUYS BLVD
                   PANORAMA CITY, CA 91402


                   PANTAGES THEATRE
                   6233 HOLLYWOOD BLVD
                   LOS ANGELES, CA 90028


                   PAOLA D MEJIA
                   1808 2nd street
                   San Fernando, CA 91340
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                   Paola Evaristo
                   20312 Vose St
                   Winnetka, CA 91306


                   PAOLA HUERTA
                   2580 N SOTO ST 421
                   LOS ANGELES, CA 90032


                   PAOLA NAVA JIMENEZ
                   23412 MAGIC MOUNTAIN PKWY APT 1112
                   VALENCIA, CA 91355


                   PAOLA SHAMMAS
                   752 LAINE STREET APT A
                   MONTEREY, CA 93940


                   PAPA JOHNS
                   2002 PAPA JOHNS BLOULEVARD
                   LOUISVILLE, KY 40299


                   Paramount Contractors And Developers Inc
                   6464 Sunset Blvd Suite 700
                   Hollywood, CA 90028


                   Paramount Pictures Special Events
                   Attn Kathlene Stakely
                   5555 Melrose Ave Dietrich Bldg 204
                   Hollywood, CA 90038


                   Park & Save Inc
                   1300 W Olympic Blvd 400
                   Los Angeles, CA 90015
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                   PARK SAMUEL
                   1258 1/2 4TH AVE
                   LOS ANGELES, CA 90019


                   Parking Company Of America
                   523 W 6Th St 528
                   Los Angeles, CA 90014


                   PARSA TECH INC
                   23454 BLYTHE ST
                   WEST HILLS, CA 91304


                   Partnership For Los Angeles Schools
                   1541 Wilshire Blvd Ste 200
                   Los Angeles, CA 90017


                   Partnership To Uplift Communities
                   1405 N San Fernando Blvd Suite 303
                   Burbank, CA 91504


                   PARTNERSHIPS FOR PURPOSE
                   8726 S SEPULVEDA BLVD
                   SUITE D-B93
                   LOS ANGELES, CA 90045


                   PARTY CITY
                   25 Green Pond Road
                   STE 1
                   ROCKAWAY, NJ 07866


                   PARTY CORNER
                   2219 N ROAN ST
                   JOHNSON CITY, TN 37601
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                   Pasadena Center Operating Company
                   300 E Green Street
                   Pasadena, CA 91101


                   PASADENA ICE SKATING CENTER
                   300 E GREEN ST
                   PASADENA, CA 91101


                   PASKENTA BAND OF NOMLAKI INDIANS
                   2655 EVERETT FREEMAN WAY
                   CORNING, CA 96021


                   PASSION PLANNER LLC
                   PO BOX 434
                   NATIONAL CITY, CA 91951


                   Patina Restaurant Group Newco LLC
                   1000 N Alameda
                   Los Angeles, CA 90012


                   PATRICIA GALINDO
                   16750 SHERMAN WAY APT 205
                   VAN NUYS, CA 91406


                   PATRICIA GUZMAN
                   10965 LEHIGH AVENUE 410
                   PACOIMNA, CA 91331


                   PATRICIA NUNEZ
                   13113 Kagel Cyn
                   Pacoima, CA 91331
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                   PATRICIA SANDOVAL
                   926 S Duncan Ave
                   Los Angeles, CA 90022


                   PATRICK BLANKE
                   5959 HOLLYWOOD BLVD
                   LOS ANGELES, CA 90028


                   PATRICK NAVAS
                   26849 SHOREBREAK LN APT 41
                   VALENCIA, CA 91355


                   Patrick Radford
                   6111 Los Santos Dr
                   Long Beach, CA 90815


                   PATY COREAS
                   4572 Maplewood Ave 2
                   Los Angeles, CA 90004


                   PAUL E FLOOD
                   2750 Guirado Street
                   LOS ANGELES, CA 90023


                   Paula N White
                   222 N Sepulveda Blvd Ste 2000
                   El Segundo, CA 90245


                   PAULA S NAZARIO
                   2858 LEEWARD AVENUE APT 304
                   LOS ANGELES, CA 90005
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                   PAYPAL
                   2211 NORTH FIRST ST
                   SAN JOSE, CA 95131


                   PC ADAPTER SHOP
                   832 FRANCISCO ST 625
                   SAN FRANCISCO, CA 94111


                   PCS EDVENTURES!COM INC
                   11915 WEST EXECUTIVE DRIVE
                   SUITE 101
                   BOISE, ID 83713


                   Pearson Vue
                   62160 Collections Center Dr
                   Chicago, IL 60693


                   PEDRO CHAVIRA
                   3064 ISABEL DRIVE
                   LOS ANGELES, CA 90065


                   PEDRO J GALVEZ
                   535 S CATALINA ST APT 107
                   LOS ANGELES, CA 90020


                   PEERSPACE
                   743 CLEMENTINA ST
                   SAN FRANCISCO, CA 94103


                   PENSION ASSURANCE LLP
                   20335 VENTURA BOULEVARD
                   SUITE 305
                   WOODLAND HILLS, CA 91364
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                   PENSKE
                   11200 PEORIA
                   SUN VALLEY, CA 91352


                   PEOPLE 20 NORTH AMERICA
                   PO BOX 677905
                   DALLAS, TX 75267-7905


                   Pepperdine University
                   24255 Pacific Coast Highway
                   Malibu, CA 90263


                   PEREZ CESAR
                   655 WEDGEWOOD AVE APT B
                   UPLAND, CA 91786


                   PEREZ JESUS
                   14071 DAUBERT ST
                   SAN FERNANDO, CA 91340


                   PERLA I PEREZ
                   12247 Klingerman St
                   El Monte, CA 91732


                   Permaguard Security Systems Inc
                   PO Box 55065
                   Valencia, CA 91385


                   Peter Cuevas
                   2424 E 2Nd St
                   Los Angeles, CA 90033
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                   Peter L Mendoza
                   18257 Vanowen St
                   Reseda, CA 91335


                   PF BRESEE FOUNDATION
                   184 SOUTH BIMINI PLACE
                   LOS ANGELES, CA 90004


                   Philadelphia Insurance Companies
                   PO Box 70251
                   Philadelphia, PA 19176


                   PHILIP ARMSTRONG
                   117 BIMINI PL
                   APT 218
                   LOS ANGELES, CA 90004


                   PHILLIPS SEAFOOD
                   601 E PRATT ST
                   BALTIMORE, MD 21202


                   PHO & CRAB RESTAURANT
                   11660 WESTHEIMER ROAD
                   HOUSTON, TX 77077


                   PINEAPPLE & PEARLS
                   715 8TH ST SE
                   WASHINGTON, DC 20003


                   PIONEER FIRE PROTECTION
                   14819 CALVERT STREET
                   VAN NUYS, CA 91411
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                   PITA ON VINE
                   1253 VINE STREET
                   LOS ANGELES, CA 90038


                   PIZZA HUT
                   14841 DALLAS PARKWAY
                   DALLAS, TX 75254


                   PLACENCIA CONSULTING LLC
                   7949 Newlin Ave APT A
                   Whittier, CA 90602


                   PLATT COLLEGE LOS ANGELES LLC
                   1000 SOUTH FREMONT AVENUE
                   ALHAMBRA, CA 91803


                   PLAY THERAPY SUPPLY
                   701 W MARSHALL ST
                   PO BOX 7
                   ARGOS, IN 46501


                   PLAY WITH A PURPOSE
                   2525 LEMOND ST SW
                   OWATONNA, MN 55060


                   Playground Of Dreams
                   8635 Falmouth Ave No 206
                   Playa Del Rey, CA 90293


                   PLIC - SBD Grand Island
                   Po Box 10372
                   Des Moines, IA 50306
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                   POETS MODERN COCKTAILS & EATS
                   24 W FRANKLIN ST
                   BALTIMORE, MD 21201


                   Points Of Light Foundation
                   Attn Accounts Receivables
                   600 Means Street Suite 210
                   Atlanta, GA 30318


                   Points Of Light Foundation - Attn Accoun
                   600 Means Street
                   Suite 210
                   ATLANTA, GA 30318


                   POINTS RAPID REWARDS
                   6464 SUNSET BLVD
                   LOS ANGELES, CA 90028


                   POLLO LOCO
                   3535 HARBOR BLVD 100
                   COSTA MEZA, CA 92626


                   PORRIDGE & PUFFS
                   2801 BEVERLY BLVD
                   LOS ANGELES, CA 90057


                   PORTLAND INTERNATIONAL AIRPORT
                   7000 NE AIRPORT WAY
                   PORTLAND, OR 97216


                   PORTO'S BAKERY INC
                   3614 WEST MAGNOLIA BLVD
                   BURBANK, CA 91505
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                   Positive Coaching Alliance
                   1001 N Rengstorff Ave 100
                   Mountain View, CA 94043


                   Possible Productions Inc
                   111 W Verdugo Ave
                   BURBANK, CA 91502


                   POWER GRAPHICS DIGITAL IMAGING INC
                   9645 SOUTH 600 WEST
                   SANDY, UT 84070


                   PR-Tech Services LLC
                   Po Box 861241
                   Los Angeles, CA 90086


                   Premium Assignment Corporation
                   Po Box 8000
                   Tallahassee, FL 32314


                   PRETEND CITY
                   29 HUBBLE
                   IRVINE, CA 92618


                   PRICELINECOM
                   800 CONNECTICUT AVE
                   NORWALK, CT 06854


                   PRIDE SASH
                   3341 JACK NORTHROP AVE
                   HAWTHORNE, CA 90250
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                   PRINCE ALLEN
                   5657 LA MIRADA AVE APT 103
                   LOS ANGELES, CA 90038


                   PRINCESS ALLEN
                   5657 LA MIRADA AVE APT 103
                   LOS ANGELES, CA 90038


                   PRINCIPAL'S EXCHANGE
                   2101 E FOURTH ST SUITE 200B
                   Santa Ana, CA 92705


                   PRISCILLA RIESTA
                   13010 CARL ST APT 163
                   PACOIMA, CA 91331


                   Pro Boxing Supplies
                   4405 Laurel Canyon Blvd
                   Studio City, CA 91607


                   Prosight Specialty Insurance Co
                   Tangram Insurance Services
                   PO Box 969
                   Westbrook, CT 06498


                   Prosource Facility Supply
                   11954 Washingtone Boulevard
                   Whittier, CA 90606


                   PROTOGE
                   250 CALIFORNIA AVE
                   PALO ALTO, CA 94306
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                   Public Counsel
                   610 S Ardmore Avenue
                   Los Angeles, CA 90005


                   PUBLIC RELATIONS & TECHNOLOGY SERVICES
                   27022 VICTORIA LANE
                   SUITE 83
                   VALENCIA, CA 91355


                   PUC Excel Charter
                   1855 N Main St
                   Floor 2
                   LOS ANGELES, CA 90031


                   Pueblo Y Salud
                   Attn Cesar E Chavez Commemorative Commit
                   1024 N Maclay M13
                   San Fernando, CA 91340


                   PULSE UNIFORM
                   205 BELL PL D
                   WOODSTOCK, GA 30188


                   PVJobs
                   4112 S Main Street
                   Los Angeles, CA 90037


                   PwC Charitable Foundation Inc
                   4040 W Boyscout Blvd
                   TAMPA, FL 33607


                   PYK INVESTMENT
                   1665 S HARVARD ST
                   LOS ANGELES, CA 90006
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                   Q&M ENTERTAINMENT
                   12827 HARBOR BLVD
                   SUITE G2
                   GARDEN GROVE, CA 92840


                   QTRAK
                   575 VIRGINA DR D
                   FORT WASHINGTON, PA 19034


                   Quantum Learning Network
                   1938 Avenida Del Oro
                   Oceanside, CA 92056


                   Queenscare Foundation
                   950 S Grand Ave
                   2nd floor
                   LOS ANGELES, CA 90015


                   Quick Scores LLC
                   1501 Monclair Drive
                   Richardson, TX 75081


                   QUINONEZ WENDY
                   1307 OTTOMAN ST
                   ARLETA, CA 91331


                   QUINTIN M REFFELLS
                   725 Manchester Dr
                   Inglewood, CA 90301


                   RACHEL MEJIA
                   13091 1/2 CARL ST APT 303
                   PACOIMA, CA 91331
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                   RAE'KWON ROBERTSON
                   4315 FIRTH BLVD APT 302
                   LOS ANGELES, CA 90002


                   RAFAEL ORTIZ
                   82165 CARUNDELET ST APT 22
                   LOS ANGELES, CA 90057


                   RALPHS GROCERY STORE
                   7257 Sunset Blvd
                   West Hollywood, CA 90046


                   RAMON RAMIREZ
                   4063 1/2 WOODLAWN AVE
                   LOS ANGELES, CA 90011


                   RAMONA ABENDROTH
                   319 N OXFORD AVE APT 8
                   LOS ANGELES, CA 90004


                   RAMPART PROPERTY MANAGEMENT
                   2404 WILSHIRE BLVD STE 8A
                   C/O GLADYS BURGOS
                   LOS ANGELES, CA 90057


                   RANCH DELI
                   16236 SAN DIEGUITO ROAD
                   RANCHO SANTA FE, CA 92091


                   RANDY QUEZADA
                   7500 PENFIELD AVENUE
                   WINNETKA, CA 91306
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                   Raquel J Frausto
                   1304 S Pearl Ave
                   Compton, CA 90221


                   RAQUEL PANUCO-HERNANDEZ
                   5239 Monte Vista St APT308
                   Los Angeles, CA 90042


                   RAQUEL S CETZ Tamayo
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                   Los Angeles, CA 90005


                   RAQUEL S MAZAS
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                   Orange, CA 92868


                   Rawda H Douma
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                   Inglewood, CA 90303


                   Ready Refresh
                   Po Box 856158
                   Louisville, KY 40285


                   REBECCA G SOWERS
                   1456 SOUTH WOOSTER STREET APT 1
                   LOS ANGELES, CA 90035


                   RED HAWK FIRE & SECURITY (CA) LLC
                   PO BOX 512250
                   LOS ANGELES, CA 90051
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                   REEF PLAYGROUND INC
                   8801 CEDROS AVE
                   6
                   PANORAMA CITY, CA 91402


                   REGAL ENTERTAINMENT GROUP
                   101 E BLOUNT AVENUE
                   KNOXVILLE, TN 37920


                   Regents of the Univerity of California
                   Box 957089
                   1125 Murphy Hall
                   Los Angeles, CA 90095


                   Regents of the Univerity of California
                   DEPARTMENT K/UCLA EXTENSION
                   PO BOX 24901
                   LOS ANGELES, CA 90024-0901


                   Regents of the Univerity of California
                   UCLA EVENTS & TRANSPORTATION
                   555 WESTWOOD PLAZA STE 100 BOX 951360
                   LOS ANGELES, CA 90095-1360


                   Regents Of The University Of Cal At Irvi
                   Accounting Office 120 Theory Suite 200
                   Irvine, CA 92697


                   Regents Of The University Of California
                   9500 Gilman Drive
                   La Jolla, CA 92093


                   Regents Of The University Of California
                   900 University Ave
                   Riverside, CA 92521
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                   Region 9 Head Start Association
                   1225 8Th Street Suite 342
                   Sacramento, CA 95814


                   Reich Industries Inc/ TGA TRUCK DRIVING
                   1115 S TAYLOR AVE
                   MONTEBELLO, CA 90640


                   Renaissance Learning Inc
                   2911 Peach Street
                   Po Box 8036
                   Wisconsin Rapids, WI 54495


                   RENEE OCHOA
                   3426 ISABEL DRIVE APT 1
                   LOS ANGELES, CA 90065


                   Reptacular Animals
                   8309 Laurelcanyon Blvd 316
                   Sun Valley, CA 91352


                   Republic Services 902
                   Po Box 78829
                   Phoenix, AZ 85062


                   REPUBLIQUE
                   624 SOUTH LA BREA AVE
                   LOS ANGELES, CA 90036


                   Resource Area For Teaching
                   1355 Ridder Park Drive
                   San Jose, CA 95131
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                   RESUME NOW
                   1 HALLIDIE PLAZA
                   SUITE 600
                   SAN FRANCISCO, CA 94102


                   REVOLUTION DANCEWEAR LLC
                   6100 WEST HOWARD
                   NILES, IL 60714


                   REVOLUTION K12
                   1337 3RD ST
                   2ND FL
                   SANTA MONICA, CA 90401


                   REYES CARLOS
                   5542 SIERRA VISTA AVE
                   APT 303
                   LOS ANGELES, CA 90038


                   Reymundo Barrasa
                   3357 Stallo Ave
                   Rosemead, CA 91770


                   Reymundo G MONTIEL III
                   15215 Victory Blvd apt 119
                   Van Nuys, CA 91411


                   RICARDO A SPARKS
                   6055 Bonfair Ave
                   Lakewood, CA 90712


                   RICARDO D AGUILAR
                   3546 WEST 132nd STREET
                   HAWTHORNE, CA 90250
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                   RICARDO GUERECA
                   12601 PIERCE STREET APT 132
                   PACOIMA, CA 91331


                   RICARDO HUENDO
                   322 N Hagar st apt U
                   San Fernando, CA 91340


                   Ricardo M Simoni Romero
                   701 S Oxford Ave 104
                   Los Angeles, CA 90005


                   RICHARD CASTILLO
                   5661 LEXINGTON AVE APT 103
                   LOS ANGELES, CA 90038


                   RICHARD HERRERA
                   16914 KESWICK STREET
                   VAN NUYS, CA 91406


                   RICHARD HU
                   429 S ALMANSOR ST
                   ALHAMBRA, CA 91801


                   Ricky Alejandro
                   714 S New Hampshire Ave Apt 15
                   Los Angeles, CA 90005


                   Riders Express T&C
                   Po Box 923248
                   Sylmar, CA 91392
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                   RING
                   1523 26TH ST
                   SANTA MONICA, CA 90404


                   RISEUP
                   6001 HOSPITALITY COURT
                   STE 100
                   MORRISVILLE, NC 27560


                   Rita Flora
                   LOS ANGELES, CA 90004



                   RITE AID STORE
                   6130 W SUNSET BLVD
                   HOLLYWOOD, CA 90028


                   RIVERS EDGE CAFE
                   200 S ALAMO STREET
                   SAN ANTONIO, TX 78205


                   RMA GEOSCIENCE
                   12223 HIGHLAND AVE
                   SUITE 106-579
                   RANCHO CUCAMONGA, CA 91739


                   ROBERT BARBA
                   4302 Amistad Ave
                   Pico Rivera, CA 90660


                   ROBERT BOSCH TOOL CORPORATION
                   1800 WEST CENTRAL ROAD
                   MOUNT PROSPECT, IL 60056
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                   Robert C Cravens
                   4224 Ostrom Ave
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                   Robert Ramirez
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                   Alhambra, CA 91801


                   Robert Simpson Jr
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                   Los Angeles, CA 90044


                   ROBERTO MILLAN
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                   SYLMAR, CA 91342


                   ROBERTO SANCHEZ
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                   ROBIN SHARP
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                   VALLEY GLEN, CA 91401


                   ROBINETTE RAMIREZ
                   13700 COMMUNITY ST
                   PACOIMA, CA 91402


                   ROCIO R RODRIGUEZ
                   3412 CUDAHY ST
                   HUNTINGTON PARK, CA 90255
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                   ROCIO RIVERA-MURILLO
                   9415 SYLMAR AVENUE UNIT 7
                   PANORAMA CITY, CA 91402


                   RODOLFO ANDALON GARCIA
                   5135 WOOD AVE
                   SOUTH GATE, CA 90280


                   ROGELIO MORALES
                   1740 1/4 N GARFIELD PL
                   LOS ANGELES, CA 90028


                   ROMERO STEPHANIE
                   7359 ADWEN ST
                   DOWNEY, CA 90241


                   RONALD DELGADO
                   631 E 47TH ST
                   LOS ANGELES, CA 90011


                   Ronald Eugene Diaz Jr
                   12327 Orange Dr
                   Whittier, CA 90601


                   Ronald Paul Milam
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                   Los Angeles, CA 90026


                   Ronald Robinson
                   4054 W 58Th Place
                   Los Angeles, CA 90043
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                   ROROS CHICKEN
                   6660 SUNSET BLVD
                   STE C
                   LOS ANGELES, CA 90028


                   Rosa Isela Ramirez
                   3140 Fairmount St
                   Los Angeles, CA 90063


                   ROSA RAMIREZ
                   3140 FAIRMOUNT ST
                   LOS ANGELES, CA 90063


                   Rosalba E Lemus
                   11023 Norris Ave Apt27
                   Pacoima, CA 91331


                   Rosalinda Mancillas
                   PO Box 2135
                   West Sacramento, CA 95691


                   ROSARIOS
                   920 S ALAMO
                   SAN ANTONIO, TX 78205


                   ROSE DIAZ-DOMINGUEZ
                   11126 KESWICK ST
                   SUN VALLEY, CA 91352


                   ROSE MARY JILES
                   423 EAST 118TH PLACE
                   LOS ANGELES, CA 90061
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                   ROSEMARY ENCINAS
                   2211 Gates St
                   Los Angeles, CA 90031


                   Rosmery Gramajo
                   13100 Bromont Avenue Apt 49
                   Sylmar, CA 91342


                   ROSS STORES
                   4440 ROSEWOOD DR
                   PLEASANTON, CA 94588


                   ROSSOBLU RESTAURANT
                   1124 SAN JULIAN ST
                   LOS ANGELES, CA 90015


                   Roth Staffing Companies LP
                   Po Box 60003
                   Anaheim, CA 92812


                   Roxana Jullapat
                   638 Maltman Ave
                   Los Angeles, CA 90026


                   ROXANA MAYORGA
                   11346 EMELITA ST
                   NORTH HOLLYWOOD, CA 91601


                   ROXANNA MORENO
                   12873 Cometa Ave
                   San Fernando, CA 91340
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                   Roxanna Vanessa Alvarado
                   3414 Milton St
                   Pasadena, CA 91107


                   Roy and Patricia Disney Family Foundatio
                   181 S Buena Vista St
                   BURBANK, CA 91505


                   Roy W Buchanan
                   1426 1/2 W 83rd St
                   Los Angeles, CA 90047


                   ROYAL SECURITY TRAINING ACADEMY
                   1111 W 6TH ST SUITE 100
                   LOS ANGELES, CA 90017


                   RUBEN D GOMEZ
                   948 N EASTMAN AVE
                   Los Angeles, CA 90063


                   RUBEN LEIVA
                   11752 GLENAOKS BLVD
                   SAN FERNANDO, CA 91340


                   RUBI LEON GONZALEZ
                   1816 s Harvard Blvd
                   Los Angeles, CA 90006


                   RUBY A RODRIGUEZ
                   5103 WOODLAWN AVE
                   LOS ANGELES, CA 90011
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                   RUBY SUSHI
                   201 UNIVERSITY AVE
                   PALO ALTO, CA 94301


                   Rubyth Cortes-Bello
                   219 E 28th St
                   Los Angeles, CA 90011


                   RUSSIAN NEWSPAPER DISTRIBUTION INC
                   425 S Fairfax Ave
                   SUITE 301
                   LOS ANGELES, CA 90036


                   RUSTIC CANYON
                   1119 WILSHIRE BLVD
                   SANTA MONICA, CA 90401


                   RUTH I MONZON
                   1505 DEL AMO BLVD APT 3
                   TORRANCE, CA 90501


                   RUTH MONZON
                   1515 DEL AMO BLVD
                   APT 3
                   TORRANCE, CA 90501


                   RUTHLYNN DINEROS
                   426 MANZANITA AVE
                   SIERRA MADRE, CA 91204


                   RUTHS CHRIS STEAK HOUSE
                   2231 CRYSTAL DRIVE
                   11TH FLOOR
                   ARLINGRON, VA 22202
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                   RWM FIBER OPTICS INC
                   16627 AVILLON BLVD STE A
                   CARSON, CA 90746


                   RX For Reading
                   Po Box 491190
                   Los Angeles, CA 90049


                   RYAN STEWART
                   1749 NORTH SERRANO AVE APT 340
                   LOS ANGELES, CA 90027


                   S&S WORLDWIDE
                   75 Mill Street
                   Colchester, CT 06415


                   SAAVEDRA MARICELA
                   10532 CAPISTRANO AVE
                   SOUTH GATE, CA 90280


                   Sabio Enterprises Inc
                   400 Corporate Pointe Suite 300
                   Culver City, CA 90230


                   SABRINA I ANGUIANO
                   10825 Telfair Ave
                   Pacomia, CA 91331


                   SAFETYSIGNCOM
                   64 OUTWATER LANE
                   GARAFIELD, NJ 07026
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                   Safeway Inc
                   Po Box 742918
                   Los Angeles, CA 90074


                   SAISON
                   178 TOWNSEND STREET
                   SAN FRANCISCO, CA 94107


                   SALEF
                   421 S Bixel St Suite A
                   Los Angeles, CA 90017


                   Saleha Kaiser
                   22330 S Ladeene Ave
                   Torrance, CA 90505


                   SALESFORCEORG
                   50 FREMONT ST
                   STE 300
                   SAN FRANCISCO, CA 94105


                   SALOMON ROMAN ALVAREZ Jr
                   5853 Virginia Ave APT 6
                   Los Angeles, CA 90038


                   SALVADOR COVARRUBIAS
                   14646 BLYTHE ST APT 18
                   PANORAMA CITY, CA 91402


                   SALVADOR GONZALEZ
                   26671 WHIPPORWILL PL
                   CANYON COUNTRY, CA 91351
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                   Salvador Olavarrieta
                   12703 S San Pedro St Apt 15
                   Los Angeles, CA 90061


                   SALVADOR PINONES Jr
                   1272 E 54st
                   Los Angeles, CA 90011


                   SALVADOR SALOMON
                   15056 Vose St
                   Van Nuys, CA 91405


                   SAMANTHA D TZINTZUN
                   10420 Marklein Ave
                   Mission Hills, CA 91345


                   SAMANTHA G ZUNIGA
                   1539 W Gage Ave
                   Los Angeles, CA 90047


                   SAMANTHA STEFFIN
                   7114 POMELO DR
                   WEST HILLS, CA 91307


                   SAMANTHA TORRES
                   25399 The Old Road APT 2-208
                   Stevenson Ranch, CA 91381


                   SAMONE EDWARDS
                   11333 MONA BLVD APY 288
                   LOS ANGELES, CA 90059
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                   SAMS CLUB
                   2101 SE SIMPLE SAVINGS DR
                   BENTONVILLE, AK 72716


                   SAMUEL D RESTREPO
                   344 W Duarte Rd A
                   Monrovia, CA 91016


                   SAMUEL MARCKWORDT
                   10870 PALA AVE APT 334
                   PACOIMA, CA 91331


                   SAMUEL PENA
                   13061 CARL ST UNIT 357
                   APT 357, CA 91331


                   Samuel Valle
                   9726 San Miguel Ave Apt B
                   South Gate, CA 90280


                   Samy's Camera
                   12636 Beatrice St
                   Los Angeles, CA 90066


                   San Fernando Community Hospital
                   Attn Audrey L Simmons Msha
                   732 Mott St Suite 100
                   San Fernando, CA 91340


                   San Fernando First Street LLC
                   601 S Brand Blvd 3Rd Floor
                   San Fernando, CA 91340
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                   SAN FERNANDO INSTITUTE OF APPLIED MEDIA
                   130 N BRAND BLVD
                   SAN FERNANDO, CA 91340


                   San Fernando Recreation & Community Serv
                   208 Park Ave
                   San Fernando, CA 91340


                   SAN FERNANDO TIRES & WHEELS INC
                   1500 SAN FERNANDO RD
                   SAN FERNANDO, CA 91340


                   SANABRIA ELDER
                   729 E 84TH PL
                   LOS ANGELES, CA 90001


                   SANDRA A GONZALEZ
                   9010 TOBIAS AVENUE APT 107
                   PANORAMA CITY, CA 91402


                   SANDRA CHAVEZ
                   8148 SAINT CLAIR AVE
                   NORTH HOLLYWOOD, CA 91306


                   SANDRA TARANGO
                   13550 FOOTHILL BLVD UNIT 6
                   SYLMAR, CA 91342


                   SANDY ALVIRDE
                   1417 W 3rd St Apt 505
                   Los Angeles, CA 90017
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                   SANDY SANTOS
                   5711 1/2 Ruthelen st
                   Los Angeles, CA 90062


                   Sandy Spin Slade Inc
                   670 E Parkridge Ave Suite 104
                   Corona, CA 92879


                   SANTIAGO BOLANOS
                   13751 Hubbard St Apt 106
                   Sylmar, CA 91342


                   SARA ISRAEL
                   638 WEST KNOLL DRIVE APT 5
                   WEST HOLLYWOOD, CA 90069


                   SARA PANAMENO
                   7945 Peachtree Ave
                   Panorama City, CA 91402


                   SARA SERRANO
                   8137 California Ave
                   South Gate, CA 90280


                   Sarah Furnari
                   5300 Kester Ave Apt 104
                   Sherman Oaks, CA 91411


                   SARAH RUSSO
                   1072 LAGUNA AVE
                   APT 7
                   LOS ANGELES, CA 90026
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                   SARAHI MORALES
                   15237 Lemarsh St
                   Mission Hills, CA 91345


                   SARETH ELIZARRARAS-HUERTA
                   3438 GLENALBYN DRIVE
                   LOS ANGELES, CA 90065


                   SARI SARI STORE
                   317 S BROADWAY
                   LOS ANGELES, CA 90013


                   Saul Mendoza
                   12715 Wardman St
                   Whittier, CA 90602


                   SAUL SERRANO VALLADARES
                   10472 Laurel Canyon Blvd
                   Pacoima, CA 91331


                   SAUL YAVE HERNANDEZ
                   30530 SAN MARTINEZ RD
                   VAL VERDE, CA 91384


                   SAURABH SHAH
                   1615 GREENCASTLE AVE UNIT C
                   ROWLAND HEIGHTS, CA 91748


                   SCARLETT GOMEZ
                   1207 E 66th St
                   Los Angeles, CA 90001
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                   SCE FEDERAL CREDIT UNION
                   12701 SCHABARUM AVE
                   IRWINDALE, CA 91706


                   Scholastic Inc
                   PO Box 3720
                   Jefferson City, MO 65102


                   SCHOOL HEALTH CORPORATION
                   5600 APOLLO DRIVE
                   ROLLING MEADOWS, IL 60008


                   SCHOOL NURSE SUPPLY
                   1690 WRIGHT BLVD
                   SCHAUMBURG, IL 60168


                   SCHOOL OF BUSINESS AND TOURISM
                   322 S LUCAS AVENUE
                   LOS ANGELES, CA 90017


                   SCHOOL OF BUSINESS AND TOURISM-MCLC
                   322 S LUCAS AVE
                   LOS ANGELES, CA 90017


                   SCHOOL OF SOCIAL JUSTICE- MCLC
                   322 LUCAS AVE
                   LOS ANGELES, CA 90017


                   SCHOOL OUTFITTERS
                   3736 REGENT AVE
                   CINCINNATI, OH 45212
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                   School Specialty
                   3825 S Willow Ave
                   Fresno, CA 93725


                   SCHOOL SPECIALTY EDUCATION ESSENTIALS
                   MB UNIT 67-3106
                   MILWAUKEE, WI 53268


                   School Specialty Math
                   PO Box
                   Nashua, NH 03061


                   School Specialty Sportime
                   Mb Unit 673106
                   Milwaukee, WI 53268


                   School Tech Supply
                   Po Box 2999
                   Phoenix, AZ 85062


                   Score Sports
                   726 East Anaheim St
                   Wilmington, CA 90744


                   SEA LAB-LA CONSERVATION CORPS
                   1021 N HARBOR DRIVE
                   REDONDO BEACH, CA 90277


                   SEARS
                   3333 BEVERLY ROAD
                   HOFFMAN ESTATES, IL 60179
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                   SEASON 52
                   1689 ARDEN WAY SUITE 1065
                   SACRAMENTO, CA 98515


                   SEBASTIAN ARAUJO
                   7706 Eton Avenue
                   Canoga Park, CA 91304


                   SECRETARY OF STATE
                   BE CERTIFICATION AND RECORDS
                   PO BOX 944260
                   SACRAMENTO, CA 94244-2600


                   SECURITY UNLIMITED LOCKSMITH
                   15339 PARTHENIA ST
                   NORTH HILLS, CA 91343


                   SELMA COMMUNITY HOUSING
                   ATTN: HELEN AGUIRRE PALMA (MANAGER) 1605
                   LOS ANGELES, CA 90028


                   SELWYN ARCHILA
                   10193 MOREHART AVE
                   PACOIMA, CA 91331


                   SEMILLAS SOCIEDAD CIVIL
                   4736 HUNTINGTON DR SOUTH
                   LOS ANGELES, CA 90032


                   SERENA HAEUSER
                   3762 CRAWFORD ST
                   LOS ANGELES, CA 90011
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                   SERGIO D GERMAN
                   9832 SAN ANTONIO AVE
                   South Gate, CA 90280


                   SERGIO GARAY
                   12753 OTTOMAN ST
                   PACOIMA, CA 91331


                   SERGIO GASCON & ASSOCIATES
                   520 N HUNTINGTON AVE
                   SUITE A
                   MONTEREY PARK, CA 91754


                   SERGIO GUTIERREZ
                   13321 GOLETA STREET
                   PACOIMA, CA 91331


                   SERGIO RUIZ
                   8015 VAN NUYS BLVD
                   PANORAMA CITY, CA 91402


                   SERVICE AMERICA CORPORATION
                   ATTN: FRONT DESK
                   5333 ZOO DRIVE
                   LOS ANGELES, CA 90027


                   SERVICE YEAR ALLIANCE
                   1400 EYE STREET NW
                   SUITE 900
                   WASHINGTON, DC 20005


                   SFHS ALUMNI ASSOCIATION
                   PO BOX 1051
                   SAN FERNANDO, CA 91341
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                   SHAHEED A CHAPPLE
                   9320 South Figueroa
                   Los Angeles, CA 90003


                   SHARMAINE MAPOTE
                   1008 ROSEMONT AVE
                   APT 114
                   LOS ANGELES, CA 90026


                   Sharp International
                   PO Box 338
                   Claremont, CA 91711


                   SHARROL GODOY-GARCIA
                   4401 CIMARRON ST
                   LOS ANGELES, CA 90062


                   SHAWN SNOW
                   1862 Via Bandera
                   Whittier, CA 90601


                   Shayan Shafiei
                   321 N Orange Street Unit 210
                   Glendale, CA 91203


                   SHELL OIL COMPANY
                   910 LOUISIANA ST
                   HOUSTON, TX 77002


                   SHELLY V GARCIA-RODRIGUEZ
                   9500 Zelzah Ave Apt M314
                   Northriddge, CA 91325
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                   SHERWIN WILLIAMS COMPANYM INC
                   101 W PROSPECT AVE
                   CLEVELAND, OH 44115


                   SHERYLEE S WARRIOR
                   5815 2ND AVE
                   LOS ANGELES, CA 90043


                   SHEYLA MONTERROSO MARROQUIN
                   16344 BRYANT STREET
                   NORTH HILLS, CA 91343


                   SHI INTERNATIONAL CORP
                   I290 DAVIDSON AVENUE
                   SOMERSET, NJ 08873


                   SHIELDS FOR FAMILIES
                   11601 SOUTH WESTERN AVENUE
                   LOS ANGELES, CA 90047


                   SHINMAI JAPANESE RESTAURANT
                   1825 SAN PABLO AVE
                   OAKLAND, CA 94612


                   SHIVANI P NARANG
                   7 Redcrown
                   Mission Viejo, CA 92692


                   SHNEAKY ENTERTAINMENT AND CONSULTING
                   3323 HOPE ST APT C
                   HUNTINGTON PARK, CA 90255
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                   Shred It Usa Inc
                   8600 Tamarack Ave
                   Sun Valley, CA 91352


                   SILVIA VALDEZ
                   13030 garber st
                   pacoima, CA 91331


                   SINTIA MANDUJANO
                   1617 S HOOVER STREET APT 5
                   LOS ANGELES, CA 90006


                   Six Flags Magic Mountain
                   Attn Group Sales
                   26101 Magic Mountain Parkway
                   Valencia, CA 91355


                   Skillpath Seminars
                   Po Box 804441
                   Kansas City, MO 64180


                   Sky Zone Van Nuys
                   7741 Hayvenhurst Ave
                   Van Nuys, CA 91406


                   SKYLER B GODOY-GARCIA
                   4401 Cimarron st
                   Los Angeles, CA 90062


                   SLB PRINTING INC
                   2818 S ROBERTSON BLVD
                   LOS ANGELES, CA 90034
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                   SLED BACKGROUND CHECK
                   3111 CAMINO DEL RIO N SUITE 400
                   SAN DIEGO, CA 92108


                   SMART & FINAL
                   600 CITADEL DR
                   COMMERCE, CA 90040


                   SMART JANITORIAL LLC
                   17192 MURPHY AVE 16261
                   IRVINE, CA 92623


                   SNAP INC
                   2772 DONALD DOUGLAS LOOP N
                   SANTA MONICA, CA 90405


                   SO CAL FARMERS NEPANOLIZTLI LLC
                   11003 PENROSE STREET
                   1
                   SUN VALLEY, CA 91352


                   SOCAL CODE CAMP INC
                   17702 SEMINOLE WAY
                   YORBA LINDA, CA 92886


                   Socal Office Technologies
                   5700 Warland Dr
                   Cypress, CA 90630


                   SOCCERONE
                   7349 Canoga Ave
                   CANOGA PARK, CA 91303
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                   Soccerstores Inc
                   11118 Balboa Blvd
                   Granada Hills, CA 91344


                   Social Solutions Global Inc
                   425 Williams Court Suite 100
                   Baltimore, MD 21220


                   SOCIALE CHICAGO
                   800 S CLARK STREET
                   CHICAGO, IL 60605


                   SOFIA M GOODE
                   678 E WALNUT STREET UNIT 512
                   PASADENA, CA 91101


                   SOMNI
                   9247 ALDER DR
                   BEVERLY HILLS, CA 90210


                   SONIA E Oliva
                   13255 Reliance St
                   Arleta, CA 91331


                   SONIA MORENO
                   2001 NEW JERSEY ST
                   LOS ANGELES, CA 90033


                   SONIA TORRES
                   6100 MESA AVE
                   LOS ANGELES, CA 90042
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                   SORIE ALBA
                   2049 CALLA LA SOMBRA UNIT 1
                   SIMI VALLEY, CA 93063


                   SORRA
                   1550 N EL CENTRO AVE ROOFTOP
                   LOS ANGELES, CA 90028


                   SOUDERS MEGAN
                   1720 W 24TH ST
                   LOS ANGELES, CA 90018


                   SOUND BODY SOUND MIND FOUNDATION
                   ATTN MATTHEW FLESOCK
                   LOS ANGELES, CA 90025


                   South Bay Community Services
                   430 F Street
                   CHULA VISTA, CA 91910


                   SOUTH BAY COMMUNITY SERVICES
                   430 F ST
                   CULA VISTA, CA 91910


                   Southeast Community Development Corp
                   6423 Florence Place Suite 103
                   Bell Gardens, CA 90201


                   Southern California Edison
                   PO Box 300
                   Rosemead, CA 91772
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                   SOUTHERN CALIFORNIA GAS
                   PO Box C
                   Monterey Park, CA 91756


                   Southern California Grantmakers
                   1000 N Alameda
                   Ste 230
                   LOS ANGELES, CA 90012


                   Southwest Airlines
                   2702 Love Field Dr
                   Dallas, TX 75235


                   SOUTHWINDS TRANSPORTATION
                   9303 SUNLAND BLVD
                   SUN VALLEY, CA 91352


                   Spark Program Inc
                   145 S Spring St Suite 410
                   Los Angeles, CA 90012


                   Sparkletts
                   PO Box 660579
                   Dallas, TX 75266


                   Spectrum
                   9260 Topanga Cyn Bv
                   Chatsworth, CA 91311


                   SPORTS FLAG & PENNANTS
                   1862 E BELVIDERE RD UNIT 106
                   GRAYSLAKE, IL 60030
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                   Sports Imports
                   Po Box 21040
                   Columbus, OH 43221


                   SPOTLESS RUG CLEANERS
                   1035 S SERRANO AVE 4
                   LOS ANGELES, CA 90006


                   SPRINT
                   PO BOX 4191
                   CAROL STREAM, IL 60197


                   ST JOHN'S WELL CHILD & FAMILY CENTER INC
                   808 W 58TH ST
                   LOS ANGELES, CA 90037


                   STACEY M TAPIA
                   8505 COLUMBUS AVENUE UNIT 302
                   NORTH HILLS, CA 91343


                   STACEY RODRIGUEZ
                   6561 FULTON AVE APT 7
                   VAN NUYS, CA 91401


                   STACY CAMARILLO MENDOZA
                   2940 INDIANA AVENUE
                   SOUTH GATE, CA 90820


                   STACY TAPIA
                   9233 VAN NUYS BLVD 224
                   PANORAMA CITY, CA 91402
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                   Standard Parking
                   Attn Ramon Pena
                   1055 W 7Th Street Suite 1500
                   Los Angeles, CA 90017


                   STANFORD UNIVERSITY
                   Stanford Univeristy Dept 33725 PO Box 39
                   SAN FRANCISCO, CA 94139


                   Stanley Royster
                   1621 S Victoria Ave
                   Los Angeles, CA 90019


                   STANLEY SAUNDERS
                   15106 NW OAKMONT LOOP
                   BEAVERTON, OR 97006


                   Staples Contract & Commercial Inc
                   Dept La
                   Po Box 83689
                   Chicago, IL 60696


                   Staples Technology Solutions
                   PO BOX 95230
                   CHICAGO, IL 60694


                   STARBUCKS
                   2401 UTAH AVENUE SOUTH
                   SEATTLE, WA 98134


                   State Board Of Equalization
                   Special Taxes And Fees
                   PO Box 942879
                   Sacramento, CA 94279
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                   State of California
                   3301 C Street
                   Suite 700
                   SACRAMENTO, CA 95816


                   State of California - Public Utilities C
                   505 Van Ness Avenue
                   SAN FRANCISCO, CA 94102


                   STAY LIMITLESS
                   PO BOX 33667
                   LOS ANGELES, CA 90033


                   STEM & MORE LLC
                   7618 JELLICO AVE
                   NORTHRIDGE, CA 91325


                   Stem Academy Of Hollywood
                   1309 N Wilton Place 4Th Fl
                   Los Angeles, CA 90028


                   Stem Preparatory Schools Inc
                   3200 W Adams Blvd
                   LOS ANGELES, CA 90018


                   STEMFINITY
                   501 S 11TH ST
                   BOISE, ID 83702


                   STEPHANIE A MENDEZ
                   1200 E 49TH STREET
                   LOS ANGELES, CA 90011
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                   STEPHANIE AYALA
                   225 N AVE 25 APT 222
                   LOS ANGELES, CA 90031


                   STEPHANIE CALDERON
                   1324 1/2 S Spruce
                   Montebello, CA 90640


                   STEPHANIE CORTES
                   8363 Willis Ave 15
                   Panorama City, CA 91402


                   STEPHANIE DURAN
                   14366 Germain St
                   Mission Hills, CA 91345


                   STEPHANIE GUZMAN
                   1817 W Washington Ave
                   Santa Ana, CA 92706


                   STEPHANIE HUEZO-LAZO
                   13159 CHASE ST
                   ARLETA, CA 91331


                   STEPHANIE J CALDERON
                   6806 BRYNHURST AVENUE
                   LOS ANGELES, CA 90043


                   Stephanie M Alfaro
                   12600 Van Nuys Blvd Apt 58
                   Pacoima, CA 91331
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                   STEPHANIE M CALIXTO
                   1833 W39th St
                   Los Angeles, CA 90062


                   STEPHANIE MOZQUEDA
                   12050 VAN NUYS BLVD
                   LAKE VIEW TERRACE, CA 91342


                   STEPHANIE NUNEZ
                   2036 LUCAS STREET
                   SAN FERNANDO, CA 91340


                   STEPHANIE PAOLA GONZALEZ
                   6610 DENSMORE AVE
                   VAN NUYS, CA 91406


                   STEPHANIE RAMIREZ
                   2731 OLIVE STREET
                   HUNTINGTON PARK, CA 90255


                   STEPHANIE ROMERO
                   8710 Rialton St
                   Pico Rivera, CA 90660


                   STEPHANIE TORRES
                   12152 ROSSITER AVE
                   SYLMAR, CA 91342


                   Stephanie Valverde
                   221 Lucas Ave
                   Los Angeles, CA 90026
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                   STEPHEN E IGWE
                   20109 THORNLAKE AVE
                   CERRITOS, CA 90703


                   STEPHEN SMITH
                   3014 5TH AVE
                   LOS ANGELES, CA 90028


                   Steve Zimmer
                   6344 Lexington Avenue
                   Los Angeles, CA 90038


                   Steven R Armenta
                   8416 Luxor Street
                   Downey, CA 90241


                   STEVIE J MANCILLAS
                   1751 E 83RD STREET
                   LOS ANGELES, CA 90001


                   STEWART FOUNDATION
                   PO BOX 54680
                   ATLANTA, GA 30308


                   STEWART I LEON
                   8334 Sepulveda Blvd 17
                   North hills, CA 91343


                   Stipend
                   6464 Sunset Blvd
                   Suite 650
                   Los Angeles, CA 90028
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                   STOCK ADOBE SYSTEMS
                   345 PARK AVENUE
                   SAN JOSE, CA 95110


                   STOKED MENTORING INC
                   68 JAY ST
                   SUITE 425
                   BROOKLYN, NY 11201


                   STS EDUCATION
                   130-A W COCHRAN ST
                   SIMI VALLEY, CA 93065


                   STUBHUB
                   199 FREEMONT ST FL 4
                   SAN FRANCISCO, CA 94105


                   SUBWAY
                   325 BIC DRIVE
                   MILFORD, CT 06460


                   SUE LYNN BERNACHE
                   6322 BRIGHT AVE
                   WHITTIER, CA 90601


                   SUGARFISH
                   LOS ANGELES, CA 90038



                   SUMAYYA KHAN
                   6528 Wilbur Avenue Apt 204
                   Reseda, CA 91335
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                   SUN VALLEY PETRO
                   9089 GLENOAKS BLVD
                   SUN VALLEY, CA 91352


                   SUPER FINE PIZZA
                   1101 S SAN PEDRO ST
                   UNIT F
                   LOS ANGELES, CA 90015


                   SUPERIOR ELECTRONICS
                   1028 SAN FERNANDO RD
                   SAN FERNANDO, CA 91340


                   Superior Investments LLC
                   PO Box 2027
                   Long Beach, CA 90801


                   Superior Press
                   11930 Hamden Place
                   Santa Fe Springs, CA 90670


                   Survey Gizmo
                   4888 Pearl East Circle Ste 100
                   West Boulder, CO 80301


                   SURVEY MONKEY
                   3050 SOUTH DELAWARE STREET
                   SAN MATEO, CA 94403


                   SUSANA GOMEZ
                   12921 CHIPPEWA STREET
                   SYLMAR, CA 91342
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                   SUSANA GONZALEZ
                   7304 Craner Ave
                   Sun Valley, CA 91352


                   SUSANA REINISCH
                   6 VIA PERICO
                   RANCHO SANTA MARGARITA, CA 92688


                   SUSETT MENDOZA
                   144 S EDGEMONT ST APT 201
                   LOS ANGELES, CA 90004


                   SUSHI ONE
                   3905 W 6th St
                   LOS ANGELES, CA 90020


                   Suzanne M Steinke A Prof Corp
                   11377 W Olympic Boulevard
                   Los Angeles, CA 90064


                   SWIM OUTLET
                   1919 S BASCOM AVE
                   CAMPBELL, CA 95008


                   SYLMAR LOCK & KEY
                   13754 FOOTHILL BLVD UNIT 2
                   SYLMAR, CA 91342


                   Sylmar's Fix Restaurant
                   13790 Foothill Blvd
                   Sylmar, CA 91342
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                   SYLVIA RODRIGUEZ
                   10977 NORRIS AVE
                   UNIT 47
                   PACOIMA, CA 91331


                   T Rowe Price
                   PO Box 64012
                   Baltimore, MD 21264


                   T-Mobile
                   PO Box 51843
                   Los Angeles, CA 90051


                   TAKASHI MATSUMOTO
                   5229 COGSWELL ROAD
                   EL MONTE, CA 91732


                   Talx Corporation
                   4076 Paysphere Circle
                   Chicago, IL 60674


                   TAMARA MAIMON
                   2633 LINCOLN BLVD 218
                   SANTA MONICA, CA 90405


                   TAMEARA LEWIS
                   10008 s Manhattan pl
                   Los Angeles, CA 90047


                   TANIA C RAMIREZ Cordova
                   14959 Vanowen Street 24
                   Van Nuys, CA 91405
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                   TANIA FLORES
                   8005 S WADSWORTH AVE
                   LOS ANGELES, CA 90001


                   TANIA TORRES
                   6720 HAYVENHURST AVENUE APT 55
                   VAN NUYS, CA 91406


                   Taqueria Vista Hermosa
                   3655 S Grand Ave C5
                   Los Angeles, CA 90007


                   TAQUITO Y MAS CATERING SERVICES
                   9662 ARLETA AVE
                   ARLETA, CA 91331


                   TARGET
                   1000 NICOLLET MALL
                   MINNEAPOLIS, MN 55403


                   Target Corporation
                   1000 Nicollet Mall
                   MLNNEAPOLLS, MN 55440


                   TASHA WALKER
                   4757 West Slauson Avenue 8
                   Los Angeles, CA 90056


                   TASHEENA MEDINA
                   354 Shults Street 9
                   Los Angeles, CA 90042
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                   TASTY N ALDER
                   580 SW 12TH AVENUE
                   PORTLAND, OR 97205


                   TATIANA DURAN
                   13233 HARDING ST
                   SYLMAR, CA 91342


                   TATIANA S LANDAVERDE
                   13030 RAMONA BLVD APT 32
                   BALDWIN PARK, CA 91706


                   TATYANA DACE
                   634 E HOLBORN DR
                   CARSON, CA 90746


                   TAYLOR CANIZALEZ
                   12700 VAN NUYS BLVD APT 353
                   PACOIMA, CA 91331


                   TAYLOR M THOMAS
                   PO BOX 7023
                   Long Beach, CA 90807


                   TEBOW LOCKLIN
                   9507 FLOWER STREET APT 203
                   BELLFLOWER, CA 90706


                   TEC IT
                   Hans-Wagner-Str 6
                   Datenverarbeitung GmbH A-4400 Steyr
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                   TECH SOUP
                   435 BRANNAN ST 100
                   SAN FRANCISCO, CA 94107


                   Technical College
                   7916 Long Beach Blvd
                   South Gate, CA 90280


                   TED GIBSON PICTURE FRAMES INC
                   4271 W 3RD ST
                   LOS ANGELES, CA 90020


                   TEGRA SOLUTIONS
                   13069 RED CORRAL DRIVE
                   CORONA, CA 92883


                   Templo Calvario Inc
                   2501 W 5Th St
                   Santa Ana, CA 92703


                   TENDER GREENS
                   1201 WEST 5TH ST
                   T400
                   LOS ANGELES, CA 90017


                   TERESITA RODRIGUEZ
                   6464 W SUNSET
                   650
                   LOS ANGELES, CA 90028


                   Terminix
                   Terminix Processing Center
                   Po Box 742592
                   Cincinnati, OH 45274
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                   TESSA DI MANTOVA
                   5519 TIERRA GARDENS LANE
                   CARMICHAEL, CA 95608


                   Thai CDC
                   6376 Yucca St Suite B
                   Los Angeles, CA 90028


                   Thais A Morales
                   208 N Ditman Ave
                   Los Angeles, CA 90063


                   THANIA VELA
                   5409 MILDRED ST
                   SIMI VALLEY, CA 93063


                   The Accelerated School
                   4000 South Main St
                   Los Angeles, CA 90037


                   The Accounting Annex Inc
                   41 E Foothill Blvd 201
                   Arcadia, CA 91006


                   The Actors' Gang
                   9070 Venice Blvd
                   Culver City, CA 90232


                   THE BERENDOS
                   226 S BERENDO STREET
                   LOS ANGELES, CA 90004
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                   THE CALIFORNIA CONFERENCE FOR EQUALITY A
                   3711 LONG BEACH BLVD
                   SUITE 1017
                   LONG BEACH, CA 90807


                   The California Endowment
                   1000 N Alameda Street
                   Los Angeles, CA 90012


                   THE CANDY BAR
                   1509 BROADWAY ST
                   DETROIT, MI 48226


                   The Carol and James Collins Foundation
                   6101 W CENTINELA AVE STE 100
                   CULVER CITY, CA 90230


                   The Children'S Project
                   18653 Ventura Blvd Suite 547
                   Tarzana, CA 91356


                   THE CHRONICLE OF HIGHER EDUCATION
                   1255TWENTY-THIRD STREET
                   NW 7TH FLOOR
                   WASHINGTON, DC 20037


                   THE COVE HOTEL
                   200 EAST WILLOW STREET
                   LONG BEACH, CA 90806


                   THE CRONER COMPANY
                   1028 SIR FRANCIS DRAKE BLVD
                   KENTFIELD, CA 94904
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                   THE ESQUIRE TAVERN
                   155 E COMMERCE STREET
                   SAN ANTONIO, TX 78205


                   THE FINANCIAL CLINIC
                   115 WEST 30TH ST
                   SUITE 700
                   NEW YORK, NY 10001


                   THE FISH MARKET RESTAURANT
                   750 NORTH HARBOR DRIVE
                   SAN DIEGO, CA 92132


                   THE GATEMASTER JP INC
                   8508 KEWEN AVE
                   SUN VALLEY, CA 91352


                   THE GRIFFITH OBSERVATORY
                   2800 E OBSERVATORY ROAD
                   LOS ANGELES, CA 90027


                   THE HABIT BURGER GRILL
                   17320 RED HILL AVENUE
                   SUITE 140
                   IRVINE, CA 92614


                   THE HAMPTON SOCIAL
                   353 W HUBBARD STREET
                   CHICAGO, IL 60654


                   The Heart Project DBA ARTWORXLA
                   1930 Wilshire Blvd Suite 800
                   Los Angeles, CA 90057
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                   THE HERTZ CORPORATION
                   8501 WILLIAMS RD
                   ESTERO, FL 33928


                   THE HOW KIDS LEARN FOUNDATION
                   467 RICH STREET
                   OAKLAND, CA 94609


                   THE INTEGRATED AUTHENTICITY HEART PROJEC
                   300 W VALLEY BLVD
                   B129
                   ALHAMBRA, CA 91803


                   THE LATINO FAMILY LITERACY PROJECT
                   1107 FAIR OAKS AVENUE
                   SUITE 225
                   SOUTH PASADENA, CA 91030


                   THE LAW OFFICE OF OMID NOSRATI CLIENT TR
                   1875 CENTURY PARK EAST SUITE 600
                   LOS ANGELES, CA 90067


                   THE LAWYERS FOR EMPLOYEE AND CONSUMER RI
                   4100 W ALAMEDA AVE
                   THIRD FLOOR
                   BURBANK, CA 91505


                   THE LINE DC
                   1770 EUCLID ST NW
                    20009


                   THE LITERACY CLUB
                   13381 AZORES AVE
                   SYLMAR, CA 91342
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                   THE LOFT HAWAIIAN RESTAURANT
                   20157 PIONEER BLVD
                   LAKEWOOD, CA 90715


                   THE MAP SHOP
                   1500 E MOREHEAD STREET
                   CHARLOTTE, NC 28207


                   THE MYERS-BRIGGS COMPANY
                   185 N WOLFE ROAD
                   SUNNYVALE, CA 94086


                   THE NARRATIVE METHOD INC
                   16060 VENTURA BLVD
                   SUITE 110 PMB 189
                   ENCINO, CA 91436


                   The New Moon
                   112 W 9Th 102
                   Los Angeles, CA 90015


                   THE PACIFIC BATTLESHIP CENTER
                   250 S HARBOR BLVD
                   BERTH 87
                   SAN PEDRO, CA 90731


                   THE PARKING SPOT
                   200 W MONROE STREET
                   STE 1500
                   CHICAGO, IL 60606


                   The Princeton Review
                   110 E 42ND STREET 7TH FLOOR
                   NEW YORK, NY 10017
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                   The Princeton Review
                   62996 COLLECTION CENTER DRIVE
                   CHICAGO, IL 60693-0629


                   The Queen Mary
                   1126 Queen Highway
                   Long Beach, CA 90802


                   The Ralph M Parsons Foundation
                   888 W 6th St 700
                   LOS ANGELES, CA 90017


                   THE RONALD REAGAN PRESIDENTIAL FOUNDATIO
                   40 PRESIDENTIAL DRIVE
                   SUITE 200
                   SIMI VALLEY, CA 93065


                   The Salvation Army
                   1532 W 11Th St
                   Los Angeles, CA 90015


                   THE SIREN HOTEL
                   1509 BROADWAY ST
                   DETROIT, MI 48226


                   The Stronghold Climbing Gym
                   650 S Avenue 21
                   Los Angeles, CA 90031


                   The Ultimate Software Group Inc
                   Po Box 930953
                   Atlanta, GA 31193
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                   THE UNIVERSITY CORPORATION
                   18111 NORDHOFF ST
                   NORTHRIDGE, CA 91330-8309


                   THE VALLEY ECONOMIC ALLIANCE
                   5121 VAN NUYS BLVD
                   SUITE 200
                   SHERMAN OAKS, CA 91403


                   THE WHYTRY ORGANIZATION
                   5455 N RIVER RUN DR
                   PROVO, UT 84604


                   THOMASKELLY SOFTWARE ASSOCIATES
                   1 SUGAR CREEK CENTER BLVD
                   SUITE 410
                   SUGAR LAND, TX 77478


                   TIA CHUCHA'S CENTRO CULTURAL INC
                   13197-A GLADSTONE AVE
                   SYLMAR, CA 91342


                   TICKETMASTER
                   7060 HOLLYWOOD BLVD
                   Los Angeles, CA 90028


                   TIDES CENTER
                   1014 TORNEY AVENUE
                   SAN FRANCISCO, CA 94129


                   TIET NANCY
                   440 N LAZARD ST
                   SAN FERNANDO, CA 91340
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                   Tiffany D De La Cruz
                   14690 Nordhoff Street Apt 305
                   Panorama City, CA 91402


                   TIFFANY HERNANDEZ
                   13272 Judd St
                   Pacoima, CA 91331


                   TIGER DIRECT INC
                   7795 W FLAGLER STREET SUITE 35
                   MIAMI, FL 33144


                   Time Warner
                   PO Box 60074
                   City Of Industry, CA 91716


                   TIMONTHY G MORRIS
                   13555 EGBERT ST
                   SYLMAR, CA 91342


                   Timothy Ernst
                   6440 Orange St 103
                   Los Angeles, CA 90048


                   TOCAYA ORGANICA
                   6550 SUNSET BLVD
                   LOS ANGELES, CA 90028


                   TOM'S URBAN
                   1011 S FIGUEROA ST B101
                   LOS ANGELES, CA 90015
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                   TOMAS D GRANADOS
                   15455 GLENOAKS BLVD APT 510
                   SYLMAR, CA 91342


                   TOMMY ALTAMIRANO
                   14255 TYLER STREET APT 2016
                   SYLMAR, CA 91340


                   TOOKAN SOCOMO INC
                   388 MARKET ST
                   STE 1300
                   SAN FRANCISCO, CA 94111


                   TORRIANNA FOSTER
                   16211 PARKSIDE LANE APT 164
                   HUNTINGTON BEACH, CA 92647


                   TOTAL CORPORATE SOLUTIONS
                   20335 S WESTERN AVE
                   TORRANCE, CA 90501


                   Total Funds By Hasler
                   PO Box 30193
                   Tampa, FL 33630


                   Touchstone Climbing
                   1107 N Bronson Ave
                   Los Angeles, CA 90038


                   TOWN HALL LOS ANGELES
                   200 N SPRING ST
                   LOS ANGELES, CA 90012
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                   Town Ride Inc
                   Po Box 3607
                   Glendale, CA 91221


                   TPR EDUCATION LLC
                   110 E 42ND ST
                   SUITE 700
                   NEW YORK, NY 10017


                   TR TRADING COMPANY
                   15604 BROADWAY ST
                   GARDENA, CA 90248


                   TRADER JOE'S
                   800 S SHAMROCK
                   MONROVIA, CA 91016


                   TRAINERS WAREHOUSE
                   89 WASHINGTON AVE
                   SUITE K
                   NATICK, MA 01760-3441


                   TRANSPERFECT HOLDINGS LLC
                   3 PARK AVENUE
                   40TH FLOOR
                   NEW YORK, NY 10016


                   Trash For Teaching (T4TOrg)
                   12815 S Western Ave
                   Gardena, CA 90249


                   TRASH OUT
                   12224 INDUSTRIAL AVE
                   SOUTH GATE, CA 90280
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                   TRAVEL GUARD GROUP INC
                   175 WATER ST 15TH FLOOR
                   NEW YORK, NY 10038


                   TRAVIS RUSSELL
                   19716 Azure Field Drive
                   Newhall, CA 91321


                   TREEHOUSE ISLAND INC
                   3514 N VANCOUVER AVE
                   SUITE 500
                   PORTLAND, OR 97227


                   TREJOS COFFEE & DONUTS
                   6785 SANTA MONICA BOULEVARD
                   HOLLYWOOD, CA 90038


                   TREVOR C ANDERSON
                   1843 N Easterly Terr
                   Los Angeles, CA 90026


                   TREVOR KEYS-ALTENBURG
                   3901 FRANKLIN AVE
                   LOS ANGELES, CA 90027


                   TRIPLE A RENTS AND EVENTS
                   16010 STRATHERN STREET
                   VAN NUYS, CA 91406


                   TROY WILLIAMS Jr
                   11844 S Normandie Ave
                   Los Angeles, CA 90044
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                   TRUPATH
                   1440 EAST SOUTHERN AVE
                   TEMPE, AZ 85282


                   TUESDAY MORNING
                   18040 CHATSWORTH SUITE A
                   GRANADA HILLS, CA 91344


                   Tuff Shed Inc
                   12776 Foothills Blvd Unit A
                   Sylmar, CA 91342


                   TWITTER INC
                   1355 MARKET STREET
                   SUITE 900
                   SAN FRANCISCO, CA 94103


                   TWO BIT CIRCUS FOUNDATION
                   12815 S WESTERN AVE
                   GARDENA, CA 90249


                   UBER
                   1455 MARKET ST
                   SAN FRANCISCO, CA


                   UBIQUITOUS MUSIC INC
                   348 E GRAND AVE
                   ESCONDIDO, CA 92025


                   UC Regents
                   360 Deneve Drive Box 951383
                   Los Angeles, CA 90095
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                   UCLA
                   Attention Mary Kiepp
                   405 Hilgard Ave 70 Powell
                   Los Angeles, CA 90095


                   UCLA
                   DEPARTMENT K - UCLA EXTENSION
                   PO BOX 24901
                   LOS ANGELES, CA 90024-0901


                   UCLA CONFERENCES & CATERING
                   360 DE NEVE DRIVE
                   BOX 951383
                   LOS ANGELES, CA 90095


                   UHAUL
                   2727 N CENTRAL AVE
                   PHOENIX, AZ 85004


                   ULINE INC
                   12575 ULINE DRIVE
                   PLEASANT PRAIRIE, WI 53158


                   Ulises Aguilar
                   1190 Rolland Curtis Pl
                   Los Angeles, CA 90037


                   ULTA
                   1000 Remington Boulevard
                   SUITE 250
                   Bolingbrook, IL 60440


                   ULYSSES URQUIZO
                   1413 CEDAR ST
                   MONTEBELLO, CA 90640
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                   UnidosUS
                   1126 16th Street NW
                   WASHINGTON, DC 20036


                   Uniforms & Safety Supplies
                   11011 San Fernando Rd
                   Pacoima, CA 91331


                   UNILAV DESIGN
                   5450 W 83RD STREET
                   LOS ANGELES, CA 90045


                   UNION 76 GAS
                   PO BOX 7200
                   BARTLESVILLE, OK 74005


                   UNION BANK
                   ACCOUNTS PAYABLE DEPARTMENT
                   LOS ANGELES, CA 90060


                   UNITED AIRLINES INC
                   PO BOX 0664
                   CHICAGO, IL 60606-0649


                   UNITED SECURITY INSTITUTE
                   1111 W 6TH ST
                   SUITE 100
                   LOS ANGELES, CA 90017


                   United Site Services
                   PO Box 53267
                   Phoenix, AZ 85072
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                   United Spirit Association
                   5770 Warland Dr Suite B
                   Cypress, CA 90630


                   United Way
                   1150 S Olive St
                   LOS ANGELES, CA 90015


                   Universal Printing Solutions Inc
                   10573 West Pico Blvd 610
                   Los Angeles, CA 90064


                   UNIVERSITY OF CALIFORNIA
                   PO BOX 1432
                   BAKERSFIELD, CA 93302


                   UNIVERSITY OF LA VERNE
                   1950 THIRD STREET
                   LA VERNE, CA 91750


                   UNIVERSITY OF OREGON
                   EDUCATIONAL AND COMMUNITY SUPPORTS
                   EUGENE, OR 97403


                   University Of San Diego
                   5998 Alcala Park
                   San Diego, CA 92110


                   University Of Western California
                   3550 Wilshire Bl Suite 750
                   Los Angeles, CA 90010
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                   Unusual Suspects Theatre Company
                   3719 Verdugo Rd
                   Los Angeles, CA 90065


                   Up2Us Inc
                   520 8Th Ave 2Nd Floor
                   New York, NY 10018


                   URBAN HOUSE LLC
                   1001 STARBUCK ST L102
                   FULLERTON, CA 92833


                   URBAN SOCCER 5 CENTER
                   12000 FIRESTONE BOULEVARD
                   NORWALK, CA 90650


                   Urbano Bruno
                   487 E 48Th St
                   Los Angeles, CA 90011


                   URENA MICHEAL
                   1116 S KENMORE AVE
                   LOS ANGELES, CA 90006


                   URTH CAFFE
                   451 S HEWITT ST
                   LOS ANGELES, CA 90013


                   US Department of Agriculture
                   1280 Maryland Ave SW
                   WASHINGTON, DC 20250
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                   US Department of Education
                   400 Maryland Ave
                   SW
                   WASHINGTON, DC 20202


                   US Department of Health and Human Servic
                   330 C St SW
                   WASHINGTON, DC 20416


                   US DEPARTMENT OF HOMELAND SECURITY
                   US CITIZENSHIP AND IMMIGRATION SERVICES
                   PHOENIX, AZ 85036


                   US Department of Justice
                   950 Pennsylvania Ave NW
                   WASHINGTON, DC 20530


                   US Department of Labor
                   200 Constitution Ave NW
                   WASHINGTON, DC 20210


                   USC - University Of Southern California
                   Attn Emily Martin
                   3601 Trousdale Parkway Stu 110
                   Los Angeles, CA 90089


                   USPS
                   475 L ENFANT PLAZA SW RM 4012
                   WASHINGTON, DC 02060


                   VALERIE E MALESPIN
                   12652 Mercer St
                   Pacoima, CA 91331
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                   VALINDA MENESES
                   635 SOUTH SHELTON STREET APT C
                   BURBANK, CA 91506


                   Valley College Of Medical Careers
                   8399 Topanga Canyon Blvd Suite 200
                   West Hills, CA 91304


                   Valley Fitness Center
                   7630 Vineland Ave
                   Sun Valley, CA 91352


                   VALLEY GUARD TRAINING
                   16140 COHASSET ST
                   VAN NUYS, CA 91406


                   Vanelly De Los Santos
                   6959 Murietta Ave
                   Van Nuys, CA 91405


                   VANESSA A SAUCEDO
                   14547 Fox St Rear
                   Mission Hills, CA 91345


                   VANESSA BENAVIDES
                   12218 Crest Ave
                   Sylmar, CA 91342


                   VANESSA CERDA
                   9214 San Luis Ave A
                   South Gate, CA 90280
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                   VANESSA DELEON
                   11732 1/2 LAKEWOOD BLVD
                   DOWNEY, CA 90241


                   VANESSA ESPARZA
                   13035 1/2 CARL ST APT 375
                   PACOIMA, CA 91331


                   VANESSA GONZALEZ
                   11416 Newgate Ave
                   Whittier, CA 90605


                   VANESSA GONZALEZ
                   13093 1/2 Carl St Apt 301
                   Pacoima, CA 91331


                   VANESSA GUTIERREZ
                   PO BOX 31084
                   LOS ANGELES, CA 90031


                   VANESSA GUTIERREZ
                   1621 WEST LOS ANGELES AVENUE
                   MONTEBELLO, CA 90640


                   VANESSA MAIRE HERNANDEZ
                   30530 SAN MARTINEZ RD
                   VAL VERDE, CA 91384


                   VANESSA MONTANO
                   14849 LORNE ST
                   PANORAMA CITY, CA 91402
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                   VANESSA NEGRETE
                   1745 S Harvard Blvd
                   Los Angeles, CA 90006


                   VANESSA NUNEZ CRUZ
                   8020 LEMONA AVENUE
                   PANORAMA CITY, CA 91402


                   VANESSA TARAX
                   15038 Paddock St
                   Sylmar, CA 91342


                   Vanessa Torres
                   1973 Knox St
                   San Fernando, CA 91340


                   Vanessa Valencia
                   319 N Lafayette Park Pl Apt 1
                   Los Angeles, CA 90026


                   Vaughn Next Century Learning Center
                   13330 Vaughn Street
                   SAN FERNANDO, CA 91340


                   VEDC
                   5121 VAN NUYS BLVD
                   3RD FLOOR
                   VAN NUYS, CA 91403


                   VENMO
                   3790 S LAS VEGAS BLVD
                   LAS VEGAS, NV 89109
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                   VENNGAGE
                   1140 DOVERCOURT
                   TORONTO


                   VENTRA CUSTOMER SERVICE CENTER
                   567 W LAKE STREET
                   CHICAGO, IL 60661


                   Verizon
                   PO Box 920041
                   Dallas, TX 75392


                   Verizon Wireless
                   PO Box 660108
                   Dallas, TX 75266


                   VERONICA ANAYA
                   1150 N EVERGREEN ST
                   BURBANK, CA 91505


                   VERONICA F IGNACIO VENTURA
                   441 S Hartford ave 102
                   Los Angeles, CA 90017


                   VERONICA GARCIA-VARGAS
                   437 N BRAND BLVD
                   SAN FERNANDO, CA 91340


                   VERONICA HERNANDEZ
                   2624 CALIFORNIA STREET
                   HUNTINGTON PARK, CA 90255
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                   VERONICA PEREZ ROGEL
                   8801 WILLIS AVE APT D5
                   PANORAMA CITY, CA 91402


                   VERONICA RODRIGUEZ-CABRERA
                   385 E LINCOLN AVE
                   MONTEBELLO, CA 90640


                   VEX ROBOTICS
                   6725 W FM 1570
                   GREENVILLE, TX 75042


                   VIANEY GARCIA
                   4318 E 60TH ST
                   HUNTINGTON PARK, CA 90255


                   VIASAT
                   6155 EL CAMINO REAL
                   CARLSBAD, CA 92009


                   Victor Hernandez
                   272 1/2 Witmer St
                   Los Angeles, CA 90026


                   VICTOR M HUERTA
                   6724 AURA AVENUE
                   LOS ANGELES, CA 91335


                   VICTOR M VELEZ
                   1190 Rolland Curtis Pl
                   Los Angeles, CA 90037
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                   VICTORIA AHUACTZI
                   7016 NATICK AVE
                   VAN NUYS, CA 91405


                   VICTORIA ALEMAN
                   5711 S Hooper ave
                   Los Angeles, CA 90011


                   VICTORIA RODRIGUEZ
                   10893 LEHIGH AVE APT 157
                   PACOIMA, CA 91331


                   VINCENT LOPEZ
                   5932 South Flower street
                   Los Angeles, CA 90003


                   VINCENT M CASTILLO
                   13217 ALANWOOD RD
                   LA PUENTE, CA 91746


                   Vine Off LLC
                   1425 North Cahuenga Blvd
                   Los Angeles, CA 90028


                   VINO VOLO
                   6850-6900 AIRPORT BLVD
                   SACRAMENTO, CA 95837


                   VIOLETA ZAMORA
                   2107 CAMBRIDGE ST
                   LOS ANGELES, CA 90006
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                   VIRGIN AMERICA
                   BURLINGAME, CA 94010



                   Vishnu LLC
                   Po Box 922435
                   Sylmar, CA 91392


                   Vision Service Plan
                   PO Box 45210
                   San Francisco, CA 94145


                   Vista Charter Middle Charter
                   2900 W Temple St
                   LOS ANGELES, CA 90026


                   Vista Condor Global Academy
                   2519 W fifth
                   SANTA ANA, CA 92703


                   Vista Heritage Global Academy
                   2609 W 5th St
                   SANTA ANA, CA 92703


                   Vista Paint Corporation
                   2020 E ORANGETHORPE AVE
                   FULLERTON, CA 92831


                   VISTAPRINT
                   275 WYMAN STREET
                   WALTHAM, MA 02451
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                   Vistashare LLC
                   1400 Technology Drive
                   Harrisonburg, VA 22802


                   VITORIA DE VALENTIM MEIRA
                   444 N Euclid Ave Apt 22
                   Pasadena, CA 91101


                   VIVIAN ACOSTA
                   13827 Kamloops st
                   Arleta, CA 91331


                   VIVIAN YOUSSEF
                   24120 ADAMS AVE
                   MURRIETA, CA


                   VIVIANA HERNANDEZ
                   13866 Mercer street
                   Pacoima, CA 91331


                   VIVIEN MIRHOSSAINI
                   16349 CHATSWORTH ST
                   GRANADA HILLS, CA 91344


                   VIVIEN SANCHEZ
                   16349 CHATSWORTH ST
                   GRANADA HILLS, CA 91344


                   VocabularyspellingcityCom
                   6300 Ne 1St Ave Ste 203
                   Fort Lauderdale, FL 33334
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                   VOCATIONAL RESEARCH INSTITUTE
                   1845 WALNUT STREET
                   PHILADELPHIA, CA 19103


                   VONS
                   5918 Stoneridge Mall Road
                   PLEASENTON, CA 94588


                   VOODOO DOUGHNUT
                   100 UNIVERSAL CITY PLAZA
                   UNIVERSAL CITY, CA 91608


                   VWR FUNDING INC
                   100 MATSONFORD RD PO BOX6660
                   BUILDING ONE STE 200
                   RADNOR, PA 19087-8660


                   VYOND
                   204 E 2ND AVE 638
                   SAN MATEO, CA 94401


                   WAFFLE HOUSE
                   1015 N HIGHWAY 6
                   HOUSTON, TX 77079


                   Wag My Tail Inc
                   8459 Foothill Blvd
                   Sunland, CA 91040


                   Wageworks Inc
                   PO Box 8363
                   Pasadena, CA 91109
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                   Wageworks Inc
                   PO BOX 870725
                   KANSAS CITY, MO 64187-0725


                   WAKUWAKU
                   1511 N CAHUENGA BLVD
                   LOS ANGELES, CA 90028


                   WALGREENS
                   1501 VINE ST
                   LOS ANGELES, CA 90028


                   WALMART
                   702 SW 8TH ST
                   BENTONVILLE, AR 72716


                   WALTER CRUZ
                   552 1/4 KINGSLEY DR
                   LOS ANGELES, CA 90004


                   WALTER CRUZ
                   552 1/4/ N KINGSLEY DR
                   LOS ANGELES, CA 90004


                   WALTER E LOPEZ Jr
                   19553 HEMMINGWAY STREET
                   RESEDA, CA 91335


                   Walter Hernandez
                   7415 Irwingrove Dr
                   Downey, CA 90241
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                   WALTER QUINTANILLA
                   13255 TERRA BELLA ST
                   PACOIMA, CA 91331


                   WANDA WADE
                   4221 FLOWER ST
                   LOS ANGELES, CA 90037


                   WATERCOM
                   6464 SUNSET BLVD
                   LOS ANGELES, CA 90028


                   We The Pie People LLC
                   20436 Corisco St
                   Chatsworth, CA 91311


                   WEBEXCOM
                   CISCO WEBEX LLC
                   CHICAGO, IL 60693


                   Weingart Foundation
                   1055 W 7th St 3200
                   LOS ANGELES, CA 90017


                   WELCH ALLYN INC
                   4341 STATE STREET ROAD
                   SKANEATELES FALLS, NY 13153


                   Welligent Inc
                   5005 Colley Avenue
                   Norfolk, VA 23508
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                   Wellnessmart Md
                   141 Duesenberg Drive Suite 3
                   Thousand Oaks, CA 91362


                   Wells Fargo Bank
                   Payment Remittance Center
                   Po Box 6426
                   Carol Stream, IL 60197


                   Wells Fargo Foundation
                   550 S 4th Street
                   MINNEAPOLIS, MN 55415


                   WELLS FARGO VENDOR FIN SERV
                   PO BOX 51043
                   LOS ANGELES, CA 90051


                   WENDY GARCIA
                   3725 CRAWFORD STREET
                   LOS ANGELES, CA 90011


                   WENDY SANCHEZ
                   6717 MIDDLETON ST
                   APT B
                   HUNTINGTON PARK, CA 90255


                   WENDY TEPOX
                   4228 WALL STREET
                   LOS ANGELES, CA 90011


                   WEST COAST MAINTENANCE MATERIALS CO
                   337 S WESTERN AVE
                   LOS ANGELES, CA 90020
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                   West Valley Occupational Center
                   6200 Winnetka Ave
                   Woodland Hills, CA 91367


                   WESTERN ASSOCIATION FOR COLLEGE ADMISSIO
                   2629 FOOTHILL BLVD 124
                   LA CRESCENTA, CA 91214


                   WESTIN HOTELS & RESORTS
                   777 SAINT CLAIR AVE NE
                   CLEVELAND, OHIO 44114-0000


                   WGASC
                   16027 BROOKHURST ST G
                   FOUNTAIN VALLEY, CA 92708


                   White Sakuras Floral Design
                   16892 Gothard St
                   Huntington Beach, CA 92647


                   WHITNEY A TOWNSEND
                   528 N BENTON WAY APT 214
                   LOS ANGELES, CA 90026


                   WHOLE FOODS MARKET INC
                   550 BOWIE STREET
                   AUSTIN, TX 78703


                   Why Try LLC
                   5455 N River Run Drive
                   Provo, UT 84604
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                   WILLIAMS CORTEZ
                   1230 W 8TH STREET APT 2
                   LOS ANGELES, CA 90017


                   WILLOW LEWIS
                   13052 DRONFIELD AVE APT 118
                   SYLMAR, CA 91342


                   WILLY BIETAK PRODUCTIONS INC
                   1404 THIRD ST PROMENADE
                   SUITE 200
                   SANTA MONICA, CA 90401


                   WINCHELLS
                   716 N WESTERN AVENUE
                   LOS ANGELES, CA 90029


                   WINGS FOR KIDS
                   476 MEETING ST
                   SUITE E
                   CHARLESTON, SC 29403


                   WINGSTOP
                   5501 LBJ FREEWAY
                   DALLAS, TX 75240


                   WIPFLI LLP
                   Po Box 8700
                   Madison, WI 53708


                   Wishtoyo Foundation & Chumash Village
                   33304 Pacific Coast Highway
                   Malibu, CA 90265
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                   WITH LOVE MARKET AND CAFE
                   1969 S VERMONT AVENUE
                   LOS ANGELES, CA 90007


                   Woodrow Wilson High School
                   4500 Multnomah St
                   Los Angeles, CA 90032


                   Worldwide Computer Solutions Corp
                   2050 S Bundy Drive Suite 202
                   Los Angeles, CA 90025


                   Worth Ave Group
                   PO Box 2077
                   Stillwater, OK 74074


                   Write Brain LLC
                   4252 W 1St St
                   Los Angeles, CA 90004


                   WSP LOCKWOOD ELIXIR LLC
                   ATTN: DANIEL ESPINOZA ARROYO
                   5849 W SUNSET BLVD 10
                   LOS ANGELES, CA 90028


                   WYANDOTTE LLC
                   269 S BEVERLY DR STE 403
                   BEVERLY HILLS, CA 90212


                   Xerox Financial Services
                   PO Box 202882
                   Dallas, TX 75320
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                   XIOMARA E RIVAS
                   2158 N MANANNA AVE APT 1
                   LOS ANGELES, CA 90032


                   XITLALY HERNANDEZ
                   961 1/4/ E EDGWARE RD
                   LOS ANGELES, CA 90026


                   YADIRA QUEZADA
                   7500 Penfield Avenue
                   WINNETKA, CA 91306


                   YAHTZIRI MARCIAL-SALIGAN
                   5115 Towne Ave
                   Los Angeles, CA 90011


                   YAIRA TORRES
                   10914 El Dorado Ave
                   Los Angeles, CA 91331


                   YANA MARTINEZ-JOVEL
                   5624 SANTA MONICA BLVD APT 103
                   LOS ANGELES, CA 90038


                   YANELI Y ALVEAR
                   2771 San Marino St Apt1
                   Los Angeles, CA 90006


                   YANG CHOW RESTAURANT
                   819 N BROADWAY
                   LOS ANGELES, CA 90012
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                   YASIN PARLAK
                   3338 REDONDO BEACH BLVD APT 214
                   TORRANCE, CA 90504


                   YEDID RUVALCABA
                   132 3/4 E 47TH PL
                   LOS ANGELES, CA 90011


                   Yehudellie LLC
                   719 N Roxbury Dr
                   Beverly Hills, CA 90210


                   YEKATERINA KOROLKOV
                   10615 ROSE AVE APT 301
                   LOS ANGELES, CA 90034


                   Yen Ling Shek
                   512 Evergreen St Unit 303
                   Inglewood, CA 90302


                   YESENIA IBARRA
                   14238 SHERMAN WAY
                   APT F
                   VAN NUYS, CA 91405


                   YESENIA IBARRA
                   14238 SHERMAN WAY APT F
                   VAN NUYS, CA 91405


                   YESENIA LUIS
                   1256 E MARTIN LUTHER KING JR BLVD
                   LOS ANGELES, CA 90011
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                   YESSICA CASTANEDA
                   8201 NOBLE AVENUE
                   PANORAMA CITY, CA 91402


                   YMCA
                   ATTN: AUDRIE ECHNOZ
                   1553 N SCHRADER BLVD
                   LOS ANGELES, CA 90028


                   YOLANDA ESTELA P SEGURA
                   1656 W 11th PL APT 2
                   Los Angeles, CA 90015


                   YONI TUELLS
                   240 N WESTLAKE
                   LOS ANGELES, CA 90026


                   YOUCANBOOKME LTD
                   38 MILL STREET
                   BEDFORD MK40 3HD


                   Youth Policy Institute
                   6464 Sunset Blvd
                   LOS ANGELES, CA 90028


                   Youth Policy Institute
                   634 S Spring St 10Th Fl
                   Los Angeles, CA 90014


                   Youth Policy Institute Charter Schools
                   9400 Remick Ave
                   PACOIMA, CA 91331
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                   Youthbuild Charter School Of California
                   155 W Washington Blvd Suite 944
                   Los Angeles, CA 90015


                   YOUTHBUILD USA
                   CO LAKEISHA N FRANKLIN
                   SOMERVILLE, MA 02144


                   YPI CITI CARD
                   388-390 GREENWICH ST
                   NEW YORK CITY, NY 10013


                   YPI Donations
                   6464 Sunset Blvd Suite 650
                   LOS ANGELES, CA 90028


                   YULISSA Y LOPEZ
                   2771 San Marino St Apt1
                   Los Angeles, CA 90006


                   YURI Y ALMANZA
                   588 N SUMMIT AVE APT A
                   PASADENA, CA 91103


                   YVONNE GUTIERREZ-SOLORZANO
                   3551 E 56TH ST
                   MAYWOOD, CA 90270


                   YXTA COCINA MEXICANA
                   601 S CENTRAL AVE
                   LOS ANGELES, CA 90021
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                   ZABDI ALVAREZ
                   1000 S COAST DR L202
                   COSTA MESA, CA 92626


                   ZACARIAS CHRISTIAN
                   5613 LEXINGTON AVE
                   LOS ANGELES, CA 90038


                   ZAIDA GOYAS
                   12330 OSBORNE ST APT 59
                   PACOIMA, CA 91331


                   ZANKOU CHICKEN
                   5065 W SUBSET BOULEVARD
                   LOS ANGELES, CA 90027


                   ZECHARIAH ADENIJI
                   11314 HAYVENHURST AVE
                   GRANADA HILLS, CA 91413


                   Zema Foods LLC
                   8612 Hillside Ave
                   Los Angeles, CA 90069


                   Zendesk Inc
                   1019 Market St
                   San Francisco, CA 94103


                   ZERMENOS RESTAURANT
                   6115 SANTA MONICA BLVD
                   LOS ANGELES, CA 90038
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                   ZIPRECRUITER
                   604 ARIZONA AVE
                   SANTA MONICA, CA 90401


                   ZIPRECRUITER INC
                   604 ARIZONA AVE
                   SANTA MONICA, CA 90401


                   ZONES INC
                   1102 15TH STREE SW
                   SUITE 102
                   AUBURN, WA 98001


                   Zuleika Andrade
                   2372 Florencita Ave 1
                   Montrose, CA 91020


                   ZULEMA A CARLOS MONTANO
                   13074 Weidner St
                   Pacoima, CA 91331


                   ZULU DANCE FOUNDATION
                   PO BOX 1574
                   NIPOMO, CA 93444


                   ZULY REYES
                   18813 SCHOENBORN STREET
                   NORTHRIDGE, CA 91324
